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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


SECURITIES AND EXCHANGE
COMMISSION,

                        Plaintiff,

                  v.                        Case No. 1:19-cv-06473

SBB RESEARCH GROUP, LLC, SAMUEL             Honorable Sharon Johnson
B. BARNETT, AND MATTHEW                     Coleman
LAWRENCE AVEN,
                   Defendants.



            PLAINTIFF’S MOTION TO EXCLUDE OPINIONS OF
              DEFENDANTS’ EXPERT STEVEN RICHARDS




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                                     INTRODUCTION

       This case involves Defendants’ use of a custom valuation model, which (a) by

Defendants’ design, deviated from ASC 820, the accounting standard relating to fair value

measurement; and (b) inflated the value of the portfolio of structured notes Defendants

managed for investors. (See Dkt. 1, Complaint, ¶¶ 2, 6-12.) The investment funds that

Defendants managed were audited by RSM US LLP (“RSM”), a third-party auditing firm.

RSM withdrew its previous audit opinions for the funds’ financial statements during the

SEC’s investigation of this case, after RSM learned that: (1) SBB had intentionally deviated

from standard valuation practice when creating its valuation model; and (2) SBB had not

been truthful with RSM about several facts regarding SBB’s use of the model, failed

attempts to validate the model, and model deficiencies that had been identified by the SEC

during an examination of SBB. (See generally Ex. E.) Most of Steven Richards’s opinions

pertain to RSM’s resignation.

       These opinions fail the test of Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S.

579 (1993), and the standards of Rule 702 of the Federal Rules of Evidence. First, while the

fact of—and rationale for—RSM’s resignation is relevant to undermine any affirmative

defense that SBB relied on RSM’s advice on valuation, Richards’s opinion that RSM’s

resignation did not comply with Generally Accepted Auditing Standards (“GAAS”), is not

relevant to the SEC’s claims or the Defendants’ affirmative defenses. RSM is not on trial;

SBB is. Second, in trying to predict what RSM would have learned had it taken his preferred

auditing approach, Richards offers opinions that (a) improperly speculates about fact

witness credibility, and (b) unhelpfully weighs facts and materials for which expert

testimony is unnecessary. And third, Richards’s opinions ignore applicable auditing


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standards and relevant facts, instead relying on his own ipse dixit. Therefore, the SEC

respectfully moves this Court to exclude the opinions expressed in paragraphs 39, 69-75,

and 91-144 of Richards’s expert report. (See Ex. A, Richards Report.)

                                       BACKGROUND

I.       RSM’s Resignation

         RSM was the independent auditor for the 2013 through 2017 year-end financial

statements for each of SBB’s investment funds. (Ex. A ¶ 25.) During this same time period,

the SEC’s Office of Compliance Inspections and Examinations (OCIE) began a compliance

examination of SBB. As early as November 2014, the SEC identified several concerns

regarding SBB’s custom valuation model and its deviations from standard valuation

practice. (Id. ¶¶ 26-27.) Aside from piecemeal communications regarding a particular input,

SBB did not relay to RSM that the SEC had expressed a number of concerns with the

model. (See, e.g., Ex. B, Lynne Weil Deposition Transcript, at 122, 131-32, 163-66, 329-30.)

The SEC’s examination culminated in a March 16, 2016 deficiency letter to SBB.1 (Id. ¶¶ 26-

27.) The SEC’s deficiency letter identified several ways in which Defendants’ valuation

model was inconsistent with ASC § 820, the fair value measurement standard. (See Ex. C,

SEC Deficiency Letter.) Although SBB received the deficiency letter shortly before its FY

2015 audits were complete, it did not share the letter with RSM. To the contrary, one month

after receiving the deficiency letter, SBB’s management falsely represented to RSM, in

connection with the 2015 audit, that SBB had not received any “communications . . .



1
 A deficiency letter describes the potential violations of laws or rules, or internal control
weaknesses, uncovered during the examination, and often requests the recipient to implement
appropriate corrective actions and submit a written response describing those actions. Receiving a
deficiency letter is one possible outcome of an OCIE examination. Compliance Examination Deficiency
Letter Process (Sept. 23, 2003), https://www.sec.gov/oig/reportspubs/aboutoigaudit364finhtm.

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concerning noncompliance with, or deficiencies in, financial reporting practices.” (Ex. D,

SBB Management Letter, ¶ 19.)

        In October 2016, the SEC’s Division of Enforcement launched an investigation into

SBB’s valuation practices. (Ex. A ¶ 32.) Two months later—over nine months after the

SEC’s deficiency letter was issued—SBB finally informed RSM about the enforcement

investigation and provided RSM with the SEC’s deficiency letter. (Id. ¶ 139.) After receiving

this letter, RSM’s lead audit partner, Lynne Weil, requested and, for the first time, received

additional correspondence between the SEC examiners and SBB. (Id.) Weil and others from

RSM held a meeting with SBB management in February 2017 to hear an explanation for

SBB’s failure to provide information related to the SEC’s deficiency letter. (Id. ¶¶ 34, 129.)

At that meeting, SBB management admitted that they had failed to tell RSM about SBB’s

deficiency-related communications with the SEC, and claimed this failure resulted from a

good-faith error. (Id. ¶ 132; Ex. E, RSM Resignation Letter, at 1-2.)

        After this meeting, RSM continued to serve as SBB’s auditor. (Ex. A ¶ 35.) In

addition to investigating SBB for fraudulent valuation practices, the SEC investigated

RSM’s auditing conduct, and sent Wells notices2 to both RSM and Weil in March 2019. (Id.

¶ 36.) While preparing to respond to the SEC’s Wells notices, counsel for Weil and RSM

were permitted to review transcripts of SBB management’s investigative testimonies, as well

as exhibits used in those testimonies. (Id. ¶ 108; Ex. E at 1.) RSM’s counsel was not allowed

to make copies of the investigative transcripts, but was allowed to take extensive notes



2
 A Wells notice informs the recipient that SEC Enforcement staff has made a preliminary
determination to recommend that the Commission file a civil action or initiate a proceeding against
them, identifies the potential violation, and permits the recipient to make a submission for
consideration by the Commission. SEC Enforcement Manual (2017) at 19-22, https://www.sec.gov/
divisions/enforce/enforcementmanual.pdf.

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(including typing out lengthy direct quotations from the transcript). RSM’s counsel created

detailed summaries of the transcripts and provided them to RSM personnel, including Lynn

Weil, to aid in RSM’s audit decision making. (Ex. A ¶ 108.) In April 2019, after reviewing

the summaries and consulting with counsel and RSM’s national office—and determining

that several crucial facts disclosed by SBB in testimony were either hidden from RSM or

contradicted representations SBB made to RSM—Weil and RSM determined that they

lacked confidence in the integrity of SBB’s management and resigned as SBB’s auditors.

(Id.; see generally Ex. E.)

        In resigning, Weil sent a letter informing SBB that “RSM has concluded in our

professional judgment that we cannot rely on management representations.” (Ex. E at 1.)

Weil’s letter described the basis for this conclusion, including: “recently becom[ing] aware

of multiple inconsistencies between what SBB management communicated to RSM during

RSM’s audit of SBB . . . and (i) documents SBB produced to the SEC, and (ii) testimony

SBB management and other witnesses provided to the SEC.” (Id.) The letter also specified

five key facts discussed in the testimonies of SBB personnel that caused RSM to disclaim

reliance on representations from SBB management. (Id. at 1-2.) In resigning as SBB’s

auditor, RSM also withdrew all its previous audit reports. (Id. at 2.)

II.     Richards’s Expert Report

        In their Answer, Defendants asserted an Eighth Affirmative Defense that they relied

in good faith on the advice of auditors to bless their valuation model. (Dkt. 51, Answer, at

45.) Accordingly, the SEC retained an accounting and auditing expert, Andrew Mintzer,

who opined that SBB: (a) did not fulfill its obligation to create financial statements that

complied with Generally Accepted Accounting Principles (“GAAP”); and (b) would have


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violated the management/auditor relationship under GAAS if it improperly relied on RSM

to fulfill its initial GAAP obligation. (See generally Ex. I, Mintzer Report, at 7-44.) Mintzer’s

opinions thus undercut Defendants’ Eighth Affirmative Defense, in that he opines that SBB

was obligated to comply with GAAP in the first instance. Defendants therefore retained

Steven Richards as an expert, ostensibly to rebut Mintzer’s opinions. Part of Richards’s

report opines that Mintzer misunderstood Defendants’ written and testimonial admissions,

and purports to provide “a more complete reading” and “more complete context” of the

evidence. (Ex. A ¶¶ 1, 69-75.) However, the bulk of Richards’s report focuses on RSM’s

resignation as SBB’s auditor. (See id. ¶¶ 91-144.)

       First, Richards tries to put RSM’s auditing conduct on trial, opining that GAAS did

not permit RSM to resign without first performing additional audit procedures, including

following up with SBB’s management about the SEC’s investigative evidence. (See id. ¶¶ 92-

94, 103.) Richards argues that, although RSM’s auditors determined that they were lied to

after reading the testimony SBB officers provided under oath, RSM was obligated to

continue the audit and follow up with the very people who lied to them.

       Second, Richards assumes the role of factfinder, opining that none of the five facts

cited in Weil’s resignation letter should have been a concern for RSM because of certain

other purportedly favorable “facts” that Richards selected. Richards evidently scoured the

record so he could tell SBB’s side of the story. His report then provides the following

carefully curated “facts” in response to each matter underlying RSM’s resignation:

       1.    SBB used different sets of performance figures with current investors and
             potential investors. If Weil had asked SBB, she “would have learned that SBB
             temporarily used these two models while awaiting final approval from the SEC
             based on advice from Simon Compliance.” (Id. ¶ 112-13.) Thus, “the existence
             and use of two models should not have raised concerns about SBB
             management’s integrity.” (Id. ¶ 114.)

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       2.    SBB’s valuation model was inconsistent with GAAP. Weil failed to remember
             that several emails from SBB indicated that its valuation model was not
             supported by any academic literature, and mischaracterized other emails
             suggesting it was result-oriented. (Id. ¶¶ 118-19, 121-25.) Those materials
             “should have” or “would” have “refreshed her recollection” or “provided her
             greater comfort” with SBB. (Id. ¶¶ 118-19, 125.)

       3.    SBB did not fulfill its management responsibilities. Even though Weil read the
             SBB witness testimony as saying that “they basically do not take ownership that
             their financial statements – are theirs,” she should not have had any “concerns
             about management’s integrity.” (Id. ¶¶ 126-27.)

       4.    SBB failed to tell RSM about the concerns of two valuation firms. SBB’s prior
             consultations with the two consulting firms were immaterial and need not have
             been disclosed under the terms of RSM’s engagement. (Id. ¶¶ 128-31.)

       5.    SBB did not communicate with RSM about the SEC’s compliance
             examination. Weil received multiple emails from SBB discussing the SEC’s
             requests and inquiries beginning in November 2014. (Id. ¶¶ 133-39.) A review of
             those emails “should have decreased her concerns about the timelines of SBB’s
             communication.” (Id. ¶ 141.)

       In other words, Richards became an advocate. He summarizes favorable facts,

ignores those that don’t match his narrative, posits a world where his alternative narrative

carries the day, and then speculates what RSM “should” have done and learned, given that

alternative narrative. Richards even points to evidence that purportedly undermines or

contradicts the reasons Weil gave for resigning as SBB’s auditor, casting himself as the

arbiter of her credibility.

       Having speculated that Weil should not have harbored (or, contrary to her

testimony, did not actually harbor) doubts about SBB management integrity as described in

RSM’s resignation letter, Richards then suggests a potential alternative motive for RSM’s

resignation. Richards notes that Weil and RSM resigned after receiving Wells notices from

the SEC and opines that accountants who receive Wells notices may be “subject to

reputational harm and limited in their ability to function as an accountant.” (Id. ¶¶ 108,

110.) Richards also observes that Weil’s personal Wells submission mentioned her

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resignation as SBB’s auditor, and then opines that it was rare for the SEC to charge an audit

firm but not charge an individual auditor.3 (Id. ¶¶ 38-39.) Richards declines to make a direct

accusation, but instead appears to suggest that Weil only resigned as SBB’s auditor to avoid

being charged by the SEC. (See id. ¶¶ 36-39, 108-110.) This dovetails with an unsupported

theory that the Defendants repeatedly have tried to inject into this case during discovery:

that RSM is lying about its reasons for resigning. After years of discovery, SBB has not

found a single witness or document to support that theory. Yet Richards’s report appears

designed to suggest through unsupported innuendo what SBB has been unable to establish

through evidence: that RSM’s resignation was improper.

                                      LEGAL STANDARD

        District courts are gatekeepers against unreliable and irrelevant expert opinion

evidence that might affect a jury’s decision. See Daubert, 509 U.S. at 597. Courts have a

“special obligation” to ensure that expert testimony is “not only relevant, but reliable.”

Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 147 (1999). Accordingly, an expert may

testify only if: (a) their scientific, technical or specialized knowledge will assist the trier of

fact understand the evidence or determine a fact at issue; (b) their testimony is based on

sufficient facts or data; (c) their testimony is the product of reliable principles and methods;

and (d) the expert has reliably applied those principles and methods to the facts of the case.

See Fed. R. Evid. 702. Defendants bear the burden of demonstrating that Richards’s




3
  On February 26, 2020, the SEC filed a settled administrative proceeding against RSM, finding that
RSM violated professional standards by failing to properly staff its audits of SBB with personnel with
the necessary competence and capabilities to evaluate SBB’s valuations of structured note
investments. RSM agreed to undertake remedial actions, but no individual auditor was charged in
connection with these violations. In the Matter of RSM US LLP (Feb. 6, 2020), https://www.sec.gov/
files/litigation/admin/2020/34-88287.pdf.

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testimony would satisfy that standard. See Lewis v. CITGO Petroleum Corp., 561 F.3d 698, 705

(7th Cir. 2009).

         This standard is equally demanding for non-scientific experts. See Kumho Tire, 526

U.S. at 152; see also U.S. Gypsum Co. v. LaFarge N.A. Inc., 670 F. Supp. 2d 748, 753 (N.D. Ill.

2009) (“Expert testimony [must] be based on rigorous and reliable methods . . . even when

the testimony is not of a scientific nature.”). It is not enough that an expert can be cross-

examined at trial. Indeed, Rule 702 and Daubert recognize that the adversary process is not

sufficient to protect the jury from unreliable opinions bearing an expert’s endorsement. See

Daubert, 509 U.S. at 595 (“Expert evidence can be both powerful and quite misleading”). So

an expert whose proposed testimony fails the Daubert test should not be examined, let alone

cross-examined, in front of a jury. See Loeffel Steel Products, Inc. v. Delta Brands, Inc., 387 F.

Supp. 2d 794, 800 (N.D. Ill. 2005).

         Here, Richards’s cherry-picked fact summaries and GAAS standards, speculations

about alternate-world events, credibility determinations, and unsupported aspersions against

RSM witnesses all fall short of Rule 702 and Daubert’s requirements.

                                          ARGUMENT

         This Court should exclude the opinions expressed in paragraphs 39, 69-75, and 91-

144 of Richards’s expert report because they are both unhelpful and unreliable. Each

criterion is an independent and sufficient basis for exclusion under Rule 702.

I.       Richards’s Opinions Will Not Assist the Jury in Deciding the Facts

         A.     Richards’s Opinions About RSM’s Compliance with GAAS Are Irrelevant

         A bedrock requirement of expert testimony is that it must help the jury understand

evidence or determine a fact at issue. Gopalratnam v. Hewlett-Packard Co., 877 F.3d 771, 779


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(7th Cir. 2017). Expert testimony thus must first be relevant. “Expert testimony which does

not relate to any issue in the case is not relevant and, ergo, non-helpful.” Daubert v. Merrell

Dow Pharms., Inc., 509 U.S. 579, 591 (1993) (internal quotation marks omitted).

        Paragraphs 91-144 of Richards’s report analyze whether RSM’s resignation complied

with GAAS. But whether RSM complied with GAAS when resigning as SBB’s auditor is

not an issue in this case. None of the SEC’s claims focus on whether RSM’s actions

complied with GAAS. Neither Weil nor RSM is a party in this case. And whether RSM

complied with GAAS while resigning in 2019 has no effect on Defendants’ potential

liability for their actions in 2014-2018. To be sure, the fact that RSM (a) determined that

they were being lied to, (b) withdrew as SBB’s auditor, and (c) withdrew its prior audit

opinions, is relevant in that it undercuts Defendants’ affirmative defense that they relied in

good faith on their auditor to bless their valuation model.4 But whether RSM complied with

the requirements of GAAS in resigning as an auditor is not an element of the SEC’s claims

in this matter, or of SBB’s defense, and is therefore of no “consequence in determining the

action.” Fed. R. Evid. 401(b).

        On the other side of the Rule 403 ledger, any residual probative value in admitting

opinion evidence that RSM violated GAAS in withdrawing as SBB’s auditor would be

substantially outweighed by the danger of unfair prejudice and juror confusion. The only

apparent reason that Defendants would try to shoehorn into this case expert testimony

about the grounds for RSM’s resignation is to revive their groundless narrative that RSM’s

stated reasons for resigning are false. But after years of discovery—including consistent




4
 In addition, the SEC may call witnesses from RSM to testify about statements made by SBB
employees during RSM audits about SBB’s valuation model.

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testimony from RSM witnesses—Defendants have no evidence to support this allegation of

misconduct by RSM. Richards’s testimony would thus be prejudicial because it presents an

advocacy-based narrative—that RSM resigned to avoid charges—without any factual

support. See, e.g., Baldonado v. Wyeth, 2012 WL 1802066, at *4 (N.D. Ill. May 17, 2012)

(excluding expert testimony because the “proffered narratives amount to a summary and

statement of the experts’ advocacy-based interpretation of documents in the record”

(internal quotation marks omitted)); Fisher v. Ciba Specialty Chemicals Corp., 238 F.R.D. 273,

281 (S.D. Ala. 2006) (striking expert report because it “simply summarizes and states her

advocacy-based interpretation of documents in the record” and reads as “written advocacy

by a lawyer, akin to a supplemental brief on the facts presented by another attorney

representing plaintiffs”). Plus, allowing Richards to testify about RSM’s compliance with

GAAS in withdrawing as SBB’s auditor would consume (and waste) significant time in

what may already be a lengthy trial, and risk juror confusion over technical auditing

standards that do not bear on Defendants’ liability under the securities laws.

        The same is true regarding paragraph 39 of Richards’s report, in which Richards

discusses the charging decisions in 20 unrelated SEC and PCAOB enforcement actions

against audit firms and their employees and opines that the SEC’s action against RSM

related to the SBB Funds is the only one in which the audit firm and no other individual

was charged.5 Richards testified he was just “describing background” in this paragraph. (Ex.

F, Steven Richards Deposition Tr., at 119-20.) But “background” about the SEC’s or the

PCAOB’s charging decisions in unrelated enforcement actions adds nothing to the evidence



5
 Richards’s report references 19 enforcement actions, but he admitted the correct number was 20.
(Compare Ex. A ¶ 39, with Ex. F, 1/23/24 Steven Richards Deposition Tr., at 117-18.)


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in this case. Indeed, the SEC’s charging decisions in this case (or other matters) is not

admissible because a jury has no role in evaluating the propriety of charges other than the

ones before it. See U.S. v. Bautista, 252 F.3d 141, 145 (2d Cir. 2001) (holding that defense

summation “amounted to an (improper) invitation for the jury to consider the government’s

choice of investigative techniques”); SEC v. True N. Fin. Corp., 10-cv-3995, Dkt. 323, at 7 (D.

Minn. 2013) (granting the SEC’s motion in limine and holding that “evidence as to Plaintiff’s

so-called charging decision shall be presumptively inadmissible” because the evidence “does

not survive the Court’s Rule 104 and Rule 403 analysis”); see also U.S. v. Cheung Kin Ping,

555 F.2d 1069, 1073 (2d Cir. 1977) (approving a jury instruction that the jury should “focus

its attention on the real issue, namely, whether the government has proved the facts alleged”

and not “law enforcement policy”). And any probative value of an attempt by Richards to

resuscitate Defendants’ narrative—through innuendo—that RSM’s stated reasons for

resigning were false would be substantially outweighed by the risk of confusion (and waste

of time) resulting from the necessary direct and cross-examination testimony about the facts

and enforcement decisions behind those 20 unrelated actions. Fed. R. Evid. 403. Richards

should, therefore, be barred from injecting other entities’ unrelated charging decisions into

this case.

       B.     Richards Is Attempting to Resolve Factual Disputes over RSM’s
              Resignation

              i.      Richards May Not Challenge the Credibility of Other Witnesses

       In paragraphs 108-144 of his report, Richards discusses evidence, including

deposition and investigative testimony transcripts, emails, letters from SBB management,

and other documents, to challenge or purportedly contradict the reasons Weil gave for

resigning as SBB’s auditor. In doing so, he provides his own alternative interpretation of the

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facts, repeatedly saying that if Weil and RSM had seen things his way, they “should” have

or “would have” thought differently. (See, e.g., Ex. A ¶¶ 112, 114, 118, 119, 141.)

        In presenting his version of the facts, Richards significantly oversteps the bounds of

appropriate opinion testimony and strays into quintessential fact finding reserved for the

jury.6 “An expert witness may not usurp the jury’s function to weigh evidence and make

credibility determinations.” Davis v. Duran, 277 F.R.D. 362, 370 (N.D. Ill. 2011) (quoting

U.S. v. Farrell, 563 F.3d 364, 377 (8th Cir. 2009)). Put differently, “expert witnesses are not

allowed to sort out possible conflicting testimony or to argue the implication of those

inconsistencies. That is the role of the lawyer, and it [is] for the jury to draw its own

conclusions from the testimony it hears.” Id. at 370. That’s why courts routinely exclude

expert opinions that improperly weigh and comment on evidence. See, e.g., Trahanas v. Nw.

Univ., 2020 WL 7641293, at *8 (N.D. Ill. Dec. 23, 2020), aff'd, 64 F.4th 842 (7th Cir. 2023);

Bogathy v. Union Pac. R.R., 2020 WL 419406, at *5 (N.D. Ill. Jan. 24, 2020); Sullivan v.

Alcatel-Lucent USA Inc., 2014 WL 3558690, at *6-8 (N.D. Ill. July 17, 2014).

        Section V(D)(2) of Richards’s report is a textbook violation of this time-tested

principle. There, Richards challenges the foundation or veracity of Weil’s resignation letter.

Richards characterizes Weil’s reasons for resigning as “claims,” “claimed concern[s],” and

“purported fact[s].” (See Ex. A ¶¶ 118, 119, 121.) Richards repeatedly puts the word

“inconsistency” in scare quotes when commenting on Weil’s reasons for resigning. (See id.

¶¶ 111, 115, 126, 128, 132.) Richards also adds his personal commentary on the reputational


6
 This is in stark contrast to Andrew Mintzer’s factual discussion. In his report, Mintzer did not
purport to resolve factual disputes or present a “correct” version of facts. (See generally Ex. I at 44-
74.) Instead, Mintzer looked in the record to see if there were sufficient facts available to RSM that
would allow a reasonable auditor to resign under GAAS (e.g., AU-C 580.25). He did not attempt to
weigh in on the credibility of witnesses or resolve disputes as to those facts.


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impact of a Wells notice with Weil’s decision to resign. (Id. ¶ 108.) In short, Richards

suggests that Weil’s stated reasons are bogus. That is improper expert testimony and must

be excluded. Goldberg v. 401 N. Wabash Venture LLC, 755 F.3d 456, 461–62 (7th Cir. 2014)

(“An expert witness is not permitted to . . . testify that he believes the person was being

truthful.”); Goodwin v. MTD Prod., Inc., 232 F.3d 600, 609 (7th Cir. 2000) (“[C]redibility

questions are within the province of the trier of fact . . . .”).

               ii.     Richards May Not Interpret Evidence that Speaks for Itself

       What’s more, in attempting to discredit Weil’s resignation, Richards extensively

quotes transcripts, emails, and other documents—while speculating what Weil “should” or

“would” have known from this evidence. Expert testimony of this kind is both inappropriate

and unnecessary. For example, in citing the investigative testimony of Defendant Sam

Barnett, Richards speculates that Weil “would have learned” that SBB was using two

valuation models for two different sets of investors on the advice of an external compliance

consultant (a fact which remains in dispute). (Ex. A ¶¶ 112-14.) Citing emails, he opines that

“RSM’s contemporaneous correspondence with SBB contradicts Ms. Weil’s 2019 claims

that she was unaware that certain elements of the model were not supported by academic

literature.” (Id. ¶ 118.) In discussing emails and related testimony excerpts, Richards even

provides his own reading of an email: “In my view, this email presents evidence that

management was working to ensure that an arbitrary or results-oriented method was not

pursued.” (Id. ¶ 125 (emphasis added).) In short, Richards creates an alternate timeline of

what Ms. Weil knew about the SEC’s deficiency letter, and when, that “calls into question

Ms. Weil’s testimony.” (Id. ¶¶ 132-40.)




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        This selective interpretation of documents is improper. First, “an expert cannot be

presented to the jury solely for the purpose of constructing a factual narrative based upon

record evidence.” Highland Cap. Mgmt., L.P. v. Schneider, 379 F. Supp. 2d 461, 468-70

(S.D.N.Y. 2005) (collecting cases). But that’s exactly what Richards admitted to doing: “I

think all I’m trying to do is for those who are reading the report, the triers of fact, . . . is lay

out the facts that were in existence at the time the decision was made.” (Ex. F at 272

(emphasis added).) “Laying out the facts” as Richards sees them, and providing “my view,”

are just thinly veiled euphemisms for constructing a factual narrative based upon the

expert’s view of the evidence. Even if the veracity of Weil’s resignation letter were relevant,

the jury should decide whether she was truthful, not Richards. The jury should decide what

testimony and emails mean, based on the testimony of percipient witnesses, not Richards.

And although Richards walked back several portions of his report—by recasting many of his

“should haves” in the report to “could haves,” see id. at 293, 329, 331—the jury should

decide whether certain evidence “could have” impacted Weil’s resignation, not Richards.

        Second, the documents Richards tries to interpret should be allowed to speak for

themselves. Expert testimony on what common communications mean is unnecessary and

improper. See, e.g., In re Longtop Fin. Techs. Ltd. Sec. Litig., 32 F. Supp. 3d 453, 462 (S.D.N.Y.

2014) (“Bell's interpretation of DTT's resignation letter is inadmissible. . . . [T]he jury can

easily read and comprehend the text of the short letter without expert assistance.”); see also

United States v. Scholl, 166 F.3d 964, 973-74 (9th Cir. 1999) (affirming exclusion of an

accounting expert who would have testified whether the defendant’s accountant met

standards of care because the text of the accounting standards themselves were already in

evidence). The jury can decide for themselves what Defendants meant when they testified in


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the SEC investigation, what the SBB-RSM emails meant, and what each of the witnesses

knew and when. Richards’s accounting expertise will not assist the jury with those

responsibilities, making his opinion therefore unhelpful for that reason too.

       The same is true of the opinions in paragraphs 39 and 69-75 of Richards’s report.

Even if it were relevant that there were 20 enforcement actions over the past 5 years

involving audit firms and not auditors, all Richards did to reach this conclusion was review

the publicly available enforcement orders. (See Ex. A ¶ 39; Ex. 2 thereto at 6.) If admitted as

relevant, the jury can read those orders for themselves. Likewise, in paragraphs 69-75,

Richards characterizes portions of testimony transcripts and SBB’s response to

interrogatories as supporting his view that Mintzer is wrong. The jury can likewise interpret

that evidence for themselves. And for the same reasons discussed above, Richards’s

assertion that his reading of these materials is right and Mintzer’s is wrong intrudes on the

province of the jury to “sort out possible conflicting testimony or to argue the implication of

those inconsistencies.” Duran, 277 F.R.D. at 370. These opinions should be excluded too.

II.    Richards’s Opinions Are Unreliable Because He Failed to Consider
       Other GAAS Standards and Contradictory Evidence

       This Court should also exclude Richards’s opinions in paragraphs 39 and 91-144 of

his report as unreliable and not just unhelpful. After applying the reliability factors identified

in Gopalratnam, this Court can readily conclude: (1) Richards’s opinion on the propriety of

RSM’s resignation was developed specifically for this litigation, and he is not an expert in

industry practices in applying GAAS in the resignation context; and (2) Richards has

provided no proof that his interpretation of GAAS resignation standards is generally

accepted in the auditing community. See 877 F.3d at 779-80. More importantly, the jury

cannot rely on Richards’s opinions because he failed to “adequately account[] for obvious

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alternative explanations”: (i) that other GAAS standards contradict his opinion, and (ii) that

other facts demonstrate that RSM complied with Richards’s reading of GAAS. Id. (internal

quotation marks omitted).

       A.      Richards Ignored Relevant GAAS Standards

       First, “if the relevant scientific literature contains evidence tending to refute the

expert’s theory and the expert does not acknowledge or account for that evidence, the

expert’s opinion is unreliable.” In re Rezulin Prod. Liab. Litig., 369 F. Supp. 2d 398, 425

(S.D.N.Y. 2005). Here, Richards failed to address other provisions of GAAS that appear to

refute his view that GAAS always requires auditors to take additional steps before resigning.

For example, Richards ignored the following GAAS provisions that allow (or require) an

auditor to do just what RSM did: resign or disclaim the audit opinion if the auditor has

doubt about management integrity and/or the truth of representations made by

management:

           AU-C 580.25: “The auditor should disclaim an opinion on the financial
            statements . . . or withdraw from the engagement if the auditor concludes that
            sufficient doubt exists about the integrity of management such that the written
            representations [of management] are not reliable.” (Ex. G, AU-C 580, at 843.)

           AU-C 580.A30: “Concerns about the competence, integrity, ethical values, or
            diligence of management . . . may cause the auditor to conclude that the risk of
            management misrepresentation in the financial statements is such that an audit
            cannot be conducted. In such a case, the auditor may consider withdrawing
            from the engagement, when withdrawal is possible under applicable law or
            regulation, unless those charged with governance put in place appropriate
            corrective measures.” (Id. at 850.)

           AU-C 580.A32: “[I]f, as described in paragraph .25a, the auditor concludes that
            the written representations about these matters are unreliable or if management
            does not provide those written representations, the auditor is unable to obtain
            sufficient appropriate audit evidence. . . . Section 705 requires the auditor to
            disclaim an opinion on the financial statements in such circumstances.” (Id.)



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          AU-C 260.A47: “Before communicating matters with those charged with
           governance, the auditor may discuss them with management unless that is
           inappropriate. For example, it may not be appropriate to discuss with
           management questions of management’s competence or integrity.” (Ex. H, AU-
           C 260, at 239.)

       None of these provisions refer to, suggest, or require that an auditor perform any

additional steps before resigning. To the contrary, these provisions on their face permit an

auditor to resign once they have doubts about the integrity of management. And Weil

repeatedly made clear that RSM had lost confidence in the integrity of SBB’s management.

(See Ex. E.) This only makes sense. Why should RSM be forced to have additional

conversations with clients they have already deemed untrustworthy, when it was the under-

oath testimony transcripts of SBB witnesses that led RSM to that conclusion? RSM

personnel could not issue subpoenas or extract testimony under oath from their client. They

finally were able to review the highest form of evidence they could hope to obtain, which

showed that SBB personnel had lied to them. They could reasonably assume that following

up with the people who lied to them would not be fruitful.

       Other GAAS provisions also raise more specific questions that contradict Richards’s

conclusion that RSM was obligated to conduct further audit inquiries before resigning:

    GAAS Provisions Richards Ignored                          Question Raised
            in His Report

 AU-C 580.25 says the auditor “should”          Why would GAAS make withdrawal
 disclaim the opinion or withdraw from the      “presumptively mandatory” if an auditor is
 engagement, and Richards agrees that           nevertheless required to pursue additional
 “GAAS use the word ‘should’ to indicate a      steps, as Richards claims?
 presumptively mandatory requirement.”
 (See Ex. A at 35 n.191.)

 AU-C 580.A30 permits the auditor to            What language tells the auditor to follow
 consider withdrawing from the engagement       other GAAS provisions cited by Richards
 once they have such concerns.                  before withdrawing?


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 AU-C 580.A32 says that, by definition, the       If the auditor is, by definition, unable to
 auditor is unable to obtain sufficient audit     obtain sufficient audit evidence, why would
 evidence if the auditor concludes that           GAAS require the auditor to try to obtain
 management’s representations are                 additional evidence, as Richards suggests?
 unreliable.

 AU-C 260.A47 permits the auditor to not          If an auditor need not discuss a resignation
 discuss matters with management if               with management if they doubt the
 “inappropriate,” defining “inappropriate”        integrity of management, why would
 to include questions of management’s             GAAS require RSM to first discuss its
 integrity.                                       resignation with SBB, as Richards says?


       Richards failed to even consider, let alone answer, these questions. To the contrary,

his report failed to cite AU-C 580.A30, 580.A32, and 260.A47. And the only time he cited

AU-C 580.25, he inserted his own language within that standard. (See Ex. F at 231-32 (“The

after evaluation of audit evidence [clause] is not in Paragraph 25 or 25(a) that’s cited. It’s me

paraphrasing because what I’m laying out is the audit process.”).) The fact that Richards

“paraphrased” a standard to make it appear that the standard included other steps of his

own making shows that his opinion on that standard is unreliable. See, e.g., In re Lipitor

(Atorvastatin Calcium) Mktg., Sales Pracs. & Prod. Liab. Litig., 892 F.3d 624, 634 (4th Cir. 2018)

(“Result-driven analysis, or cherry-picking . . . is a quintessential example of applying

methodologies (valid or otherwise) in an unreliable fashion.”).

       At his deposition, Richards was given a chance to explain the GAAS provisions he

failed to cite. For AU-C 260.A47, he only made a “practical point [that] in small

organizations that a lot of time there’s no difference between those charged with governance

and management.” (Ex. F at 253-54.) But this only proves the point: SBB was a very a small

organization whose management and those charged with governance were the same people

(i.e., Barnett and Aven). So under this standard (and Richards’s logic), RSM shouldn’t have

needed to talk to Barnett and Aven before resigning.

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       In response to this (obvious) point, Richards simply stated, “[T]hey still need to do

the audit procedures to make sure they understand the context of the information. You can’t

just resign.” (Id. at 254.) What is the basis for that conclusion? Richards effectively asks the

Court and a jury to take his word for it. Richards has cited no specific authority for saying

“you can’t just resign,” and could only refer generally to “a series of procedures you have to

do to get to that conclusion” and other unnamed “standards.” (Id. at 239-40, 247.) Indeed,

when specifically asked, “[W]hich section or sections [of GAAS] are you relying on for that

conclusion?,” Richards answered, “I tried to lay them out in the order by which you would

execute them in my report.” (Id. at 238-39.) But he was unable to produce any authority

supporting his view of the “order by which you would execute them.” Nor could he cite any

accounting literature or industry practices that support his reading of GAAS.

       Ultimately, there is no support for Richards’s view of GAAS other than Richards

himself. This is the very definition of ipse dixit: an inadmissible assertion without other

proof. See, e.g., C.W. ex rel. Wood v. Textron, Inc., 807 F.3d 827, 837 (7th Cir. 2015) (“When a

district court conclude[s] that there is simply too great an analytical gap between the data

and opinion proffered such that the opinion amounts to nothing more than the ipse dixit of

the expert, it is not an abuse of discretion under Daubert to exclude that testimony.” (internal

quotation marks omitted)). Richard’s opinion on the proper standard for resignations under

GAAS should not be presented to a jury based solely on his say-so.

       B.      Richards Ignored Facts That He Claimed Were Relevant

       In addition to cherry-picking the aspects of GAAS he chooses to recognize, Richards

also cherry-picks his facts. He simply ignores those facts that would undermine his

conclusion that RSM did not comply with Richards’s interpretation of GAAS. For instance,


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Richards faults RSM for not “checking with SBB” before resigning. (Ex. A ¶ 110.) But he

admits that after learning about the SEC deficiency letter, RSM requested correspondence

between the SEC and SBB. (Id. ¶ 139.) RSM even followed up on its review of that

additional correspondence by requesting a meeting with SBB to discuss why it had provided

that false representation to RSM. (Id. ¶¶ 34, 129.) Richards does not explain why RSM’s

requests for additional communications with the SEC, and holding a meeting with SBB to

get an explanation for the false management representation letter, don’t count as the

“additional audit procedures” he says are required. Richards likewise faults Weil for “not

checking with her team,” but he ignores that she made her decision to resign after consulting

“with two members of RSM’s national office.” (Id. ¶¶ 108, 110.) Richards’s treatment of

evidence he himself claims is relevant only confirms that his opinions are unreliable.

                                      CONCLUSION

       For the foregoing reasons, the SEC respectfully requests that the Court exclude the

opinions of Steven Richards contained in paragraphs 39, 69-75, and 91-144 of his report.

 April 12, 2024                                 United States Securities and Exchange
                                                Commission


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        UNPUBLISHED
        AUTHORITIES
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                                                                  Defendant does not challenge the qualifications of either
                   2012 WL 1802066                                Dr. Hollon or Dr. Fugh–Berman to offer expert opinions
      Only the Westlaw citation is currently available.           on Defendant's marketing practices. See Fed.R.Evid. 702(a)
               United States District Court,                      (stating that an expert may by qualified by “knowledge,
                      N.D. Illinois,                              skill, experience, training, or education”). For purposes of
                    Eastern Division.                             context, however, the Court briefly summarizes each expert's
                                                                  professional background.
             Jo Belle BALDONADO, Plaintiff.
                          v.
                                                                     A. Dr. Matthew F. Hollon, M.D., MPH
              WYETH and its division, Wyeth
                                                                  Dr. Hollon is a Board-certified physician of Internal Medicine
              Pharmaceuticals, Inc., Defendant.                   at the University of Washington in Seattle (“UW”). (R. 131,
                                                                  Ex. 13, Expert Report of Dr. Hollon (“Hollon Report”),
                        No. 04 C 4312.
                                                                  at 1.) He graduated from the UW School of Medicine in
                               |
                                                                  1994, and thereafter completed a medical residency and
                        May 17, 2012.
                                                                  fellowship in Internal Medicine at UW. (Id.) During his
                                                                  fellowship, Dr. Hollon attended classes at the UW School
                                                                  of Public Health and Community Medicine and received
       MEMORANDUM OPINION AND ORDER
                                                                  a Masters of Public Health. (Id.) Currently, Dr. Hollon is
AMY J. ST. EVE, District Judge.                                   the Director of Evidence–Based Medicine for the Internal
                                                                  Medicine Residency Program at the UW Department of
 *1 Defendant Wyeth moves in limine to exclude the                Medicine and an Assistant Professor in the Division of
anticipated expert testimony of two of Plaintiff's designated     General Internal Medicine. (Id.) Dr. Hollon has been an
marketing experts—Dr. Matthew F. Hollon and Dr. Adriane J.        active member in numerous professional organizations, and
Fugh–Berman. See Fed.R.Evid. 702; Daubert v. Merrell Dow          has published extensively in the area of pharmaceutical
Pharm., Inc., 509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed.2d 469       marketing. (Id. at 1–2.) He has also consulted on this topic for
(1993). As explained below, Defendant's motion is granted in      the Canadian government. (Id.)
part, and denied in part.

                                                                     B. Dr. Adriane J. Fugh–Berman, M.D.
                                                                  Dr. Fugh–Berman is an associate professor in the Department
                     BACKGROUND                                   of Physiology and Biophysics at Georgetown University
                                                                  Medical Center, where she teaches “graduate courses in
Plaintiff Jo Belle Baldonado was diagnosed with breast
                                                                  the history of medicine and critical assessment of medical
cancer while she was taking Prempro, a prescription
                                                                  literature, including a module on clinical trial methodology
hormone therapy (“HT”) medication that Defendant Wyeth
                                                                  and assessment of adverse events.” (R. 131, Ex. 15, Expert
designed, manufactured, and marketed. Plaintiff's prescribing
                                                                  Report of Dr. Fugh–Berman (“Fugh–Berman Report”), at 1.)
physicians were Dr. Teresita D. Avila, M.D. and Dr.
                                                                  She also lectures about “pharmaceutical company influence
Mani Akkineni, M.D. Alleging that Prempro caused her
                                                                  on physician prescribing practices.” (Id.) For more than
breast cancer, Plaintiff filed the present civil action against
                                                                  twenty-five years, Dr. Fugh–Berman has “worked in the field
Defendant and others. Trial is scheduled for October 9, 2012.
                                                                  of women's health and corporate influence on healthcare,”
                                                                  and has published numerous articles in that regard, including
In advance of trial, Defendant moves to exclude the testimony
                                                                  articles “on the culture of gynecology and the effect of
of Dr. Matthew Hollon and Dr. Adriane Fugh–Berman, both
                                                                  drug company promotion on prescribing habits.” (Id.) Dr.
of whom Plaintiff has designated as experts on Wyeth's
                                                                  FughBerman previously practiced general medicine with a
marketing practices for its hormone therapy medications. The
                                                                  focus on women's health. (Id.) After leaving clinical practice
witnesses are “general liability experts” who have not filed
                                                                  in 2001, Dr. Fugh–Berman has, among other professional
case-specific expert reports. (R. 131, Pl's Resp. at 1.)
                                                                  pursuits, “been a consultant, scientific reviewer, working
                                                                  group member, or speaker on women's health issues for the
I. Expert Qualifications                                          National Institutes of Health, the Federal Trade Commission,


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the Centers for Disease Control, the Agency for Health
Care Research and Quality, the Department of Defense, the            Under Rule 702, “[a] witness who is qualified as an expert
National Security Agency, and the Institute of Medicine.” (Id.       by knowledge, skill, experience, training, or education may
at 1–2.)                                                             testify in the form of an opinion or otherwise if: (a) the expert's
                                                                     scientific, technical, or other specialized knowledge will help
                                                                     the trier of fact to understand the evidence or to determine
II. Anticipated Expert Testimony                                     a fact in issue; (b) the testimony is based on sufficient facts
 *2 Plaintiff seeks to call either Dr. Hollon or Dr. Fugh–           or data; (c) the testimony is the product of reliable principles
Berman as a general liability expert on Defendant's marketing        and methods; and (d) the expert has reliably applied the
practices. 1 If permitted to testify, according to Plaintiff,        principles and methods to the facts of the case.” Fed.R.Evid.
the experts would opine that Defendant's marketing of HT             702; see also Ortiz v. City of Chicago, 656 F.3d 523, 526 (7th
products including Prempro fell below the standard of care           Cir.2011). The inquiry under Rule 702 is “flexible.” Bielskis,
that a pharmaceutical company should exercise. (R. 131,              663 F.3d at 894.
Pl.'s Resp. at 5–6, 8.) The experts in their respective reports
offer extensive detail about Defendant's marketing practices         District courts employ a three-part analysis before admitting
and opine on the impact of those practices on patients and           expert testimony: (1) the expert must be qualified as an expert
physicians. (Id.)                                                    by knowledge, skill, experience, training, or education; (2) the
                                                                     expert's reasoning or methodology underlying his testimony
Plaintiff offers the experts to establish “key elements in           must be scientifically reliable; and (3) the expert's testimony
Plaintiff's negligence and punitive damages claims.” (R. 131,        must assist the trier of fact in understanding the evidence or
Pl.'s Resp. at 3.) Plaintiff contends that the experts “will serve   to determine a factual issue. See Myers v. Ill. Cent. R.R. Co.,
to educate the jury on the nature and purpose of the marketing       629 F.3d 639, 644 (7th Cir.2010). “The goal of Daubert is
materials seen by Mrs. Baldonado and her physicians” (id. at         to assure that experts employ the same ‘intellectual rigor’ in
8), thereby “provid[ing] context for Wyeth's breach of its duty      their courtroom testimony as would be employed by an expert
to the physicians and patients....” (Id. at 3.)                      in the relevant field.” Jenkins v. Bartlett, 487 F.3d 482, 489
                                                                     (7th Cir.2007) (quoting Kumho Tire Co., 526 U.S. at 152).


                    LEGAL STANDARD
                                                                                               ANALYSIS
“The admissibility of expert testimony is governed by Federal
Rule of Evidence 702 and the Supreme Court's opinion in               *3 In the present motion, Defendant seeks to exclude the
Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 113 S.Ct.         expert testimony of Dr. Hollon and Dr. Fugh–Berman on the
2786, 125 L.Ed.2d 469 (1993).” Lewis v. CITGO Petroleum              ground that such testimony is irrelevant and unreliable. To
Corp., 561 F.3d 698, 705 (7th Cir.2009). “The district court         the extent the Court permits the experts to testify, Defendant
functions as a gatekeeper with respect to testimony proffered        alternatively seeks to preclude the experts from offering
under Rule 702 to ensure that the testimony is sufficiently          “narrative histories” of hormone therapy marketing practices;
reliable to qualify for admission.” Mihailovich v. Laatsch,          opinions on Defendant's intent and/or motives; and opinions
359 F.3d 892, 918 (7th Cir.2004) (citing Kumho Tire Co. v.           on the applicable standard of care. The Court addresses each
Carmichael, 526 U.S. 137, 147, 119 S.Ct. 1167, 143 L.Ed.2d           of these issues below.
238 (1999)); see also Bielskis v. Louisville Ladder, Inc.,
663 F.3d 887, 893 (7th Cir.2011) (“It is the district courts'
role to ensure that expert testimony is both relevant and            I. Relevance
reliable.”). Whether to admit expert testimony rests within          The Court first considers the threshold issue of relevance.
the discretion of the district court. See Gen. Elec. Co. v..         Rule 401 of the Federal Rules of Evidence provides that
Joiner, 522 U.S. 136, 118 S.Ct. 512, 139 L.Ed.2d 508 (1997).         evidence is relevant if “it has any tendency to make a
Indeed, a district court has “wide latitude in performing its        fact more or less probable than it would be without the
gatekeeping function and determining both how to measure             evidence; and the fact is of consequence in determining
the reliability of expert testimony and whether the testimony        the action.” Fed.R.Evid. 401; see also Fed.R.Evid. 402
itself is reliable.” Bielskis, 663 F.3d at 894.                      (“Irrelevant evidence is not admissible.”); Daubert, 509 U.S.



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at 590–91 (observing that expert testimony must be relevant         (“A trial judge has discretion to control the mode and order
in order to “assist the trier of fact” under Rule 702).             of witness interrogation and evidence presentation.”) (citing
                                                                    Fed.R.Evid. 611(a)).
In its motion, Defendant argues that neither Plaintiff nor her
physicians relied on any of Defendant's marketing materials,         *4 Additionally, given the breadth of the expert reports at
and therefore evidence of Defendant's marketing materials           issue, the Court orders as follows:
and practices can have no bearing on Plaintiff's injuries, nor
properly provide evidence relevant to the assessment of a             • By May 31, 2012, Plaintiff shall file a detailed statement
                                                                         of the specific expert testimony and opinions that
punitive damages award. 2 (R. 116, Def.'s Mem. at 4–6.)
                                                                         she intends to elicit at trial in this case from Dr.
Plaintiff responds that both she and her prescribing physicians
                                                                         Hollon and/or Dr. Fugh–Berman. The statement must
relied on Defendant's marketing materials, and her experts
                                                                         include supporting references to the expert reports and
“will limit their testimony in this trial to the marketing
                                                                         depositions.
conduct of Wyeth that is relevant to this plaintiff's case.” (Id.
at 1; see also id. at 9 (“[T]hese doctors' testimony will be          • The parties shall meet and confer in good faith on the
specifically tailored to the facts of this case.”).)                    relevance of the proposed testimony on or before June
                                                                        8, 2012.
The parties agree, at least implicitly, that the expert testimony
is relevant to the extent that Plaintiff and/or her prescribing       • If the parties are unable to reach agreement, Defendant
physicians relied on the marketing materials about which the             shall file objections to the relevance of the proposed
experts would opine. (See R. 116, Def.'s Mem. at 6; R. 131,              testimony by June 12, 2012. Plaintiff may reply, if at all,
Pl.'s Resp. at 13, 17); accord De Bouse v. Bayer AG, 235 Ill.2d          by June 15, 2012.
544, 337 Ill.Dec. 186, 922 N.E.2d 309 (2009) (“If a consumer
has neither seen nor heard [the marketing] statement, then she
cannot have relied on the statement and, consequently, cannot       II. Narrative Histories
prove proximate cause.”). Reliance is a question of fact, and       Defendant next seeks to preclude the experts from offering
under the Federal Rules of Evidence, “[w]hen the relevance          “narrative histories” of Defendant's promotion of hormone
of evidence depends on whether a fact exists, proof must be         therapy. (R. 116, Def.'s Mem. at 7.) In their respective reports,
introduced sufficient to support a finding that the fact does       Dr. Hollon and Dr. Fugh–Berman offer lengthy narrative
exist.” Fed.R.Evid. 104(b).                                         summaries about Defendant's promotion of hormone therapy
                                                                    products over approximately the last 60 years. (See
Here, although the pre-trial record contains some evidence of       Hollon Report at 8–88; Fugh–Berman Report at 5–31.)
                                                                    Defendant argues that this type of narrative testimony,
reliance on marketing materials, 3 a ruling on the relevance of
                                                                    based on the experts' review of documents, does “not
the proffered testimony to the negligence or punitive damages
                                                                    involve any application of ‘scientific, technical or other
claims is premature. Plaintiff has agreed to “specifically
                                                                    specialized knowledge’ “ and “will not aid the jury and will
tailor[ ]” the expert testimony “to the facts of this case.” (R.
                                                                    impermissibly interfere with its role as trier of fact.” (Def.'s
131, Pl.'s Resp. at 9); see also Barton v. Wyeth Pharm.,
                                                                    Mem. at 14 (quoting Fed.R.Evid. 702).) The Court agrees.
Inc., No. 694/695 EDA 2012, 2012 WL 112613 (Pa.Super.Ct.
Jan. 3, 2012) (applying Illinois law) (finding no abuse
                                                                    Under the circumstances of this case, allowing an expert to
of discretion in the trial court's admission of evidence of
                                                                    provide summary testimony “based on nothing more than
Wyeth's “extensive marketing activities,” where a physician's
                                                                    [the expert's] review of certain discovery materials could give
information on the drug at issue was “rooted, at least
                                                                    the jury the impression that he did something more than
indirectly, in Wyeth's active promotion of its product”).
                                                                    simply review the materials, which the jury can do itself.”
If Plaintiff seeks to offer expert testimony on Defendant's
                                                                    United States v. Vance, No. 07–CR–351, 2011 WL 2633842,
marketing practices, Plaintiff must first introduce evidence
                                                                    at *5 (N.D.Ill. July 5, 2011) (citing United States v. Hall, 93
that is “sufficient to support a finding” that the testimony
                                                                    F.3d 1337, 1343 (7th Cir.1996) (“Unless the expertise adds
relates to the underlying facts of this case. See Fed.R.Evid.
                                                                    something, the expert at best is offering a gratuitous opinion,
104(b) & adv. comm. notes (“The order of proof here, as
                                                                    and at worst is exerting undue influence on the jury that
generally, is subject to the control of the judge.”); see also
                                                                    would be subject to control under Rule 403.”)). Even if the
United States v. Boling, 648 F.3d 474, 482 (7th Cir.2011)


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expert may have relied upon his or her expertise to “wade
through the multitude of possibly relevant documents,” the           Contrary to Defendant's representation, Dr. Hollon never
“vast majority” of the experts' proffered narratives amount          testified that he relied exclusively on the documents that
to a summary and statement of the experts' “advocacy-based           Plaintiff's counsel provided to him. In fact, he explicitly
interpretation of documents in the record concerning” HT             testified that “not all of it was provided by counsel.” (Hollon
marketing practices. In re Viagra Prods. Liab. Litig., 658           Dep. at 77.) Dr. Hollon testified that he additionally relied on
F.Supp.2d 950, 967 (D.Minn.2009); see also In re Trasylol            his “knowledge” and “expertise” of marketing practices (id.
Prods. Liab. Litig, 709 F.Supp.2d 1323, 1346 (S.D.Fla.2010)          at 33), and on materials that he “found ... independently” (id.
(finding that expert's testimony “will not assist trier of fact,”    at 46). He further testified that he gathered a “substantial
where testimony “mostly consists of a factual narrative of           portion” of the documents he reviewed “well prior to any
[drug's] regulatory history and summaries of [pharmaceutical         specific work that I did related to this case.” (Id. at 36; see also
defendant's] internal documents”); In re Prempro Prods. Liab.        id. at 28 (“most of the medical literature that I used to write
Litig., 554 F.Supp.2d 871, 886 (E.D.Ark.2008) (“If an expert         this report was obtained by my own independent efforts”).)
does nothing more than read exhibits, is there really any
point in her testifying as an expert?”). For these reasons, the      To the extent Dr. Hollon relied on documents that counsel
experts may not offer factual narrative testimony that simply        sent to him, the record contradicts Defendant's assertion that
summarizes documents relating to Defendant's promotion of            these documents were “limited.” (Id. at 21, 27 (“millions of
hormone therapy.                                                     pages”).). As Dr. Hollon testified: “There were boxes upon
                                                                     boxes upon boxes of documents sent, numbering thousands
                                                                     upon thousands upon thousands of pages....” (Id. at 21 (further
III. Reliability                                                     noting that he received an initial and then subsequent set
 *5 Defendant contends that the experts' testimony “should           of documents, and also 240 gigabytes of information on a
[ ] be excluded because it does not come close to the standard       hard drive).) Despite the breadth of counsel's production, Dr.
of reliability.” (R. 116, Def.'s Mem. at 9.) As explained            Hollon also requested additional materials, which he received.
below, Defendant does not present any argument that warrants         (Id. at 24, 69.)
exclusion of the proffered expert testimony on the basis of
reliability.                                                         Furthermore, contrary to Defendant's arguments, Dr. Hollon
                                                                     did not simply look to counsel's documents to disprove his
                                                                     opinions. Once Dr. Hollon reached his tentative opinions,
  A. Dr. Hollon
                                                                     he “went back to look in the medical literature ... and in
Defendant argues that Dr. Hollon failed to undertake an
                                                                     the popular literature, using” electronic databases, including
“objective investigation of the facts” (Id. at 10), and “failed to
                                                                     LexisNexis, to test his opinions. (Id. at 67–68; see also id. at
gather relevant data.” (Id. at 12–14.) Defendant presents these
                                                                     33 (testifying that he relied on his own experience combined
challenges as two independent arguments.
                                                                     with a “comprehensive summary of the available literature
                                                                     on the general impact of promotion on prescribing practices
   1. Objective Investigation of the Facts                           of physicians, and the influence that direct to consumer
Defendant relies on Dr. Hollon's deposition testimony to             marketing has on those prescribing practices in this country”);
argue that he “made no objective investigation of the                id. at 67 (“It's my responsibility, as a researcher and scientist,
facts.” (R. 116, Def.'s Mem. at 10 (citing id., Ex. 20,              to try and triangulate and to review as much as I can to form
Hollon Dep. in the MDL Court (“Hollon Dep.”), at 67–                 an opinion so that my opinion is valid.”).)
68 (Mar. 27, 2006)).) According to Defendant, Dr. Hollon's
deposition testimony shows that he “bases his opinions on             *6 For all of these reasons, the Court cannot say that
material hand-picked for him by Plaintiff's counsel,” and            Dr. Hollon failed to undertake an objective investigation
then “ ‘randomly’ “ delves into this limited material and,           of the facts such that his expert testimony lacks reliability.
finding nothing to disprove his views, offers them as expert         (Id. at 33 (testifying that he relied on his own experience
opinions.” (Id. (citing Hollon Dep. at 67–68).) Defendant,           combined with a “comprehensive summary of the available
however, grossly mischaracterizes Dr. Hollon's deposition            literature on the general impact of promotion on prescribing
testimony by offering only limited testimony ripped from its         practices of physicians, and the influence that direct to
context.                                                             consumer marketing has on those prescribing practices in this



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country”).) Defendant's challenges go to the weight of Dr.
Hollon's expert testimony, not its admissibility. See Walsh         Second, with regard to Dr. Hollon's opinion that Defendant
v. Chez, 583 F.3d 990, 995 (7th Cir.2009) (holding that the         “exert[ed] profound control over” the medical literature on
“district court erred in concluding that whatever flaws existed     HT, Defendant argues that the opinion is unreliable because
in the expert reports ... went to their admissibility, as opposed   Dr. Hollon “admits that he cannot quantify the extent to which
to their weight”).                                                  Wyeth allegedly influenced the medical literature.” (R. 116,
                                                                    Def.'s Mem. at 13–14.) In support of its argument, Defendant
                                                                    relies on Dr. Hollon's deposition testimony that Defendant's
   2. Gather Relevant Data                                          funding of articles “was a piece of the overall marketing
Defendant next argues that Dr. Hollon “failed to gather             plan that influenced providers and patients together.... It's
relevant data.” (R. 116, Def.'s Mem. at 12.) Defendant's            reasonable to suppose that they continued to invest in it
somewhat undeveloped argument focuses on certain specific           because it was effective.” (Id.) When read in the proper
opinions.                                                           context, however, this testimony does not support Defendant's
                                                                    argument. Dr. Hollon's testimony was in the context of
First, Defendant argues that, with respect to “Dr. Hollon's         discussing the existence of thousands of articles on HT
opinion that Wyeth repeatedly ignored the FDA's directives          and how Defendant used these articles as “a piece of the
regarding HT advertisements”:                                       overall marketing plan that influenced providers and patients
                                                                    together.” (Hollon Dep. at 324; see also id. at 152 (discussing
                                                                    the effect of “comprehensive promotional efforts of Wyeth”
             [Dr. Hollon] did not obtain all the facts              and “integrated marketing tactics,” which took place “through
             about those ads, including when they                   all these different channels”).)
             ran, where they ran, or even whether
             they ran at all. He is not familiar                     *7 Finally, Defendant argues that Dr. Hollon's opinion on
             with the correspondence file between                   ghostwriting “hinges on a single article that he admits he
             Wyeth and the FDA, and instead bases                   did not read.” (R. 116, Def.'s Mem. at 14 (citing Hollon
             his opinion on his ‘sense’ of what                     Dep. at 321).) Defendant neither discusses the content
             happened.                                              or methodological value of this “single article,” nor does
                                                                    Defendant discuss the relevant portions of Dr. Hollon's expert
                                                                    report in which he references numerous sources upon which
(Id. at 13.) This argument, however, mischaracterizes the           he bases his opinion on ghostwriting. (Hollon Report at 62,
portions of the record upon which it relies. (Id. (citing Hollon    72–73, 77.) Moreover, as to the specific article to which
Dep. at 232–33, 270–74, 280–81, 284–87).) In the cited              Defendant refers, Dr. Hollon never testified that “he did not
deposition testimony, Dr. Hollon offered limited testimony          read” the article, but instead testified that he only had an
about certain advertisements that might not even be relevant        abstract of the article with him “here.” (Hollon Dep. at 321.)
to this case. (See Hollon Dep. at 270–87. Cf. id. at 257–60
(testifying that he created a binder of relevant promotional
                                                                       3. Scientific Standards
materials).) Dr. Hollon is not a case-specific expert, and
                                                                    Defendant next argues that Dr. Hollon failed to adhere to
nothing in the cited testimony establishes that Dr. Hollon
                                                                    scientific standards. (R. 116, Def.'s Mem. at 13.) Defendant
is unfamiliar with Defendant's HT advertising generally,
                                                                    reasons that Dr. Hollon has previously opined in the Journal
or otherwise lacks a sufficient factual basis to opine on
                                                                    of the American Medical Association (“JAMA”) that, as a
Defendant's marketing activities. This is particularly true
                                                                    general matter, the net public benefit of direct-to-consumer
in light of his experience, research, and review of relevant
                                                                    advertising is unclear. (Id. at 15.) By now “offering a contrary
records. Moreover, to the extent Defendant suggests that
                                                                    [opinion] in this litigation,” Defendant asserts that “Dr.
Dr. Hollon lacks familiarity with “the correspondence file
                                                                    Hollon is applying different standards in the courtroom than
between Wyeth and the FDA,” Defendant offers nothing
to support such a sweeping statement. Defendant relies              those applied in his professional practice.” 4 (Id.) The Court
exclusively on Dr. Hollon's testimony relating to Defendant's       again disagrees. Dr. Hollon's JAMA article does not discuss
promotion of HT for off-label use—an issue that is irrelevant       Defendant or HT marketing practices, and therefore is not
to this case. (Id. at 232–33.)                                      counter to his opinions in the present litigation. In any event,



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the existence of this prior publication goes to the weight, not      16, 2011); Loewen v. Wyeth, Inc., No. 03–J–2166, 2011 WL
the admissibility, of his expert testimony.                          6942870, at *4 n. 3 (N.D.Ala. Nov. 14, 2011) (precluding
                                                                     Dr. Hollon from offering any testimony that “constitutes
                                                                     his personal views as to the intent, motive, and state of
   B. Dr. Fugh–Berman                                                mind of Wyeth”); George v. Kraft Foods Global, Inc., 800
Defendant's sole challenge to Dr. Fugh–Berman's                      F.Supp.2d 928, 932–33 (N.D.Ill.2011) (excluding expert's
methodology is this: she failed to make an objective                 state of mind opinion as speculative and unhelpful); United
investigation of the facts because she “published ... a paper ...,   States Gypsum Co. v. Lafarge N. Am., Inc., 670 F.Supp.2d
which is critical of the ‘lawful’ practice of ‘ghostwriting.’        768, 775 (N.D.Ill.2009) (citing Dahlin v. Evangelical Child
“ (R. 116, Def.'s Mem. at 10–11.) Defendant reasons that             and Family Agency, No. 01 C 1182, 2002 WL 31834881,
Dr. Fugh–Berman's publication “reveals that she is simply            at *3 (N.D.Ill.Dec. 18, 2002) (“testimony that does little
a mouthpiece for HT plaintiffs' counsel” because she relied          more than tell the jury what result to reach is unhelpful
heavily on “plaintiffs' counsel” for the content of her article.     and thus inadmissible, and testimony regarding intent—
(Id. at 11.) Other than offer a defense of ghostwriting,             essentially an inference from other facts—is even more
Defendant does not advance any legal argument in support of          likely to be unhelpful to the trier of fact”) (internal citation
excluding Dr. Fugh–Berman's testimony under any applicable           omitted)); Nat'l Jockey Club v. Ganassi, No. 04–3741, 2009
legal authority. To the extent Defendant disagrees with Dr.          WL 2177217, at *8 (N.D.Ill. July 21, 2009) (“intent of the
Fugh–Berman's opinions as to ghostwriting, Defendant may,            parties must be determined by the jury, and expert opinion
if otherwise appropriate, explore these issues with the witness      testimony is not necessary on this point”).
on cross-examination.
                                                                     Accordingly, the Court grants Defendant's motion to preclude
                                                                     Dr. Hollon from offering opinion testimony as to Defendant's
IV. Intent and Motivation
                                                                     state of mind, including intent or motivation.
Defendant seeks to preclude Dr. Hollon from testifying
about Defendant's “internal motivations,” arguing that such
testimony would amount to improper speculation. (R. 116,             V. Standard of Care
Def.'s Mem. at 15–16 .) Plaintiff responds that “opinions as         Finally, Defendant seeks to preclude Dr. Hollon from offering
to Wyeth's ultimate motives and intent are certainly not the         testimony “regarding the standard of care for pharmaceutical
main thrust of Dr. Hollon's report or testimony. Where he            marketing.” (R. 116, Def.'s Mem. at 16.) Defendant reasons
does touch upon the subject, Dr. Hollon provides objective           that Dr. Hollon's opinion on the applicable standard of care
sources.” (R. 131, Pl.'s Mem. at 22.)                                amounts to his own subjective “views on marketing ethics”
                                                                     without any objective foundation. (Id.) Once again, the Court
 *8 The Court agrees with Defendant. Nothing in Plaintiff's          disagrees. Dr. Hollon is a physician and expert in drug
brief or the record suggests that Dr. Hollon has personal            marketing, and he may reliably draw on his vast experience
knowledge of the internal motivation for any of Defendant's          in this area, and his expert knowledge of federal and industry
actions, and furthermore, the jury is fully capable of               regulations, to opine on the standard of care. (See Hollon
considering the issue of intent based on the evidence                Report at 23; Hollon Dep. at 219–21, 237–38, 264–65);
presented at trial. See DePaepe v. Gen. Motors Corp., 141            accord Loewen, 2011 WL 6942870, at *1 n .1 (“the court sees
F.3d 715, 720 (7th Cir.1998) ( “He could give an opinion             no reason why Dr. Hollon's testimony regarding the standard
as an engineer that reducing the padding saved a particular          of care should be excluded” on the basis that it amounts to
amount of money; he might testify as an engineer that GM's           “personal opinions”); In re Prempro Prods. Liab. Litig., No.
explanation for the decision was not sound (from which the           03–CV–1507, 2006 WL 5217764, at *5 (E.D.Ark. Sept. 13,
jury might infer that money was the real reason); but he could       2006) (rejecting Wyeth's challenge to Dr. Hollon's proposed
not testify as an expert that GM had a particular motive.”);         testimony on the standard of care, reasoning that “[c]learly,
Johnson v. Wyeth LLC, No. 10–C–2690, 2012 WL 1204081, at             Dr. Hollon has a knowledge of pharmaceutical marketing that
*3 (D.Ariz. Apr. 11, 2012) (precluding plaintiff's experts from      is beyond a juror's common understanding”).
offering “opinions concerning defendants' motive, intent,
knowledge, or other state of mind”); In re Yasmin and
YAZ (Drospirenone) Mktg., Sales Practices and Prods. Liab.
Litig., 09–md–2100, 2011 WL 6302287, at *12 (S.D.Ill.Dec.


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                      CONCLUSION
                                                                 All Citations
 *9 For the reasons explained above, the Court grants in part,
and denies in part, Defendant's motion.                          Not Reported in F.Supp.2d, 2012 WL 1802066




                                                         Footnotes


1      Plaintiff represents that the experts would offer materially identical testimony, and that she designated both
       to ensure the availability of at least one of the experts for trial.

2      On the subject of negligence, see generally Robinson v. McNeil Consumer Healthcare, 615 F.3d 861, 871
       (7th Cir.2010) (“ ‘proof of negligence in the air ... will not do’ ”) (quoting Palsgraf v. Long Island R.R., 248
       N.Y. 339, 162 N.E. 99, 99 (1928)) and Pipp v. Johnson and Johnson, No. 09–CV–5944, 2010 WL 2365303,
       at *1 (N.D. Ill. June 9, 2010) (citing Smith v. Eli Lilly & Co., 137 Ill.2d 222, 233, 137 Ill.2d 222, 560 N.E.2d
       32, 560 N.E .2d 324 (1990) (“In a negligence action th[e] causation-in-fact requirement entails a reasonable
       connection between the act or omission of the defendant and the damages which the plaintiff has suffered.”)).
       On the subject of punitive damages, see generally Woodward v. Corr. Med. Servs. of Ill., Inc., 368 F.3d 917,
       931 (7th Cir.2004) (stating, in the context of punitive damages, “ ‘[a] defendant should be punished for the
       conduct that harmed the plaintiff, not for being an unsavory individual or business' ”) (quoting State Farm
       Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 123 S.Ct. 1513, 155 L.Ed.2d 585 (2003)).

3      Defendant argues that Drs. Avila and Akkineni did not rely on Defendant's marketing practices, reasoning
       that the doctors testified as much. (See R. 116, Def.'s Mem. at 3–4 (citing, e.g ., Dr. Avila Dep. (7/20/11) at
       21, 256–57; Dr. Akkineni Dep. at 115–16).) Defendant presents this testimony out of context. Although the
       doctors may have stated that they did not rely on marketing materials, the doctors gave that testimony in
       the context of explaining that the decision to prescribe Prempro to Plaintiff was an exercise of independent
       medical judgment. This context is significant because throughout their depositions, the doctors explained
       that marketing activities and information from drug companies underlie and inform, at least in part, the
       exercise of their medical judgment. (See, e.g., Dr. Avila Dep. (8/10/11) at 210 (testifying that information
       from a “sales rep” would go into the decision-making process); Dr. Akkineni Dep. at 15 (decisions based
       in part on marketing information received from drug manufacturer), 117–18 (advised patients of risk based
       on review of the literature).) The doctors testified about many of these influences. (See, e.g. Dr. Avila Dep.
       (7/20/11) at 15 (“whatever is out and recommendations and medical literature that is given to us”), 16
       (letters from drug companies), 16–17 (textbooks), 18 (Physicians Desk Reference (“PDR”)), 19–20 (lectures),
       22 (journals), 24 (booklets), 27 (advertisements), 27 (materials brought in by patients), 50 (office visit by
       sales representatives); Dr. Avila Dep. (8/10/11) at 210 (pamphlets); Dr. Akkineni Dep. at 15 (visits by sales
       representatives who provide product information), 17 (text books and educational information from medical
       associations), 20(PDR), 24 (studies), 49 (specific document from Wyeth sales team), 54 (“Dear Doctor”
       letters), 58 (office visits by sakes representatives), 61 (continuing medical education); accord R. 132, Ex. 22
       (medical records: “reading material on estrogen replacement [ ] given to the patient”).)

4      Defendant also contends that “in the five years since he was retained as an expert in the HT litigation,
       he has never subjected his opinions (and accordingly his methodology) regarding Wyeth's advertising to
       peer review.” (R. 116, Def.'s Mem. at 15.) This argument, comprised of one conclusory sentence without
       elaboration or reference to any legal authority, is waived. See Appert v. Morgan Stanley Dean Witter, Inc.,
       673 F.3d 609, 617 n. 1 (7th Cir.2012) (holding that “perfunctory and undeveloped arguments unsupported by
       pertinent authority are waived”). Even if Defendant had not waived this argument, the existence of peer review



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      is one of myriad relevant factors under Daubert. Defendant makes no attempt to explain how this factor,
      viewed with others, warrants exclusion under Daubert. See Daubert, 509 U.S. 593–94 (“The fact of publication
      (or lack thereof) in a peer reviewed journal thus will be a relevant, though not dispositive, consideration in
      assessing the scientific validity of a particular technique or methodology on which an opinion is premised.”).



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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Securities and Exchange Commission,                        Civil No. 10-3995 (DWF/JJK)

                    Plaintiff,

v.                                                                  MEMORANDUM
                                                               OPINION AND ORDER
True North Finance Corporation,
formerly known as CS Financing Corporation;
Capital Solutions Monthly Income Fund, LP,
formerly known as Hennessey Financial
Monthly Income Fund, LP; Transactional
Finance Fund Management, LLC;
Todd A. Duckson; and Owen Mark Williams,

                    Defendants.

________________________________________________________________________

Benjamin J. Hanauer, Esq., Eric M. Phillips, Esq., Marlene B. Key-Patterson, Esq., and
Daniel J. Hayes, Esq., US Securities and Exchange Commission, counsel for Plaintiff.

Scott R. Carlson, Esq., DC Law Chartered, counsel for Defendants Capital Solutions
Monthly Income Fund, LP, formerly known as Hennessey Financial Monthly Income
Fund, LP, and Transactional Finance Fund Management, LLC.

Lawrence J. Field, Esq., and Bryant D. Tchida, Esq., Leonard Street and Deinard, PA,
counsel for Defendant Todd A. Duckson.
________________________________________________________________________


      This matter came before the Court for a pretrial hearing on September 3, 2013.

Consistent with, and in addition to the Court’s rulings and remarks from the bench, and

based upon the memoranda, pleadings, and arguments of counsel, and the Court having
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reviewed the contents of the file in this matter and being otherwise duly advised in the

premises, the Court hereby enters the following:

                                         ORDER

       1.     Plaintiff Securities and Exchange Commission’s Motion in Limine No. 1 to

Preclude Evidence and Argument Concerning Truth on the Market Defense (Doc.

No. [220]) is GRANTED IN PART and DENIED IN PART as follows:

              a.     Assuming that proper foundation is laid by Defendants, to the

       extent the proffered evidence through brokers and investors relates

       primarily to the issue of reliance, such evidence is presumptively

       inadmissible pursuant to the Court’s Article 4 analysis.

              b.     However, to the extent that proper foundation is laid and the

       evidence relates to what Mr. Duckson told the brokers and investors, the

       evidence shall be presumptively admissible, assuming that it is not

       otherwise excluded based upon when the information was relayed by

       Mr. Duckson to a broker or investor, the nature of the information, or how

       it was communicated. This decision of the Court assumes that part of the

       foundation will entail Mr. Duckson taking the witness stand first, before

       such testimony is elicited from a broker or investor. This decision of the

       Court is made pursuant to Rule 104 and Article 4 of the Federal Rules of

       Evidence.




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      2.     Plaintiff Securities and Exchange Commission’s Motion in Limine No. 2 to

Preclude Speculative and Hindsight Testimony About Whether Defendants’ Statements

Were Misleading (Doc. No. [224]) is GRANTED IN PART and DENIED IN PART as

follows:

             a.     The Court concludes that to the extent the evidence focuses

      on hindsight testimony or hindsight evaluation looking back at what

      occurred at the relevant times in question, such testimony shall be

      presumptively inadmissible pursuant to the Court’s Article 4 analysis,

      absent further order of the Court.

             b.     However, assuming that proper foundation is established,

      including whether a particular witness has read any document in question

      or recalls a conversation at the time and place in question, to the extent that

      a witness has a lay opinion, pursuant to Rule 701, of any statements read or

      represented to him or her, such testimony will be presumptively admissible

      pursuant to Article 4.

      3.     Plaintiff Securities and Exchange Commission’s Motion in Limine No. 3 to

Preclude Hearsay and Character Evidence Concerning Defendant Todd Duckson (Doc.

No. [229]) is GRANTED IN PART and DENIED IN PART as follows:

             a.     To the extent that proper foundation is laid, including

      Mr. Duckson testifying prior to any witness who allegedly participated in

      the drafting process for the documents at issue, the evidence will be



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      presumptively admissible, provided that it otherwise meets the Court’s

      Article 4 analysis and is not otherwise excluded as hearsay evidence.

             b.     The Court, however, cautions the parties that this ruling is

      predicated on the presumption that before any such testimony is elicited,

      Mr. Duckson will have taken the witness stand and testified, with or

      without objection, to specifically what he said or did. The Court further

      notes that, on the record presently before the Court, it is doubtful that

      adequate foundation will be established in such a manner or that such

      testimony will constitute habit evidence, pursuant to Rule 406.

      Importantly, even if such evidence could qualify as an exception to the

      hearsay rule under Rule 803(3), absent Mr. Duckson testifying first to the

      specifics of anything he said as to time, place, and contact, the evidence

      may well be inadmissible under Rule 102 and Article 4.

      4.     Plaintiff Securities and Exchange Commission’s Motion in Limine No. 4 to

Preclude Evidence and Argument Concerning the Cause of the Demise of the Capital

Solutions Monthly Income Fund or Investor Losses (Doc. No. [234]) is GRANTED as

follows:

             a.     The Court concludes that such evidence is presumptively

      inadmissible pursuant to its Article 4 analysis.




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             b.     Absent further order of the Court or an additional offer of

      proof, the Court concludes that such evidence has no direct or probative

      relationship to the issues to be presented to the jury.

      5.     Plaintiff Securities and Exchange Commission’s Motion in Limine No. 5 to

Exclude Testimony of Kenneth McGraw (Doc. No. [239]) is DENIED AS MOOT as

Defendants have indicated that they do not intend to call Mr. McGraw at trial.

      6.     Plaintiff Securities and Exchange Commission’s Motion in Limine No. 6 to

Preclude Evidence and Argument Regarding the Supposed Wealth, Sophistication, and

Lack of Diligence of Investors (Doc. No. [273]) is GRANTED IN PART and DENIED

IN PART as follows:

             a.     To the extent that the offered evidence regarding the investors

      relates to lack of diligence, such evidence does not survive a Rule 403

      analysis (with one exception which the Court will discuss below) and is

      therefore presumptively inadmissible absent further order of the Court.

             b.     To the extent that proper foundation is laid and the offered

      testimony goes to the limited issue of materiality as it relates to what

      Mr. Duckson informed the parties and why, including the issue of a

      particular investor’s presumed or asserted sophistication and wealth, such

      evidence will be presumptively admissible, provided that it otherwise

      survives the Court’s Article 4 analysis.




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      7.     Plaintiff Securities and Exchange Commission’s Motion in Limine No. 7 to

Preclude Evidence and Argument Regarding Supposed Property Values (Doc. No. [278])

is GRANTED as follows:

             a.      Evidence of asserted property values shall be presumptively

      inadmissible, unless and until there is an additional offer of proof pursuant

      to Rule 104 establishing sufficient foundation for who made the appraisals,

      at whose direction, the timing of the appraisals, when they were received,

      and how they were used. If and when the Court receives an additional offer

      of proof and any exhibits related to that offer of proof, the Court reserves

      the right to revisit the issue, whether prior to opening statements or later in

      the trial, if necessary.

             b.      Absent further ruling by the Court, there shall be no reference

      to property values in the opening statements of either Plaintiff or

      Defendants.

      8.     Plaintiff Securities and Exchange Commission’s Motion in Limine No. 8

Pursuant to Federal Rule of Evidence 611 (Doc. No. [283]) is GRANTED as follows:

             a.      Absent further order of the Court, Plaintiff will be permitted

      to ask leading questions of witnesses Jon Essen and Timothy Redpath. The

      Court reserves the right to hear any additional argument from defense

      counsel with respect to the Court’s ruling in the event Defendants can

      establish that Mr. Essen or Mr. Redpath entered into any agreement with



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      Plaintiff (as part of the settlement of the claims against them in the case or

      any other matter) to testify in a particular manner.

             b.     Absent further order of the Court, Defendants will not be

      permitted to ask leading questions of either Jon Essen or Timothy Redpath.

      The Court reserves the right to change its ruling in the event it is

      established (by way of proper foundation), pursuant to Rule 611, that

      Mr. Essen and Mr. Redpath are truly adverse to Mr. Duckson and not the

      SEC.

      9.     Plaintiff Securities and Exchange Commission’s Motion in Limine No. 9 to

Preclude Evidence and Argument Regarding Plaintiff’s Charging Decision (Doc.

No. [287]) is GRANTED as follows:

             a.     Absent further order of the Court, evidence as to Plaintiff’s

      so-called charging decision shall be presumptively inadmissible.

             b.     The evidence does not survive the Court’s Rule 104 and

      Rule 403 analysis.

      10.    Plaintiff Securities and Exchange Commission’s Motion in Limine No. 10

to Allow the Introduction of Portions of the Deposition of Jeffrey Gardner From a

Related Case (Doc. No. [244]) is GRANTED as follows:

             a.     To the extent Plaintiff seeks to introduce at trial deposition

      testimony of Jeffrey Gardner from the First Commercial Bank case, the




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       motion is GRANTED, provided that Plaintiff properly designates the

       portions of Mr. Gardner’s testimony it intends to introduce.

               b.      Plaintiff and Defendants shall meet and confer to establish a

       mutually agreeable schedule for any designations and counter-designations.

       11.     Plaintiff Securities and Exchange Commission’s Motion in Limine No. 11

to Preclude the Defendants From Calling the SEC’s Accounting Expert as a Witness at

Trial (Doc. No. [249]) is DENIED as follows:

               a.      The motion is DENIED to the extent Plaintiff seeks to

       prevent Defendants from calling Plaintiff’s accounting expert, Gil Miller, to

       testify at trial.

               b.      The Court reserves the right to limit the scope of Defendants’

       examination of Mr. Miller at trial, if necessary.

       12.     Plaintiff Securities and Exchange Commission’s Motion in Limine No. 12

to Preclude Defendant Todd Duckson From calling His Law Partner and Co-Defendants’

Attorney Scott Carlson as a Witness at Trial, or in the Alternative, to Disqualify Carlson

From Representing Any Parties at Trial (Doc. No. [254]) is GRANTED IN PART and

DENIED IN PART as follows:

               a.      To the extent Plaintiff seeks to have Scott Carlson

       disqualified from representing any party at trial, the motion is GRANTED.




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             b.       To the extent Plaintiff seeks to prohibit Scott Carlson from

      testifying at trial, the motion is DENIED, provided that Mr. Carlson is

      made available for deposition prior to trial.

             c.       To the extent Plaintiff seeks to depose Scott Carlson prior to

      trial, the motion is GRANTED. Defendants have indicated that they are

      willing to provide Mr. Carlson for deposition prior to trial. Plaintiff and

      Defendants shall meet and confer and decide upon a mutually convenient

      time to conduct the deposition, prior to trial.

      13.    Plaintiff Securities and Exchange Commission’s Motion in Limine No. 13

to Exclude Reference to Bernard Madoff or Other Unrelated SEC Cases or Investigations

(Doc. No. [293]) is GRANTED as follows:

             a.       The parties shall not make reference to Bernard Madoff.

      Such statements shall be presumptively inadmissible.

             b.       References to other SEC litigation shall be presumptively

      inadmissible.

             c.       The Court will reserve ruling on any issues that arise during

      trial regarding any reference to other SEC litigation. In the event either

      party feels that the other has “opened the door” during trial, or that such

      references to any other litigation should be admissible, counsel must

      approach the Court outside the presence of the jury.




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       14.    With respect to the issue of bifurcation, the Court rules that the liability and

remedy phases of the trial of this matter shall be BIFURCATED. The liability phase

shall be conducted prior to, and separate from, the remedy phase.

       15.    With respect to the testimony of other witnesses by way of deposition, the

Court issues the following ruling:

              a.     To the extent Plaintiff has requested to introduce the

       deposition testimony of witnesses David Woodard, Andrew Regalia, and

       Gary Sidder at trial, that request is DENIED.

              b.     While witnesses who are located more than 100 miles away

       are considered “unavailable” pursuant to Rule 32(a)(4)(B) of the Federal

       Rules of Civil Procedure, the Court finds that the nation-wide subpoena

       power under the Dodd-Frank Act, and the requirements of Rule 804 of the

       Federal Rules of Evidence, necessitate that Plaintiff make a concerted effort

       to procure the live testimony of David Woodard, Andrew Regalia, and

       Gary Sidder at trial. See 15 U.S.C. § 77v(a); Fed. R. Evid. 804(a)(5).

              c.     The Court reserves the right to revise its ruling in the event

       Plaintiff is unable to procure the appearance at trial of David Woodard,

       Andrew Regalia, or Gary Sidder by subpoena or other reasonable means.




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       16.    With respect to business records offered by Defendants pursuant to

Rule 902(11), the Court will address any issues arising from such exhibits at such a time

as may be practicable during the trial.


Dated: September 6, 2013                  s/Donovan W. Frank
                                          DONOVAN W. FRANK
                                          United States District Judge




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                                                                  was good at her job and the Schwulst lab was productive
                     2020 WL 7641293                              while she worked there, though Dr. Schwulst was away
United States District Court, N.D. Illinois, Eastern Division.    from the lab for two weeks per month due to his clinic
                                                                  responsibilities at Northwestern University Hospital. See
            Diane M. TRAHANAS, Plaintiff,                         SOMF ¶¶ 20, 37; Pl.’s Statement Add'l Undisputed Material
                           v.                                     Facts (“PSAF”) ¶ 1, ECF No. 108-2. While Trahanas worked
          NORTHWESTERN UNIVERSITY and                             at Northwestern she co-authored four research papers with Dr.
                                                                  Schwulst and she twice traveled out of state to attend national
          Steven J. Schwulst, M.D., Defendants.
                                                                  scientific conferences with him. SOMF ¶ 20. At one of those
                       No. 15 C 11192                             conferences, she presented a poster describing the Schwulst
                              |                                   lab's research. Id.
                      Signed 12/23/2020

                                                                  B. An Uncomfortable Laboratory Environment
                                                                  Trahanas and Dr. Schwulst worked closely together
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                                                                  throughout her employment at Northwestern. Trahanas
John J. Tharp, Jr., United States District Judge                  admits that, at times, she and Dr. Schwulst got along “very
                                                                  nicely” and joked together. SOMF ¶ 26. However, Trahanas
 *1 In her second amended complaint, plaintiff Diane              alleges that beginning in the fall of 2012, just a few months
Trahanas brings claims for a Title VII hostile work               after her employment began, Dr. Schwulst started making
environment; retaliation under the Family and Medical Leave       different “verbally abusive” and “demeaning” comments
Act and the Americans with Disabilities Act; defamation; and      that negatively impacted her work environment. Pl.’s Resp.
intentional infliction of emotional distress against defendants   SOMF ¶ 27, ECF No. 108-1. Trahanas alleges that Dr.
Northwestern University and Steven J. Schwulst, M.D.              Schwulst would refer to her as a “typical millennial” and
Before the Court is the defendants’ motions for summary           “Princess Diana” in situations where he wanted to illustrate a
judgment and to exclude Professor Benjamin Clarke as a            mistake she made or to dismiss requests for guidance in her
rebuttal expert witness. For the reasons set forth below, the     work. SOMF ¶ 27, Pl.’s Resp. SOMF ¶ 27. Other comments
defendants’ motion to exclude is granted, and defendants’         were gender-based. On one occasion, Dr. Schwulst allegedly
motion for summary judgment is granted in part and denied         asked Trahanas why she did not dress like Rana Saber, Dr.
in part.                                                          Perlman's lab manager, at work; Trahanas contends that Saber
                                                                  wore “stilettos, short shorts and low tops” in the lab. SOMF
                                                                  ¶ 32. Trahanas also claims that Dr. Schwulst often made
                                                                  comments like “after 28, women lose their sparkle,” and that
                      BACKGROUND
                                                                  he “chided” her on several occasions leading up to her twenty-
A. Trahanas Is Hired into the Schwulst Laboratory                 eighth birthday that “[her] sparkle is beginning to fade.” Pl.’s
On June 11, 2012, Diane Trahanas started as a Research            Resp. SOMF ¶¶ 27, 33.
Technologist II in the laboratory of Dr. Steven Schwulst, an
Assistant Professor of Surgery in the Department of Surgery,       *2 But the most egregious, and most frequent, topic of
Trauma and Critical Care at Northwestern University's             Dr. Schwulst's comments was Trahanas's perceived sexual
Feinberg School of Medicine. Defs.’ Statement of Undisputed       orientation. Trahanas is a straight woman and Dr. Schwulst
Material Facts (“SOMF”) ¶¶ 10, 3-4, ECF No. 104. Dr.              was aware that Trahanas dated men while she worked for him.
Schwulst's scientific research focused on traumatic brain         SOMF ¶ 5, 25. However, Trahanas alleges that in October
injuries. SOMF ¶ 12. As Dr. Schwulst's only research tech,        2012, in the course of a conversation about Trahanas's
Trahanas had responsibilities ranging from more ministerial       workout routine, Dr. Schwulst commented that women who
tasks like purchasing mice for experiments to technical,          exercise too much look “manly” and “butch” and that they
research-oriented tasks such as inflicting mice with brain        are lesbians. SOMF ¶ 28. He also asked, “You're a lesbian,
injuries, euthanizing them, and collecting and analyzing the      Diane, aren't you, right? You're a lesbian.” Id. After that initial
mice's blood and tissue, and assisting with the preparation of    conversation, Trahanas claims that Dr. Schwulst referred to
research papers for publication. SOMF ¶¶ 17, 15. Trahanas         her either as a lesbian or as a “softball player”—a euphemism
                                                                  for lesbian—“regular[ly] and frequently” during the weeks


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that Dr. Schwulst was actually present in the lab. SOMF ¶ 29,     department; she claims she chose not to because she feared
Pl.’s Resp. SOMF ¶ 29. Trahanas identifies two conversations      he would retaliate. SOMF ¶ 28; Pl.’s Resp. SOMF ¶ 34.
that also involved similar comments: one conversation in          Nor did Trahanas make a complaint about Saber's harassing
May or June of 2014 where Dr. Schwulst remarked that              conduct to any of her supervisors, SOMF ¶ 35, or escalate her
it would “make his life easier if his daughter grew up to         concerns about the alleged sabotage of her lab work beyond
be a lesbian like [Trahanas],” and a second conversation in       Dr. Perlman or Dr. Schwulst. SOMF ¶ 24.
December 2014, where Dr. Schwulst told Trahanas that he
was considering buying his wife a charm bracelet, and that
if Trahanas were to wear one, it would “have a mitt, a ball       C. Conflict Over Trahanas's Pay Raise and Promotion
and a bat on it because that's what softball players would do.”   Despite her allegations about the lab environment, by
SOMF ¶ 30.                                                        the spring of 2014, Trahanas had a strong work record
                                                                  at Northwestern: in both 2013 and 2014, Dr. Schwulst
Trahanas also contends that co-worker harassment                  rated her performance as “Highly Effective,” and in 2014,
contributed to the disrespectful work environment. Dr.            he complimented her progress in learning the different
Schwulst's bench space was located in a laboratory shared         laboratory equipment and indicated that she “should be
with two other research scientists at the University, Dr.         considered for a performance based raise.” SOMF ¶ 41. In
Perlman and Dr. Stehlik. SOMF ¶ 13. As a result, Trahanas         March 2014, Trahanas met with Dr. Schwulst to discuss her
often interacted with members of the Perlman and Stehlik          pay and performance, and expressed her desire to be retitled
labs. One employee in particular, Rana Saber, is the chief        and for a pay increase. Id. Later that day, Dr. Schwulst emailed
source of her complaints; Trahanas claims that Saber would        former Department Manager of Professional Affairs, Nicole
blame her “if something went wrong in the lab”; remarked          Buikema, stating that he and Trahanas had discussed a pay
that it was the “blind...leading the blind” when Trahanas         increase and potential retitling of her position and asking how
showed other lab colleagues how to do something; asked            to begin that process. SOMF ¶ 39. Buikema told him that
Trahanas if she was “going to play softball” ten to fifteen       he could propose that Trahanas receive a pay increase in her
times; and called Trahanas a lesbian “a few” times in front of    2013 performance review; that any pay increase would be
their lab coworkers. SOMF ¶ 35. Trahanas also cites one email     effective at the beginning of the next fiscal year, September
where Saber blames Trahanas for lab equipment being left on       1, 2014; and that retitling was done through a different
overnight. Pl.’s Resp. SOMF ¶ 35. Finally, Trahanas believes      process and required approval through the HR compensation
that Saber and Alexander Misharin, another member of the          team. Id. Trahanas was included on these emails. Id. In
Perlman lab, intentionally sabotaged Trahanas's research for      June 2014, Trahanas inquired directly with the Department
over six months by providing her with an outdated protocol        of Surgery Financial Manager, Rachel Rufer, for an update
for cell analysis. SOMF ¶ 21. Trahanas realized she had           on the potential retitling of her position. SOMF ¶ 42. Rufer
received an outdated protocol during a Perlman lab meeting;       responded that it was “something that is in the works for
after the discovery, Dr. Perlman instructed lab members to        the new fiscal year which starts September 1,” id., which,
ensure Trahanas had the more up-to-date version. SOMF ¶ 23        according to Trahanas, led her to believe that her promotion
                                                                  was a sure thing. Pl.’s Resp. SOMF ¶ 42.
The extent to which relevant individuals in the University or
in the Department administration at Feinberg were aware of         *3 In August 2014, Dr. Schwulst and Heather Burke, an
this conduct is contested. None of their lab colleagues were      HR employee, exchanged emails about Trahanas's merit pay
present at the initial conversation about Trahanas's sexual       increase and potential promotion. On August 13, Burke
orientation in October 2012, SOMF ¶ 28, but Trahanas claims       sent Dr. Schwulst the Research Technologist II and III job
that Dr. Schwulst would use the word “lesbian” or “softball       descriptions for his review, and asked him to ensure Trahanas
player” to refer to Trahanas in front of her co-workers on        was doing an appropriate level of work at the Research
a regular basis. SOMF ¶ 29. In response to Dr. Schwulst's         Technologist III level. Burke cautioned that “[i]f she is not
remarks, Trahanas would “turn away from Dr. Schwulst, try         doing this level of work, than [sic] a promotion to the higher
to deflect the comment, act as if she did not hear it, or make    title may not be appropriate at this time.” Id. Burke followed
an uncomfortable face.” Pl.’s Resp. SOMF ¶ 27. But Trahanas       up with Dr. Schwulst on August 20 and September 2. On
did not report Dr. Schwulst's comments about her sexual           September 2, Dr. Schwulst responded that he had reviewed
orientation to anyone in the University's Human Resources         the job descriptions and concluded that “Diane is really
                                                                  inbetween [sic] tech 2 and 3,” but that “[i]f possible I would


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like to make her a tech 3 at the minimum salary of 20.5.”                      it will bring my research effort to a
SOMF Ex. C, Dep. Ex. 247. Based on his response, Burke                         screeching halt. I need to get her a
recommended leaving Trahanas as a Research Tech II and                         higher hourly wage. We need to find a
“work[ing] to promotion next year.” Id.                                        way around this. Please advise.

At some point in September, Trahanas received her annual
salary letter, notifying her that she remained in the Research    PSAF Tab E, Ex. 54. Burke reiterated that this would
Technologist II position and that she had received a 3% merit     be considered an off-cycle budget request, but indicated
pay increase. SOMF ¶ 43. Shortly after receiving the letter,      a competing job offer might help Trahanas's case. Id. On
Trahanas emailed Krissy Dulek, the Research Administration        December 16, Dr. Schwulst emailed Trahanas and asked her
Manager in the Department of Surgery, because she believed        to start compiling the required information for an off-cycle
the letter was incorrect, as it did not reflect a retitling.      request while he was on service at the hospital. PSAF Tab
Id. Trahanas wrote that the letter “is not reflective of the      E, Ex. 58. Trahanas expressed confusion that her promotion
promotion Dr. Schwulst issued me back in March”; that             would be considered “off-cycle,” writing to Daina Fernandez
“[w]ith 2 Bachelors Degrees and a Masters Degree the              that “[t]his is something that was during the fiscal year cycle”
increase is supposed to be at the very minimum mirroring my       and that she was “not understanding why Dr. Schwulst needs
Research Tech 2 midline pay” and that she had been “fulfilling    to submit all this unnecessary paperwork, for something that
[her] Research Tech 3 responsibilities since March” but           was submitted and agreed upon back in March.” Id.
“[had] yet to see the reflected title and pay change.” PSAF
Tab E, Ex. 48B.                                                   After the new year, Trahanas reached out repeatedly to
                                                                  HR Compensation personnel for further updates about the
Dulek notified Heather Burke of the issue, and on September       promotion. She emailed Fernandez again on January 7 and
24, Burke informed Dr. Schwulst that Trahanas had been            January 13, writing on January 13, 2015, that she felt like she
advised to contact him directly with her concerns, but that       was “being misinformed purposely by the department,” and
the letter “reflects the 3% merit increase that was originally    that she was not being properly compensated for her level of
submitted” and kept Trahanas at the Research Tech II level, as    work and credentials. PSAF Tab E, Ex. 60. Her messages were
agreed. PSAF Tab E, Ex. 49. Dr. Schwulst responded almost         relayed to Burke, who notified Dr. Schwulst that Trahanas had
immediately, writing, “I hate to do this, but I can't afford to   been contacting HR Compensation directly, and advised him
lose Diane right now. Can we make her an RT3 at $21/hr.           that it “isn't appropriate for the employee to be making this
This should placate things for the time being.” Id. Burke told    request directly, rather the employee's supervisor/manager
Dr. Schwulst that the Dean's Office would not approve an          should be submitting the request.” PSAF Tab E, Ex. 62. Dr.
off-cycle retitling or pay increase because Trahanas's position   Schwulst forwarded Burke's email to Trahanas on January 13
was unfunded, and asked him to communicate that update to         and wrote: “I don't know what you've been doing but you need
Trahanas, as she had reached out to HR personnel again about      to stop. There is a specific protocol to get this done. We will
the issue sometime in late September. PSAF Tab E, Ex. 50.         talk on Friday when I am back from paternity leave.” Id.

On December 11, 2014, Dr. Schwulst again reached out to            *4 On January 14, 2015, Dr. Schwulst emailed Trahanas
Heather Burke and other Department administrators, writing:       informing her that they would “be conducting a mid-year
                                                                  performance review” in his office the next morning, January
                                                                  15. She emailed back to let him know that she was having
            I have a problem. Diane, my research                  car issues and, as a result, was “unsure” if she would be able
            technician, is really unhappy with her                to make the meeting. PSAF Tab E, Ex. 274. He responded
            compensation and is actively looking                  that he needed to go over the review with her the next day
            for and has received an offer for                     before he met with his department HR business managers,
            alternate employment. Other than her                  that he wanted to speak in person, and asked her to “make
            compensation, she is happy with the                   every effort” to be in his office the next morning. PSAF Tab
            work and the work environment. I                      E, Ex. 276. After she confirmed that night that she would
            cannot afford to have Diane leave                     not be able to meet in person, he reminded her that the
            right now for a higher paying job,                    performance review “was set up by the events [she] set in



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motion,” and that he was “extremely disappointed” in her            applicants. SOMF ¶ 71. She also struggled in several of her
lack of professionalism. PSAF Tab E, Ex. 278. He also told          science courses in her undergraduate degree, and her GPA
Trahanas that her “unapproved time away from the lab” had           fell in the 3.0-3.19 band. Id. Only 4% of applicants from
damaged his research mission, that she had exhausted her paid       Trahanas's demographic with comparable MCAT scores and
time off for the year, and that he felt that “the leeway” he        undergraduate GPAs were accepted to medical school for
had given her to set up her work schedule had been abused.          matriculation in 2015. SOMF ¶ 71.
Id. Dr. Schwulst and Trahanas did later meet to review the
performance evaluation; the meeting was contentious, and            Trahanas applied to fifteen medical schools for 2015
Trahanas became upset and cried in Dr. Schwulst's office. Pl.’s     matriculation; she was accepted to none. SOMF ¶ 88. Of
Resp. SOMF ¶ 46. The raise was approved, however, and on            those fifteen, nine rejected her application or declined to
February 4, 2015, Trahanas was notified that her pay would          invite her to continue in the application cycle prior to
increase by 15% retroactive to January 2015. SOMF ¶ 47.             February 19, 2015. SOMF ¶ 89. The six remaining schools
                                                                    invited Trahanas to submit secondary application materials,
                                                                    but she failed to do so by the schools’ respective deadlines.
D. Trahanas's Medical School Applications                           The subpoenaed records from five of those schools clearly
Trahanas wanted to attend medical school, and Dr. Schwulst          indicate they considered Trahanas to have withdrawn her
knew that Trahanas was applying to medical school while             application prior to February 19, 2015. SOMF ¶ 90 (Florida
she worked in his lab. In June 2014, for example, Trahanas          International University, Geisinger Commonwealth School of
requested to use vacation time to study for the September           Medicine, University of Miami, Washington University, and
2014 MCAT administration. SOMF ¶ 68. And in the fall                University of South Carolina). The remaining school, Florida
of 2014, Trahanas asked Dr. Schwulst to write a letter of           Atlantic University, invited Trahanas to submit her secondary
recommendation in support of her application. SOMF ¶                materials on December 15, 2014; there are no entries in the
69. In October 2014, he submitted a highly positive letter          school's internal application log between December 18, 2014,
on her behalf. Id. Trahanas also received positive letters          when the school received a letter of recommendation, and
of recommendation from Dr. Perlman and from Dr. Debra               April 1, 2015, the entry for which reads “Withdrew Before
Goldstein, M.D., another Northwestern professor. SOMF ¶             Accepted.” SOMF ¶ 90.
70.
                                                                     *5 Trahanas applied to eleven schools for matriculation
Medical school applications have various components,                in 2018. SOMF ¶ 91. She only reapplied to four of the
including the application itself, an MCAT score, grades, a          schools from the 2014 application cycle, and she was not
personal statement, and letters of recommendation. SOMF ¶           accepted to any of those schools. Id. According to the
87. Application materials are submitted through the American        defendants’ expert, Jorge Girotti, AMCAS does not retain
Medical College Application Service (“AMCAS”), a third-             letters of recommendation from previous application cycles,
party service that collects and distributes applicants’ materials   and medical schools only consider letters from the application
to the medical schools. SOMF ¶ 65. The application cycle            cycle in which they were written. SOMF ¶ 91. Trahanas
generally has two stages: an initial screening and a secondary      disputes this, and contends that each medical school can retain
stage. SOMF ¶ 87. If an applicant does not meet preliminary         and consider letters from previous cycles. Pl.’s Resp. SOMF
admission criteria (such as a minimum GPA or MCAT                   ¶ 91.
score), the school may issue a “preliminary rejection” without
requesting additional materials. Id. If an applicant meets
those preliminary criteria, however, a school may invite            E. Trahanas's FMLA Leave
the applicant to submit a secondary application; after those        Trahanas was diagnosed with depression, anxiety, and ADHD
materials are submitted, an applicant may be selected to            in 2007. SOMF ¶ 48. She took medication for these conditions
interview. Id. Secondary materials are generally due in             prior to, and throughout, her employment at Northwestern,
December or January of the application cycle. SOMF ¶ 90.            and she was treated by a psychiatrist, Dr. Deborah Cano, on a
                                                                    monthly basis from March 2013 until December 2016. SOMF
On paper, Trahanas was not a particularly strong candidate for      ¶¶ 48-50; SOMF Ex. B.2. Trahanas shared her diagnoses with
medical school. She has taken the MCAT seven times, SOMF            Dr. Schwulst in October 2012. SOMF ¶ 49.
¶ 67, and, in the 2014 cycle, applied with a composite MCAT
score of 21, which put her in the 24th to 27th percentile of


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Trahanas's depressive and anxiety-related symptoms                Resources while she was out of the lab. SOMF ¶ 56. That
worsened in the months leading up to February 2015. On            day, Dr. Cano faxed an “attending physician's statement
January 16, 2015, Dr. Cano noted that Trahanas reported that      of disability” for mental health claims to the University's
her depressive symptoms had all increased since previous          third-party leave administrator. SOMF Ex. E.2. She cited
visits and were “severe.” SOMF Ex. B.2. Trahanas reported         Trahanas's recurrent major depressive and anxiety disorders,
daily panic attacks, symptoms including decreased frustration     writing that Trahanas's persistent symptoms were “affecting
tolerance and irritability, and cited “multiple stressors,”       her ability to function at work, at home, [and] socially” and
mentioning that she was dealing with “[i]ncreased job stress,”    impacting her “ability to deal with any level of stress,” and
and that her “boss [was] not being supportive.” In her            that the expected duration of Trahanas's limitations was one
January 27, 2015, visit with Dr. Cano, Trahanas reported          to three months. Id. She also noted that Trahanas's condition
that though her symptoms had minimally improved, she              was not related to her work environment. Id. The University
was still having weekly panic attacks and experiencing            approved Trahanas to take a full twelve weeks of FMLA
other symptoms including lack of motivation, avoidant             leave, through May 10, 2015. SOMF ¶¶ 54, 57.
tendencies, and feelings of being overwhelmed, hopelessness,
and worthlessness. She again noted “persistent job stress.” Id.
                                                                  F. Dr. Schwulst's Rescission, and Reinstatement, of his
By February 11, 2015, Trahanas's symptoms had somewhat            Recommendation Letter
eased. She reported that both her depression- and anxiety-         *6 After Dr. Schwulst learned that Trahanas was taking
related symptoms had “mildly improved.” Her mood was              medical leave, he contacted Heather Burke and asked her
good, and she planned to try out for the Chicago Red Stars, a     to get certain information from Trahanas that he needed to
professional women's soccer team, on February 12. She again       keep the lab running smoothly while she was out, such as
reported “[p]ersistent job stress,” but told Dr. Cano that she    the lab computer password, the location of certain controlled
was “taking time off from [her] job starting next Mon, Feb        substances, and the location of the mice cages in the
16.” Id.                                                          “mouse house.” SOMF ¶ 77; Pl.’s Resp. SOMF ¶ 77. Burke
                                                                  contacted Trahanas's work email requesting that information
Despite her worsening symptoms, Trahanas regularly                on February 18, and, after receiving no response, sent the
reported to work throughout January and the beginning of          same request to her personal email on February 19. SOMF ¶
February. And though by February 12 she had decided she           77. Trahanas responded on February 20 and informed Burke
would take time off, Trahanas did not inform Dr. Schwulst         she had lost computer access. PSAF Tab E, Ex. 299.
or the University of her intentions, and her lab research
proceeded as usual. SOMF ¶ [54]. On February 6, 2015, for         On February 19, however, while Dr. Schwulst was waiting for
example, Trahanas sent Dr. Schwulst an email that she had to      Trahanas's response, he located the mice cages on his own.
wait to start the next “clod experiment”—a process in which       SOMF ¶ 79. He claims that he saw notations on the cage
Trahanas injected the mice with clodronate to deplete their       cards that led him to believe Trahanas had injected the mice
white blood cells before applying an injury to the mice, in       with clodronate before her FMLA leave began. Id. However,
order to study how a compromised immune system would              there were no notations on the cage cards or in Trahanas's
react to a traumatic brain injury—because the lab's clodronate    laboratory notebook with the date and time that the clodronate
supply was insufficient for what she needed. SOMF ¶¶ 73, 75.      injections had been administered, id., and he claims he was
And on February 9, 2015, Trahanas told Dr. Schwulst that she      otherwise unable to discern where in the protocol the mice
planned to “do another 48 hour clod experiment next week,”        stood, especially as Trahanas had requested that he limit
SOMF ¶ 76—the week of February 16.                                communications with her. SOMF ¶ 80. Dr. Schwulst alleges
                                                                  that he consulted with Dr. Perlman about the issue, and
On February 16, Trahanas did not report to work. SOMF ¶           that Dr. Perlman recommended that he euthanize the mice.
55. She did not alert Dr. Schwulst that she was beginning         SOMF ¶ 81. He did so and, per protocol, removed the cage
a period of FMLA leave; instead, she texted him to let            cards and placed them in locked drop boxes for processing
him know that she was staying home sick for the day. Id.          and destruction by the University's Center for Comparative
Trahanas stayed home again on February 17 and, later in           Medicine. Id.
the day, told Dr. Schwulst through email that she was on
medical leave and would only communicate with Human               That same day, Dr. Schwulst uploaded a second letter to
                                                                  Trahanas's AMCAS account. SOMF ¶ 83. Misdated February


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9, 2015, the letter stated that Dr. Schwulst was “formally         physician, so that the University could determine if her leave
withdraw[ing] [his] prior letter of reference for [Trahanas]”      could be extended. Id. On June 15, 2015, Trahanas responded
and that he could “no longer support her candidacy for             and stated her doctor was “not allowing [her] to return to
admission to medical school.” Id. He alleges that he had           work at Northwestern University.” Id.; Pl.’s Resp. SOMF
a “huge ethical problem” with the fact that the lab mice           ¶ 60. On June 18, 2015, Trahanas received a letter from
“were not going to be used for their intended purpose”             Human Resources that stated her employment was terminated
and were “unnecessarily euthanized” because of Trahanas's          retroactive to May 15, 2015, as she had not returned to work
failure to document the clodronate injections. SOMF ¶ 82.          or reopened her leave claim with the third-party administrator.
Trahanas received an AMCAS notification that Dr. Schwulst          SOMF ¶ 63.
had uploaded a new letter to her applications, and on February
20, 2015, she emailed Daina Fernandez to inquire about the          *7 Trahanas filed for unemployment benefits, but her
letter's contents. SOMF ¶ 83.                                      application was denied. SOMF ¶ 62. She secured a return to
                                                                   work letter from Dr. Cano; it read “[Trahanas] was able to
At some point, Chris Scarpelli, the Administrator for the          return to work on May 25, 2015. I do not recommend she
Department of Surgery, contacted Dr. Schwulst about the            return to her previous job, as the high stress from the work
February 19, 2015, letter. SOMF ¶ 84. Scarpelli told Dr.           environment there would cause exacerbation of symptoms
Schwulst that he thought Dr. Schwulst's decision to withdraw       and likely lead to psychiatric decompensation.” Id. Trahanas
the original letter could be misconstrued, and instructed him      used the letter to contest the denial of unemployment benefits,
to “cease and desist” from taking further action relating to       but does not recall giving the letter to anybody in Human
Trahanas's medical school applications. Id. Scarpelli and Dr.      Resources. Id. She applied for other jobs within the University
Schwulst also agreed that Dr. Schwulst would retract the           and received one interview in another lab, but was ultimately
February 19, 2015 letter. Id. On February 26, Dr. Schwulst         unsuccessful. SOMF ¶ 64.
uploaded a new AMCAS letter that said his earlier letter had
been “entered in error,” and that he “[stood] by the evaluation    Trahanas filed her charge of discrimination with the
offered in the original letter of reference” he submitted in       Equal Employment Opportunity Commission on September
October 2014. SOMF ¶ 85.                                           24, 2015, alleging sex and disability discrimination and
                                                                   retaliation. SOMF ¶ 92. This lawsuit followed on December
On February 27, 2015, attorney Pamela Visvardis sent a             11, 2015.
letter to Dr. Schwulst on Trahanas's behalf, demanding that
he revoke and produce copies of the letters he uploaded
to AMCAS on February 19 and February 26, 2015. SOMF
                                                                                          DISCUSSION
¶ 86. The letter also stated that Trahanas had authorized
Visvardis to bring a suit for defamation, slander, and tortious    Two motions are before the Court: the defendants’ motion
interference with contract if he did not revoke and produce        to exclude the expert report and testimony of Professor
the letters. Id.                                                   Benjamin Clarke, offered by Trahanas as a rebuttal expert,
                                                                   and the defendants’ motion for summary judgment. The
                                                                   motion to exclude is addressed first to determine the extent
            G. Trahanas Does Not Return from                       of the record under review for the defendants’ motion for
              Leave and Files EEOC Charge                          summary judgment.

Trahanas's FMLA leave elapsed on May 10, 2015. SOMF
¶ 57. The University granted her an additional paid short-         I. Motion to Exclude Professor Benjamin Clarke's
term disability leave through May 24, 2015. Id. On June 8,         Expert Report and Testimony
2015, after her leave had expired, Trahanas instructed the         In November 2018, Trahanas disclosed Professor Benjamin
University's third-party leave administrator to close her short-   Clarke, an associate professor at the Duluth campus of
term disability claim. SOMF ¶ 60. On June 9, 2015, Trahanas        the University of Minnesota Medical School, as a rebuttal
received a letter from HR employee Victoria Sherb, which           witness to provide an opinion on “the fitness of Plaintiff for
stated that Trahanas was required to either inform Sherb that      enrollment in medical school and the impact of the actions
she intended to resign or submit documentation from her            and letter sent by Dr. Schwulst on Plaintiff's professional



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reputation and ability to enroll in medical school.” Defs.’ Mot.    graduate; he completed the academic requirements to earn
Exclude 1, ECF No. 113 (quoting Trahanas's Rule 26(a)(2)            a Ph.D. in biochemistry in 1986 at the University of Texas
(D)(ii) expert disclosure). Professor Clarke was deposed and        Medical Branch in Galveston. PSAF Tab O, Clarke Dep. Tr.
submitted an expert report, and Trahanas relies on two of his       13:20-15:13. Though his Ph.D. was awarded by a medical
opinion in her response in opposition to summary judgment:          school, he did not undergo a full medical school curriculum,
first, that “[g]iven a chance, Ms. Trahanas would succeed in        nor did he take the MCAT for admission to the program.
medical school if she found the appropriate medical school”;        Id. at 16:10-23. He has been a member of the faculty of
and second, that Dr. Schwulst's explanation for withdrawing         the University of Minnesota Medical School in Duluth since
his letter of recommendation is dubious, because a single           1994, and has been in a tenured position since 2000. PSAF
incident “does not provide reason to revoke a letter of             Tab P at 2. From 2012 through 2014, Clarke served as a
reference.” See PSAF Tab O, Clarke Dep., ECF No. 108-18;            member of the medical school's admissions committee. Id.
Tab P, Clarke CV and Report, ECF No. 108-19. His report             at 14. His service encompassed three admissions cycles.
also included the opinions that there were “extreme displays        Clarke Dep. Tr. 46:16-47:2. At the University of Minnesota,
of non-professional behavior that produced a hostile work           there are “two levels of review”: “an initial prescreener,”
environment for Ms Trahanas”; that, if Dr. Schwulst believed        which involves two faculty members going through the “15
there was an ethical breach, “[a]n appropriate response by a        or 1600-some-odd applications that may come in per year”
supervisor would have been to have a conversation with the          to triage applications and determine which are worthy of
employee” to counsel her on the issue; that Dr. Schwulst's          further consideration, and the interview stage. Tr. 47:7-17.
motivation in withdrawing the letter was “questionable”;            Clarke did not participate in the initial prescreening. Id.
and that the “impact of this action was direct and caused           After students were selected for an interview, Clarke and
considerable damage to Ms Trahanas's professional standing          other faculty committee members would “interview a portion
and presumably her wellbeing.” Defs.’ Mot. Exclude Ex. C.           of the students, review their admissions packets, see if
The defendants move to exclude Professor Clarke's report            they conformed to what [their] mission for [their] medical
and testimony as untimely and unreliable, pursuant to Federal       school is,” and meet and vote on admissions decisions as a
Rules of Civil Procedure 26 and 37(c) and Federal Rule of           committee. Tr. 47:16-48:3. Clarke personally reviewed about
Evidence 702. Defs.’ Mot. Exclude 1.                                forty-five candidates each cycle. Tr. 48:22-49:3.

The admissibility of expert opinion testimony is governed           None of this is enough to qualify him as an expert on the topic
by Federal Rule of Evidence 702 and by Daubert and its              of the medical school admissions process generally, much less
progeny. Callpod, Inc. v. GN Netcome, Inc., 703 F. Supp. 2d         the specific prospects for admission of a particular individual
815, 819-20 (N.D. Ill. 2010). Under Rule 702, “scientific,          or her likelihood of success as a medical school student. While
technical, or other specialized knowledge” is admissible            his educational background and experience at the University
through expert opinion testimony if it will “assist the trier of    of Minnesota may have familiarized him with certain aspects
fact to understand the evidence or to determine a fact in issue.”   of the medical school admissions process, Professor Clarke
Fed. R. Evid. 702. Daubert’s three-step admissibility analysis      himself admits that he “would not portray [him]self as an
that guides the application of Rule 702 first asks whether an       authority” on the theory of medical school admissions and
expert is qualified by “knowledge, skill, experience, training,     that his familiarity with the process is limited to his three-year
or education”; second, if the expert is qualified, whether          stint on the commission in Duluth. Tr. 42:10-17; 52:25-53:6.
the “reasoning or methodology underlying the testimony [is]         He has not published any peer-reviewed papers on the topic,
scientifically reliable”; and finally, if the expert is qualified   id., and he did not participate in Minnesota's prescreening
and their methodology is reliable, whether their testimony          process that narrows the field of applicants by about one-
is relevant to understanding the evidence or a fact in issue.       half or two-thirds based on different criteria, including MCAT
Callpod, Inc., 703 F. Supp. 2d at 820.                              scores and GPA. Tr. 53:16-54:15. Though he testified that
                                                                    he has had “well over a couple hundred students” pass
 *8 Professor Clarke's proffered opinion testimony fails on         through his training programs and that he has written letters
each of the three prongs of Daubert’s reliability analysis.         of recommendation for about half of them, Tr. 53:6-11, his
First, Professor Clarke's education and experience do not           insight into the admissions process itself is limited.
qualify him as an expert in the area of medical school
admissions. Clarke is neither a physician nor a medical school



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Second, Clarke's opinions as Trahanas's chance of success          credibility determinations and draw inferences from those
if she were admitted to medical school, the propriety or           determinations. See, e.g., Bogathy v. Union Pac. R.R., No.
credibility of Dr. Schwulst's explanation for the withdrawal       17 C 4290, 2020 WL 419406, at *5-6 (N.D. Ill. Jan. 24,
of his letter, and the impact that the withdrawal had              2010) (noting that expert witnesses are “not allowed to sort
on Trahanas's professional reputation are “little more             out possible conflicting testimony or to argue the implications
than h[is] personal opinion”; they are “not based on a             of those inconsistencies”; a “critical function of the jury” is
methodology that can be tested.” Farmer v. Ramsay, 159             assessing witness credibility, and “assisting the jury” cannot
F. Supp. 2d 873, 884 (D. Md. 2001) (excluding proffered            veer into “doing the jury's job for it”).
medical school admissions expert testimony from a former
member of Yale University School of Medicine's admissions          Because Professor Clarke's opinion does not meet the criteria
committee because expert “lack[ed] an extensive background         for admissibility under Daubert and Federal Rule of Evidence
in medical school admissions,” “reviewed a total of only           702, the Court need not, and does not, reach the issue of
five applications” in preparation for her testimony, her           whether he was timely disclosed or properly considered a
work “ha[d] not been subjected to any peer review,” and            “rebuttal” expert under Federal Rules of Civil Procedure 26
her opinions were “not based on a methodology that can             and 37(c). The defendants’ motion to exclude him as an expert
be tested”). In his testimony, Professor Clarke indicated          is granted; and Professor Clarke's testimony and expert report
that he had developed his opinions through reading Dr.             are not considered in resolving the defendants’ motion for
Schwulst's and Jorge Girotti's depositions and essentially         summary judgment.
making credibility determinations. For example, he disputed
Dr. Schwulst's justification for withdrawing his letter because,
in Professor Clarke's opinion, to do so would be to “plac[e]       II. Defendants’ Motion for Summary Judgment
a lot of emphasis on that particular incident at that particular   The defendants have moved for summary judgment on each
point in her life and transition” and “just because someone        of Trahanas's claims. Summary judgment is appropriate if the
makes a mistake doesn't make it unethical.” Tr. 90:19-91:23;       movant “shows that there is no genuine dispute as to any
see also Tr. 128:4-20 (“I'm not certain exactly why he             material fact and the movant is entitled to judgment as a matter
wanted to retract the letter. I understand there was an animal     of law.” Fed. R. Civ. P. 56(a). The court must view the record
issue involved on the table. I do not understand how that          and the inferences drawn from it in the light most favorable to
rises to the level of wanting to retract the letter...To me,       the non-moving party. Courtney v. Biosound, Inc., 42 F.3d 414
that doesn't rise to the significance. So that implies that        (7th Cir. 1994). However, if the nonmovant bears the burden
something else was driving it.”). He concluded that particular     of proof as to a particular element of her claim, “she may
behavior was “nonprofessional” based on his experience “as         not simply rest on the pleadings; rather, the nonmovant must
a professional who works in that environment, knowing how          affirmatively set forth specific facts that show that there is a
I would want to be treated and how I would like to have            genuine issue of material fact.” Randle v. LaSalle Telecomms.,
people around me treated” and as a supervisor and teacher          Inc., 876 F.2d 563, 567 (7th Cir. 1989). Rule 56(c) “mandates
for a graduate course. Tr. 81:18-82:14. There is, moreover, no     the entry of summary judgment...against a party who fails
apparent basis in either his deposition testimony or his written   to make a showing sufficient to establish the existence of
report for the opinion that Trahanas's professional reputation     an element essential to that party's case, and on which that
was irreparably damaged by Dr. Schwulst's withdrawal and           party will bear the burden of proof at trial”—“complete failure
reinstatement of his initial, positive letter. Because there are   of proof concerning an essential element of the nonmoving
no indicia of reliability in the methodology underpinning          party's case necessarily renders all other facts immaterial.”
Professor Clarke's opinions, they cannot be admitted under         Celotex Corp. v. Catrett, 477 U.S. 317, 321 (1986).
Rule 702.

                                                                   A. Title VII Hostile Work Environment
 *9 Finally, even if Professor Clarke was qualified and had
                                                                   Trahanas's first claim against Northwestern University is a
used reliable methods to form his opinions in this case,
                                                                   Title VII hostile work environment claim. To prevail on a Title
they are not helpful to a jury in determining an issue of
                                                                   VII claim, Trahanas must show that 1) her work environment
fact or interpreting evidence in the record. A juror does
                                                                   was both subjectively and objectively offensive; 2) that the
not need to be an expert in animal research protocols,
                                                                   harassment was based on her membership in a protected class;
ethics, or in the medical school admission process to make
                                                                   3) that the harassing conduct was severe or pervasive; and 4)


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that there is a basis for employer liability. Alexander v. Casino   protocol for flow cytometry; she claims that Saber and Dr.
Queen, Inc., 739 F.3d 972, 982 (7th Cir. 2014). Whether a           Misharin were not disciplined for the incident, though both
work environment is “hostile” depends on the totality of the        Dr. Perlman and Dr. Schwulst were made aware of it. SAC ¶¶
plaintiff's circumstances, taking into account factors such as      60-64; Pl.’s Resp. Opp'n 3.
“the frequency of the discriminatory conduct; its severity;
whether it is physically threatening or humiliating, or a mere      Most of the coworker harassment that Trahanas describes
offensive utterance; and whether it unreasonably interferes         cannot support a Title VII hostile work environment claim
with an employee's work performance.” Id. An employer's             against the University because her coworkers’ comments,
liability for harassment “may depend on the status of the           though perhaps rude and demeaning, were not predicated on
harasser.” Vance v. Ball State Univ., 570 U.S. 421, 424 (2013).     Trahanas's “race, color, religion, sex [or] national origin.” See
If the harasser is the victim's co-worker, there is a basis         42 U.S.C. § 2000e-2(a)(1); cf. Ford v. Marion Cty. Sheriff's
for employer liability only if the employer was “negligent          Office, 942 F.3d 839, 851-52 (a hostile work environment
in controlling working conditions.” Id. If the harasser is          on the basis of disability may be brought under the ADA). 2
a supervisor, however, “different rules apply.” Id. If the          Trahanas admits as much in her complaint, characterizing
supervisor's harassment culminates in a tangible employment         coworkers’ comments as harassment based on her depression,
action, the employer is strictly vicariously liable because         anxiety, and ADHD—not, as required for Title VII, on
“there is assurance the injury could not have been inflicted        her sex. See SAC ¶¶ 45, 53 (claiming she was subjected
absent the agency relation.” Id. at 429. If there is no tangible    to a hostile work environment “because of her disability,”
employment action, the employer will still be held vicariously      and describing “demeaning and harassing statements made
liable if it is unable to establish an affirmative defense. Id.     to Plaintiff about her physical and mental condition and
                                                                    impairment”). Saber's comments calling Trahanas a lesbian
 *10 To the extent that Trahanas's complaint and response in        or asking if she was going to play softball, by contrast,
opposition to summary judgment may be read as advancing             are gender-based. But Trahanas testified in her deposition
a Title VII claim predicated on co-worker harassment, 1 that        that Saber made these comments in front of coworkers, not
claim does not survive summary judgment. An employer is             in front of Dr. Schwulst or Dr. Perlman, SOMF ¶ 35, and
negligent in controlling working conditions—and therefore           that she did not report the comments to either supervisor or
liable for coworker harassment—if the employer had actual           to Human Resources. Id. Because an employer's “notice or
or constructive knowledge of the harassment but failed to           knowledge of the harassment is a prerequisite for liability,”
address the problem adequately. Knox v. Indiana, 93 F.3d            and Trahanas failed to present evidence showing that she gave
1327, 1334 (7th Cir. 1996). And, when a plaintiff claims she        “[Northwestern] enough information to make a reasonable
is suffering a hostile work environment due to the conduct          employer think there was some probability that [s]he was
of both coworkers and her supervisor, “all instances of             being...harassed,” summary judgment is appropriate. Bernier
harassment by all parties are relevant to proving that [her]        v. Morningstar, Inc., 495 F.3d 369, 373-74 (7th Cir. 2007).
environment is sufficiently severe or pervasive.” Mason v.
S. Ill. Univ. at Carbondale, 233 F.3d 1036, 1044-45 (7th             *11 Trahanas's main theory of Title VII liability, however, is
Cir. 2000). Trahanas at least gestures at this theory in her        predicated on Dr. Schwulst's conduct, and there is substantial
pleadings. For example, she alleges that, with Dr. Schwulst's       disagreement between the parties about the nature and extent
knowledge and encouragement, coworkers would criticize              of his harassing behavior. Trahanas alleges that Dr. Schwulst
her work and made comments like, “[s]top messing things             called her a lesbian (or made references to her being a
up,” “[y]ou're doing everything wrong and you have no idea          “softball player,” as a euphemism for lesbian), on a daily or
what you're doing,” and “[d]ude, take your meds.” SAC               near-daily basis during the weeks he was in the laboratory. 3
¶¶ 44-59, see also Pl.’s Resp. Opp'n 2-3 (noting comments           Trahanas also alleges that Dr. Schwulst told her it would
like “Diane is off her meds!” and “Diane needs psychiatric          “make his life easier if his daughter grew up to be a lesbian
help!”). Trahanas also claims that Rana Saber called her            like [her]” and, in a discussion about a gift for his wife in
a lesbian “a few times” and asked if Trahanas if she was            December 2014, said that if Trahanas wore a charm bracelet
“going to play softball” “ten, maybe fifteen” times in front of     it would “have a mitt, a ball and a bat on it because that's
coworkers from the lab. SOMF ¶ 35. Finally, Trahanas alleges        what softball players would do.” SOMF ¶ 30. She claims that
the single incident where she discovered that Rana Saber and        this started after a conversation about the “manliness” of her
Dr. Sasha Misharin had given her an incorrect and outdated          workout routines in October 2012 and continued for the rest


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of the time that she worked in Dr. Schwulst's lab. Trahanas         *12 The Faragher-Ellerth affirmative defense is available
alleges that Dr. Schwulst made these comments, at times, in        here because no tangible employment action was taken
front of her coworkers from the Perlman and Stehlik labs, and      against Trahanas. A tangible employment action is a
testified at her deposition that she indicated her discomfort      “significant change in employment status, such as hiring,
with those comments by falling silent when the topic came up,      firing, failing to promote, reassignment with significantly
making uncomfortable faces, and eventually by addressing it        different responsibilities, or a decision causing a significant
with Dr. Schwulst, stating “I'm not a softball player, I'm not a   change in benefits.” Vance, 570 U.S. at 431, citing Ellerth,
lesbian; I don't know why we keep going back to this.” SOMF        574 U.S. at 761. Trahanas was not hired, fired, or reassigned,
¶ 31.                                                              nor did she experience a significant change in benefits.
                                                                   See, e.g., SOMF ¶¶ 60-61, 63 (Trahanas's employment was
The defendants contest Trahanas's account, both as to the          terminated in June 2015, retroactive to May 2015, only after
frequency of the alleged comments and as to the impact             Trahanas informed University HR employee Victoria Sherb
that Dr. Schwulst's conduct had on Trahanas and the work           that she would not be returning to work at the University
environment more generally. They note that, at times,              at the end of her leave). And while Trahanas's requested
Trahanas and Dr. Schwulst had a friendly, even joking              promotion and pay increase caused a not-insignificant level
working relationship, and that Trahanas made significant           of strife in her and Dr. Schwulst's relationship, see SOMF
contributions to the lab's success during her time working         ¶ 46; Pl.’s Resp. SOMF ¶ 46 (Dr. Schwulst was angry that
there. They highlight that, during her deposition testimony,       Trahanas did not show for the mid-year performance review
Trahanas did not quantify the number of times that Dr.             required for an off-cycle pay increase, and raised his voice
Schwulst made inappropriate comments to her (though she            at Trahanas, causing her to cry), there is also significant
described it as “frequent”), and that she first alleged the        evidence in the record that Dr. Schwulst both inquired through
comments were made on a daily basis in an affidavit that she       the proper channels about retitling Trahanas's position and,
signed months after her deposition testimony. Defendants also      when unsuccessful, secured a substantial merit raise in the
argue that Trahanas herself made joking references to softball,    hopes of keeping her as his research technician. Id. at ¶¶ 39,
citing one email that Trahanas sent to her lab colleagues that     47 (noting that Dr. Schwulst emailed Nicole Buikema about
RSVP'd for herself and “+1....And no it's not my softball          the possibility of retitling Trahanas to a higher level on March
teammate – so u instigators don't bother with that guess. :)”      17, 2014, the day that Trahanas first raised the topic; that
and citing text messages where Trahanas used softball or           Heather Burke concluded that the bulk of Trahanas's work
baseball emojis in conversation with Dr. Schwulst. SOMF Ex.        was still consistent with the Research Tech II position; and
D at Ex. C, ECF No. 104-5.                                         that Dr. Schwulst was nonetheless able to secure an off-cycle
                                                                   pay increase of 15% on Trahanas's behalf). Because Trahanas
But these factual disputes are immaterial, because even if         has not alleged an action that caused “substantial detriment to
Dr. Schwulst's conduct was sufficiently frequent and severe        the plaintiff's employment relationship,” the University may
to constitute a “hostile work environment” under Title VII,        invoke the affirmative defense. Molnar v. Booth, 229 F.3d
Northwestern is entitled to summary judgment on this claim.        593, 600 (7th Cir. 2000).
In situations where supervisor harassment “culminates in a
tangible employment action,” the employer is strictly liable.      “While not required as a matter of law,...the existence of
Vance, 570 U.S. at 424. But where no tangible employment           an appropriate anti-harassment policy will often satisfy”
action is taken against the plaintiff, an employer may invoke      the first prong of the Faragher-Ellerth defense, given that
the Faragher-Ellerth affirmative defense, 4 if the employer        “Title VII is designed to encourage the creation of anti-
can demonstrate by a preponderance of the evidence that            harassment policies and effective grievance mechanisms.”
1) the employer exercised reasonable care to prevent and           Shaw v. AutoZone, Inc., 180 F.3d 806, 811 (7th Cir. 1999).
correct promptly any sexually harassing behavior, and 2) the       Here, the parties agree that the University “maintains a
plaintiff unreasonably failed to take advantage of preventive      policy prohibiting discrimination or harassment” against any
or corrective opportunities provided by the employer or to         individual on any lawfully protected basis, including gender
otherwise avoid harm. Hunt v. Wal-Mart Stores, Inc., 931 F.3d      and sexual orientation. SOMF ¶ 7. And the parties agree
624, 627-28 (7th Cir. 2019).                                       that Trahanas received the University handbook outlining
                                                                   that policy—and including information about how to file
                                                                   discrimination complaints with a variety of individuals within



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the university, such as the Director of the University Sexual      confrontation, unpleasantness or retaliation do not alleviate
Harassment Prevention Office or the Associate Vice President       the employee's duty under Ellerth to alert the employer to the
for Human Resources—on her first day of employment,                allegedly hostile environment.” Shaw, 180 F.3d at 813.
and that she signed an acknowledgement form confirming
that she could “call anyone in the Department of Human              *13 Trahanas also argues in her response in opposition to
Resources” if she had a question about the policies in the         summary judgment that she in fact did take advantage of
handbook. SOMF ¶ 8. 5 Whether Trahanas actually read the           corrective measures available to her through the University's
University handbook after receiving it is “irrelevant because      human resources department. She claims that “[she] sought
it is undisputed that she received a copy of the policy and        the assistance of the Northwestern HR Compensation
that she was required as a condition of her employment to          Team and the Human Resources Department” and that
read and comply with both the policy and the other terms           HR personnel exchanged emails “acknowledging that Dr.
contained in the Employee Handbook.” Shaw, 180 F.3d at             Schwulst had been wrong” and expressing concern she might
811. And, as in Shaw, Northwestern's anti-harassment policy        escalate the issue. Pl.’s Resp. Opp'n 10-11. Trahanas also
made it clear that “sexual harassment will not be tolerated, and   insinuates that it was her decision to seek assistance that
provided for multiple mechanisms for the prompt resolution         prompted Dr. Schwulst to “caution[ ] her, ‘I don't know what
of complaints”—including some avenues that allowed a               you have been doing but you need to stop.’ ” Id. at 11; PSAF
complaining employee to circumvent her supervisory chain of        ¶ 23.
command. Id. at 811-12. Because the University has presented
“undisputed evidence establishing that it acted reasonably to      But Trahanas's argument that she reported the alleged
prevent” and respond to allegations of sexual harassment,          harassment to the University's HR personnel is based on
when such allegations are actually made, “it has satisfied the     a gross mischaracterization of the evidence that Trahanas,
first prong of Ellerth’s affirmative defense.” Id. at 813.         herself, submitted. Dr. Schwulst's email to Trahanas reads,
                                                                   for example, “I do not know what you have been doing but
To succeed on the second prong, the University must establish      you need to stop. There is a specific protocol to get this
that Trahanas “unreasonably failed to take advantage” of           done. We will talk on Friday when I am back from paternity
preventive or corrective opportunities to mitigate the harm        leave.” PSAF ¶ 23. The “this” Dr. Schwulst refers to is
of the harassing work environment. Shaw, 180 F.3d at               plainly Trahanas's desired off-cycle promotion or raise, and
813. In their statement of material facts, the defendants          his comment was prompted by Trahanas's own email to Daina
cite Trahanas's own deposition testimony “that [she] never         Fernandez “complaining that she has not heard anything
reported Dr. Schwulst's comments to Human Resources or             [about the promotion] for almost a year.” PSAF ¶ 20, see
anyone else in the Department administration at the medical        PSAF Tab E., Ex. 62 (with subject line reading “D. Trahanas
school.” SOMF ¶ 31. In response, Trahanas argues that              promotion”). Another selectively quoted email between
she feared Dr. Schwulst “would retaliate against her if she        Heather Burke and Daina Fernandez reads, in part: “We do
inconvenienced or spoke out against him,” citing, in most          not process these unless there is approval via Department
relevant part, to her affidavit, though her affidavit does not     and Central FSM. Annette Czech in Compensation would
say as much. Pl.’s Resp. SOMF ¶ 31; PSAF Tab A, Trahanas           and will process IF approved...We should not be making
Aff. ¶¶ 32-41 (describing Dr. Schwulst's comments calling          these types of promises to employees if we do not have the
her “[a] [t]ypical [m]illenial,” “Princess Diana,” “a lesbian”     funding or approval. Please follow up as appropriate. I am
and a “softball player,” and reiterating that his behavior made    concerned that the employee might escalate....” PSAF ¶ 25.
her feel “embarrassed, demeaned and disrespected”). This           Read in context, it is obvious that the HR employees are
argument is unpersuasive. First, the parties agree that the        discussing the same promotion issue. See PSAF Tab E, Ex.
University has both 1) appropriate complaint mechanisms            65 (subject line reading “FW: Promotion”). Finally, the email
that allow an employee to report harassment outside of her         referring to HR personnel “looking into this” was sent in
chain of command and 2) a policy prohibiting retaliation           response to Trahanas's email alerting HR that Dr. Schwulst
against any individual for making a complaint pursuant             had submitted a new letter to the AMCAS system, and seeking
to the University's anti-discrimination policies. SOMF ¶ 9.        their assistance in determining the contents of the letter. PSAF
And second, even if Trahanas's concerns about potential            ¶ 39. Trahanas does not point the Court to any other evidence
repercussions were sincere and otherwise supported by              in the record, nor could she—her contention that she reported
evidence in the record, “an employee's subjective fears of         workplace harassment is wholly unsupported. So, though the



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material facts regarding the frequency, severity, and impact of     did not return from her FMLA and short-term disability leave.
Dr. Schwulst's conduct are disputed, the University is shielded     Pl.’s Resp. Opp'n 16; Defs.’ Resp. to PSAF 29, ECF No. 116.
from liability by the Faragher-Ellerth defense, warranting
summary judgment on Trahanas's Title VII claim.                     The discussions among University employees about
                                                                    potentially releasing Trahanas's position if she did not return
                                                                    to leave, and Trahanas's inability to access her University-
B. ADA and FMLA Retaliation                                         affiliated account while she was on FMLA leave, are not
Second, Trahanas alleges ADA retaliation against                    material adverse actions. The decision to take FMLA leave
Northwestern University and FMLA retaliation against both           does not immunize an employee “from those petty slights
the University and Dr. Schwulst. “Retaliation claims under          or minor annoyances that often take place at work”—“not
the FMLA and ADA require three familiar elements: (1)               everything that makes an employee unhappy is an actionable
the employee engaged in statutorily protected activity; (2)         adverse action.” Cole v. Illinois, 562 F.3d 812, 816-17 (7th
the employer took adverse action against the employee;              Cir. 2009) (internal quotations omitted). Trahanas alleges that
and (3) the protected activity caused the adverse action.”          she was not locked out of her computer when she took FMLA
Freelain v. Vill. of Oak Park, 888 F.3d 895, 901 (7th Cir.          leave in 2014; even if true, this does not elevate what is
2018). The parties do not dispute that Trahanas engaged             ultimately a “minor annoyance” into a significant harm. And
in statutorily protected activity when she took a leave of          while internal discussions about releasing Trahanas's position
absence from February 17, 2015, onward. SOMF ¶ 56; see              may be evidence of retaliatory intent, see id. at 817-18, they
also Defs.’ Mot. Summ. J. at 18 & n.22 (“[I]t is undisputed         did not actually culminate in adverse action: the parties agree
that Plaintiff took a protected FMLA leave of absence,”             that Trahanas chose not to return to work in Dr. Schwulst's
and though the defendants maintain that Trahanas is not
                                                                    laboratory. 6
“disabled” within the meaning of the ADA, “the University
does not dispute that taking time off as a result of a disability
                                                                    Failure to hire, on the other, may constitute adverse action in
may be protected activity”). Trahanas's claims of ADA and
                                                                    employment discrimination cases. See, e.g., Joll v. Valparaiso
FMLA retaliation against Northwestern fail on the causation
                                                                    Cmty. Schs., 953 F.3d 923, 929 (7th Cir. 2020). And evidence
element, however, because she presents no evidence that the
                                                                    in the record indicates that Trahanas applied to over twenty
University took adverse action against her because of that
                                                                    jobs at Northwestern from February 2015 onward without
protected activity. Trahanas's FMLA retaliation claim against
                                                                    success. PSAF Tab V 15-18, ECF No. 108-25. The University
Dr. Schwulst, on the other hand, survives summary judgment
                                                                    is nonetheless entitled to summary judgment on Trahanas's
—a reasonable jury could find that Dr. Schwulst's withdrawal
                                                                    retaliation claim because she offers no evidence whatsoever
of his positive recommendation letter for Trahanas's medical
                                                                    regarding causation. Nothing in the record supports her
school applications was an adverse action, and there is a
                                                                    contention that the reason she was not hired for these positions
factual question as to whether his proffered explanation is
                                                                    is because she took FMLA leave or short-term disability
pretextual.
                                                                    leave; in fact, she does not even argue that the individuals
                                                                    responsible for hiring for those positions knew that she
1. ADA and FMLA Retaliation against Northwestern                    took leave from the Schwulst lab. Her FMLA and ADA 7
University                                                          retaliation claims against the University therefore fail for lack
 *14 Trahanas’ argument that the University retaliated              of evidence on causation. See Stephens v. Erickson, 569 F.3d
against her for taking a leave of absence from the Schwulst         779, 788 (7th Cir. 2009) (concluding that an unsupported
laboratory is primarily based on the fact that she was not hired    inference that interviewers knew of an employee's protected
for other jobs that she applied to within the University during     activity was not enough for a retaliation claim to survive
and after her FMLA leave. See Defs.’ Mem. Supp. Summ. J.            summary judgment, because “a superior cannot retaliate
18 (identifying three claimed adverse actions from Trahanas's       against an employee for a protected activity about which he
pleadings, including failure to hire in other positions); Pl.’s     has no knowledge”); Tomanovich v. City of Indianapolis, 457
Resp. Opp'n Summ. J. 16, ECF No. 108. She also alleges              F.3d 656, 668 (7th Cir. 2006).
she was “locked out of her work computer,” SAC ¶¶ 77, 79,
and cites email exchanges between different Northwestern
personnel that discussed releasing Trahanas's position if she       2. FMLA Retaliation against Dr. Schwulst




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 *15 Trahanas's FMLA retaliation claim against Dr. Schwulst          under the FMLA. Katz v. Nw. Orthopaedics & Sports Med.
fares better. To make out a prima facie case of FMLA                 Ltd., 18 C 4515, 2020 WL 1986965, at *9-10 (N.D. Ill. Apr.
retaliation, Trahanas must establish that she engaged in a           27, 2020). In this district, courts have also used the Riordan
protected activity, that Dr. Schwulst was an employer within         test for evaluating individual liability—asking whether the
the meaning of the FMLA and took a material adverse                  allegedly liable individual had supervisory authority over the
action against her, and that there is a causal link between          complaining employee and was responsible in whole or part
the protected activity—here, Trahanas's FMLA leave—and               for the alleged violation. Id. at *9.
Dr. Schwulst's adverse action. 8 Under the FMLA, but-for
                                                                      *16 Under either test, there is a clear basis for Dr. Schwulst
causation is not required; 9 it is enough for a plaintiff to
                                                                     to be held individually liable under the FMLA. The parties
demonstrate that “the protected conduct was a substantial
                                                                     agree that Trahanas reported directly to, and worked closely
or motivating factor in the employer's decision.” Goelzer v.
                                                                     with, Dr. Schwulst, SOMF ¶ 17, and that Dr. Schwulst played
Sheboygan Cty., 604 F.3d 987, 995 (7th Cir. 2010). Causation
                                                                     a major role in determining whether Trahanas received pay
may be established through both direct and circumstantial
                                                                     increases or promotions, SOMF ¶¶ 37, 39, 41, 44-47. As the
evidence, such as suspicious timing; the inquiry is whether,
                                                                     allegations in this case make clear, Dr. Schwulst had at least
after all of the evidence is put “in a single pile and...evaluated
                                                                     some control over Trahanas's work schedule, and his conduct
as a whole,” Ortiz, 834 F.3d at 766, Trahanas has adduced
                                                                     and their working relationship was a major determinant in her
evidence that can support a reasonable jury in finding her
                                                                     work environment. And the parties agree that Dr. Schwulst
FMLA leave was a substantial factor in Dr. Schwulst's
                                                                     was responsible, in whole, for uploading a second letter to
decision to withdraw his recommendation letter. One way
                                                                     AMCAS withdrawing his initial, positive recommendation
for her to establish causation is “by showing that the stated
                                                                     letter shortly after Trahanas's FMLA leave began. SOMF ¶¶
reasons for the firing were pretextual.” Penny v. Lincoln's
                                                                     81-83. Whether the relationship between Dr. Schwulst and
Challenge Acad., 822 F. App'x 497, 500 (7th Cir. 2020).
                                                                     Trahanas is framed as one in which Dr. Schwulst had “the
                                                                     power to control” Trahanas or simply as one of supervisory
There is sufficient, conflicting evidence in the record for
                                                                     authority, Dr. Schwulst is properly considered an “employer”
Trahanas's claim to survive summary judgment. First, the
                                                                     under Section 2611(4)(A)(ii)(I).
defendants do not dispute that Dr. Schwulst, as an individual,
may be liable for retaliation. Under the FMLA, an “employer”
                                                                     Second, contrary to the defendants’ arguments, withdrawing
is “any person who acts, directly or indirectly, in the interest
                                                                     a positive medical school recommendation letter may
of an employer to any of the employees of such employer.”
                                                                     qualify as an adverse action for purposes of the FMLA's
29 U.S.C. § 2611(4)(A)(ii)(I). This definition is “broader
                                                                     retaliation provisions. That Dr. Schwulst's withdrawal did
than that of Title VII and encompasses some individual
                                                                     not “materially affect the terms, conditions or privileges of
liability.” Eppinger v. Caterpillar Inc., 682 F. App'x 479,
                                                                     [Trahanas's] employment at the University,” Defs.’ Memo.
481 (7th Cir. 2017). Just how much individual liability is
                                                                     Supp. Summ. J. 19, is not dispositive, because “[t]he
not yet clear; the Seventh Circuit has not adopted a test
                                                                     category of actions prohibited by the [FMLA and ADA's]
for identifying individual “employers.” See Gibson v. Ind.
                                                                     anti-retaliation provisions is broader than the category of
State Pers. Dep't, No. 1:17-cv-01212-JPH-TAB, 2019 WL
                                                                     adverse employment actions prohibited by the statutes’ anti-
1099702, at *5 (S.D. Ind. Mar. 8, 2019) (“The Seventh
                                                                     discrimination provisions.” Freelain, 888 F.3d at 901. In
Circuit recently recognized that the FMLA allows claims
                                                                     the retaliation context, an act is “materially adverse” if it
against individuals...but has not clarified what level of
                                                                     would “dissuade a reasonable employee from exercising
responsibility is required for a claim to proceed against an
                                                                     his rights under the FMLA.” Breneisen v. Motorola, Inc.,
individual.”). Several circuits have adopted an “economic
                                                                     512 F.3d 972, 979 (7th Cir. 2008); see also Burlington
reality test,” which asks whether an individual possesses
                                                                     N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 57 (2006)
“the power to control” a worker. Eppinger, 682 F. App'x at
                                                                     (in Title VII context, antiretaliation provision “covers those
481. Under this test, a court weighs several non-dispositive
                                                                     (and only those) employer actions that would have been
factors, including an individual's power to hire and fire the
                                                                     materially adverse to a reasonable employee...that means that
complaining employee, supervise and control the employee's
                                                                     the employer's actions must be harmful to the point that they
work schedule or conditions of employment, determine the
                                                                     could well dissuade a reasonable worker” from engaging in
rate and method of payment, maintain employment records,
                                                                     protected activity).
and whether the employer controlled the employee's rights


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                                                                    2015, just three days after Trahanas's FMLA leave began on
A reasonable jury could conclude that Dr. Schwulst's                February 16, 2015. SOMF ¶¶ 77, 83.
withdrawal of his positive medical school recommendation
letter is the type of action that would reasonably deter             *17 Other evidence bolsters the inference of retaliatory
Trahanas from exercising her FMLA rights. The defendants            intent. First, the University itself, through Chris Scarpelli,
do not dispute that Trahanas wanted to attend medical school.       acknowledged the appearance of a retaliatory motive when
In fact, the parties agree that Trahanas expended a great deal      Scarpelli told Dr. Schwulst to cease and desist from
of time and effort applying to medical school by the time she       taking further action involving Trahanas. Schwulst Dep.
asked Dr. Schwulst to serve as a recommender: as of fall 2014,      Tr. 232:8-233:12, ECF No. 80 (Dr. Schwulst testified that
she had taken the MCAT six times, and she used her vacation         Scarpelli told him to cease and desist because “regardless of
time in August 2014 to concentrate on studying before the           why [Dr. Schwulst] uploaded that letter...it had the potential to
September 2014 test administration, SOMF ¶¶ 67-68, SOMF             be misconstrued”). Second, in light of his clinical obligations,
Ex. B. Dep. Ex. 44. She was also on her second round of             Dr. Schwulst needed Trahanas in the lab for his research to
medical school applications, SOMF ¶ 65; and she applied             progress. In an email from December 2014 about the off-
to fifteen medical schools for 2015 matriculation, SOMF ¶¶          cycle pay increase, for example, Dr. Schwulst wrote that he
88, 69. So, even if Dr. Schwulst's decision to withdraw his         “[could] not afford to have Diane leave right now” because it
positive letter was not the determinative factor in Trahanas's      would “bring [his] research effort to a screeching halt.” PSAF
applications that cycle, the evidence in the record suggests        ¶ 22, Tab E. Ex. 54. And in January 2015, after Trahanas
that the rescission of a strong, positive reference could have      had been out of the lab for just a few days, Dr. Schwulst told
reasonably dissuaded Trahanas from taking protected FMLA            Trahanas that her “unapproved time away from the lab ha[d]
leave.                                                              damaged [his] research mission and [would] likely preclude
                                                                    submission for [that] year's annual congress on shock....”
Finally, there remains an issue of material fact as to causation.   PSAF ¶ 31. This evidence could support an inference that
To survive summary judgment on her FMLA retaliation                 Dr. Schwulst was angered by Trahanas taking unannounced
claim, Trahanas must “point to evidence supporting a                leave for an undetermined amount of time, especially after a
reasonable inference” that Dr. Schwulst withdrew his medical        prolonged period of conflict over her promotion and pay raise.
school recommendation letter, in substantial part, “because         Trahanas also presents evidence that she was blocked from
she took protected leave.” Tibbs v. Admin. Office of the Ill.       accessing her University account during her 2015 FMLA
Courts, 860 F.3d 502, 505 (7th Cir. 2017). As in Tibbs,             leave, though she had not been denied access during previous
Trahanas's principal evidence that Dr. Schwulst's true intent       leave periods, PSAF Tab F, Trahanas Dep. Tr. 341:22-342:25,
was retaliatory is the timing of the events at issue. Id.           and that University HR employees knew that Dr. Schwulst
Though “suspicious timing alone is rarely enough by itself”         was “anxious to do something” if Trahanas did not return
to prove that a particular action is retaliatory,” id. at 505-06,   when her “FMLA protected leave” expired, and that “[i]n his
“[o]ccasionally...an adverse action comes so close on the           ideal world, [the University] would release the position after
heels of a protected act that an inference of causation is          she's extended past her 12 weeks of FMLA.” PSAF Tab E Ex.
sensible.” Loudermilk v. Best Pallet Co., LLC, 636 F.3d 312,        128A, 128C.
315 (7th Cir. 2011); see also Peele v. Burch, 722 F.3d 956,
960 (7th Cir. 2013) (“[E]ven if suspicious timing alone is          To rebut the inference of retaliatory motive, Dr. Schwulst
not enough to create a triable issue in a particular case,          introduced evidence that he withdrew the first letter due to the
suspicious timing remains an important evidentiary ally of          “huge ethical problem” created by Trahanas's alleged failure
the plaintiff.”) (internal quotations omitted). The Seventh         to note when she had administered clodronate injections,
Circuit has cautioned that there is no bright-line legal rule       leading the lab's mice to be “unnecessarily euthanized
about when such an inference is reasonable, but noted that          because [Dr. Schwulst] couldn't figure out where they were
“[t]he closer two events are, the more likely that the first        on experimental protocol.” SOMF ¶ 82. Defendants believe
caused the second.” Loudermilk, 636 F.3d at 315. Here, Dr.          summary judgment is appropriate because Trahanas “presents
Schwulst's initial, highly positive letter of recommendation        no evidence that Dr. Schwulst's belief” that Trahanas failed
was submitted in October 2014. SOMF ¶ 69. His second                to appropriately record the clodronate injections “was not
letter, withdrawing the first and stating that he could no longer   honestly held.” Defs.’ Memo. Supp. Summ. J. 21. Moreover,
support Trahanas's candidacy, was submitted on February 19,         Trahanas had taken FMLA leave on at least one other



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occasion “without any negative impact on her job”; if Dr.           Schwulst, primarily based on Dr. Schwulst's February 19,
Schwulst “harbored animus based on [Trahanas's] use of              2015, two-sentence letter that reads, in its totality: “I am
medical leave,” the defendants argue, “presumably he would          writing to formally withdraw my prior letter of reference for
have taken action against her on that previous occasion.” Id.       Ms. Diane Trahanas. I can no longer support her candidacy
The first argument is factually inaccurate, however, and the        for admission to medical school.” SOMF Ex. B.3 at 56, ECF
second creates, at most, a weak inference in Dr. Schwulst's         No. 104-4. To prevail on a defamation claim, the plaintiff
favor, which is not nearly enough to warrant summary                must present evidence showing that the defendant made a
judgment.                                                           false statement about the plaintiff, the defendant made an
                                                                    unprivileged publication of that statement to a third party,
Trahanas asserts that Dr. Schwulst's justification is pretextual.   and the publication caused damages.” Benton v. Little League
And to rebut the notion that Dr. Schwulst's belief                  Baseball, Inc., 2020 Ill. App. (1st) 190549, at *P43. Illinois
that Trahanas had administered clodronate injections was            recognizes both per se and per quod defamation: a statement
“honestly held,” Trahanas points to two emails she sent to Dr.      is defamatory per se if the statement is so obviously injurious
Schwulst in the week-and-a-half before her leave began and to       to the plaintiff's reputation that damages are presumed, and
her own laboratory notebook. In the first email, sent February      defamatory per quod if extrinsic evidence is required to
6, 2015, Trahanas told Dr. Schwulst that she had to wait to         demonstrate harm. Id. at *P42. Statements that impute a
begin the next clodronate experiment because there was not          person lacks ability or otherwise prejudices a person in her
enough clodronate in the lab. SOMF ¶ 75. In the second, sent        profession are considered defamatory per se. Dobias v. Oak
February 9, 2015, Trahanas told Dr. Schwulst that she planned       Park & River Forest High Sch. Dist. 200, 57 N.E.3d 551, 563
to “do another 48 hour clod experiment next week”—the               (Ill. App. Ct. 2016).
week that Trahanas, instead, began her FMLA leave. SOMF
¶ 76. Finally, Trahanas notes, and the defendants agree, that       The most fundamental element of a defamation claim is that
Trahanas's lab notebook did not contain information about           “the defendant made a false statement about the plaintiff.”
dates and times of clodronate injections in the week before         McDaniel v. Loyola Univ. Med. Ctr., No. 13-cv-06500, 2014
her FMLA leave. SOMF ¶ 79; Pl.’s Resp. SOMF ¶ 79.                   WL 4269126, at *12 (N.D. Ill. Aug. 28, 2014), citing Solaia
                                                                    Tech. LLC, v. Specialty Publ. Co., 852 N.E.2d 825, 839 (Ill.
Dr. Schwulst contends that the emails and empty notebook            2006). And under Illinois law, “[w]hether a statement is a
are evidence of Trahanas's ethical failure, or, at the very         factual assertion that could give rise to a defamation claim is
least, are enough for him to form an honest belief that an          a question of law for the court.” Benton, 2020 Ill. App. (1st)
ethical failure had occurred. Taken at face value, however,         190549 at *P46. To defend her defamation claim on summary
the February 6 email and empty notebook support Trahanas's          judgment, Trahanas argues that Dr. Schwulst's second letter
contention that, instead of starting another experiment, she        was written “without any proof of of [sic] breach of scientific
took FMLA leave, and that Dr. Schwulst had no genuine               ethics by Diane” and “out of anger, spite, and actual malice”;
reason to think she had administered clodronate injections.         she concludes that, taking all three of his letters together, “Dr.
At summary judgment, the Court must view all facts in the           Schwulst sent so many mixed messages” that his involvement
light most favorable to the nonmoving party, and Trahanas is        “in effect destroyed the goal for which she was seeking his
entitled to have all reasonable inferences drawn in her favor;      recommendation.” Pl.’s Resp. Opp'n 17. All that may be
evaluated through this lens, the evidence casts sufficient          true, but it does not change the fact that Dr. Schwulst's letter
doubt on Dr. Schwulst's explanation as to “make summary             withdrawing his recommendation did not contain any false
judgment an impermissible vehicle for the resolution of this        statements about Trahanas.
case.” Lewis v. Sch. Dist. #70, 523 F.3d 730, 744 (7th Cir.
2008). Ultimately, whether Dr. Schwulst's explanation is            The February 19, 2015, letter is a statement of Dr.
“fishy enough to support an inference that the real reason must     Schwulst's opinion about Trahanas's candidacy for medical
be discriminatory” Loudermilk, 636 F.3d at 315, is a triable        school. Statements of opinions are not per se shielded from
issue of fact for a jury to decide.                                 defamation claims. See Milkovich v. Lorain Journal Co., 497
                                                                    U.S. 1, 21 (1990). Opinions are extended First Amendment
                                                                    protection, however, so long as they “cannot be reasonably
C. Defamation                                                       interpreted as stating actual facts about the plaintiff”; to
 *18 Next, Trahanas raises an Illinois state law-based              determine whether a statement is protected as an opinion,
defamation claim against both Northwestern and Dr.


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Illinois courts consider, in part, “whether the statement          University. Defs.’ Memo. Supp. Summ. J. 15. In response,
contains an objectively verifiable assertion.” Hopewell v.         Trahanas devotes just two paragraphs to defending her IIED
Vitullo, 701 N.E.2d 99, 103 (Ill. App. Ct. 1998). Here, Dr.        claims against summary judgment, and her argument largely
Schwulst's statement that he can no longer support Trahanas's      reiterates—without record cites or additional case law—the
candidacy may well suggest “undisclosed...facts that support       Court's own language from the order on the defendant's
[his] opinion.” Id. at 104; see id. at 105 (“[I]n one sense        motion to dismiss the first amended complaint. 11 Based on
all opinions imply facts, however...‘[t]he vaguer and more         her response, the Court will consider only Trahanas's claims
generalized the opinion the more likely the opinion is non-        that she was subjected to frequent harassment, that she was
actionable as a matter of law.’ ”). But a curious medical school   forced to work twenty-four-hour shifts, that her experiment
admissions committee member could not, from Dr. Schwulst's         was sabotaged for six months, that she was yelled at by Dr.
letter alone, discern “which implied fact or set of facts was      Schwulst, and that she was not able to defend herself against
necessary to support [his] opinion”; his two-sentence letter       criticism.
is too “ambiguous and indefinite” to present an objectively
verifiable statement of fact about Trahanas. Id. at 104-05.        With this conduct serving as the predicate, the defendants are
                                                                   correct that Trahanas's IIED claim against the University is
Because Dr. Schwulst did not make a false statement of             preempted by the Illinois Human Rights Act. “The Illinois
fact about Trahanas to the medical schools she applied to,         Human Rights Act preempts tort claims that are ‘inextricably
summary judgment is appropriate. And, because there is             linked’ to allegations of sexual harassment and requires
no defamatory statement for Northwestern University to be          that such claims be brought only before the Illinois Human
vicariously liable for, the University's alleged “fail[ure] to     Rights Commission.” Quantock v. Shared Mktg. Servs., 312
take any corrective action,” SAC ¶ 135, against Dr. Schwulst       F.3d 899, 905 (7th Cir. 2002). Preemption extends to IIED
once the University learned he had withdrawn his positive          claims that are predicated on sexual harassment allegations,
letter of recommendation is immaterial. 10 The University          id.; however, if an IIED claim is predicated on both sexual
is similarly entitled to summary judgment on Trahanas's            harassment and “conduct [that] would be actionable even
defamation claim.                                                  aside from its character as a civil rights violation because
                                                                   the IHRA did not ‘furnish the legal duty that the defendant
                                                                   was alleged to have breached,” then the IHRA will not
D. Intentional Infliction of Emotional Distress                    preempt it. Naeem v. McKesson Drug Co., 444 F.3d 593,
 *19 Finally, Trahanas alleges Illinois state-law claims for       604 (7th Cir. 2006). Because Trahanas did not develop a
intentional infliction of emotional distress (IIED) against        theory by which the University could be liable for the alleged
both the University and Dr. Schwulst. To establish IIED,           sabotage of her research, her unusually long hours worked,
a plaintiff must prove that 1) the defendant's conduct was         or her interpersonal conflict with Dr. Schwulst, her IIED
extreme and outrageous, 2) that the defendant intended to          claim against the University is “inextricably linked” with her
inflict severe emotional distress, or knew that there was at       sexual harassment allegations and, as a result, preempted.
least a high probability that his conduct would cause severe       See, e.g., Richards v. United States Steel, 869 F.3d 557, 565
emotional distress, and 3) the conduct actually did cause          (7th Cir. 2017) (holding that an employee's sexual harassment
severe emotional distress. Everyday insults and indignities are    allegations did not state an emotional-distress claim against
not enough—the conduct at issue “must be so extreme as to          her employer independent of the Illinois Human Rights Act);
go beyond all possible bounds of decency and be regarded           Brownlee v. Catholic Charities of the Archdiocese of Chi.,
as intolerable in a civilized society.” Dunn v. City of Elgin,     No. 16 C 00665, 2018 WL 1519155, at *6 (N.D. Ill. Mar. 28,
347 F.3d 641, 651 (7th Cir. 2003). And even if a defendant's       2018) (noting that an employer is only liable for the tortious
conduct is sufficiently outrageous, an IIED plaintiff will not     conduct of an employee “acting in the course and scope of
prevail unless she can demonstrate “distress so severe that no     his employment” or an employee's intentional torts that were
reasonable person could be expected to endure it.” Lifton v.       “ratified” by the employer); Geise v. Phoenix Co. of Chicago,
Bd. of Educ. of Chi., 416 F.3d 571, 579-80 (7th Cir. 2005).        159 Ill. 2d 507, 516-18 (1994).

The defendants noted that it was “not entirely clear”               *20 Summary judgment is also appropriate as to Trahanas's
which specific conduct Trahanas claims was “extreme                IIED claim against Dr. Schwulst because the conduct she
and outrageous,” especially as to her claim against the            alleges is not “extreme or outrageous,” even when viewed



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                                                                 to challenge custody of her child, and harassed her new
in the light most favorable to her. The threshold for
                                                                 employer with letters, phone calls and spurious complaints to
outrageous conduct is high, and “[l]iability for emotional
distress, as a common-law tort, is even more constrained in      government officials”); Freeman v. Holy Cross Hosp., No. 10
                                                                 C 4157, 2011 WL 1559208, at *2 (N.D. Ill. Apr. 25, 2011) (no
the employment context.” Richards, 869 F.3d at 567. “[I]f
                                                                 extreme or outrageous conduct where the defendant “made
everyday job stresses resulting from discipline, personality
                                                                 comments of a sexual nature, asked [the plaintiff] out on dates,
conflicts, job transfers or even terminations could give rise
                                                                 sent sexually suggestive and explicit links to her personal
to a cause of action for intentional infliction of emotional
                                                                 email account, treated her differently than other employees,
distress, nearly every employee would have a cause of
                                                                 failed to investigate her harassment claims, attempted to grab
action.” Naeem, 444 F.3d at 605. As a result, Illinois courts
                                                                 her buttocks, and rubbed his hands on her thighs”). In fact,
have been reluctant to find workplace behavior outrageous
                                                                 Illinois courts “have limited recovery...to victims of only the
unless an employer or supervisor abuses the power imbalance
                                                                 most intolerable conduct.” Lara, 412 F. Supp. 2d at 903. Dr.
over an employee “in a manner far more severe than the
                                                                 Schwulst's comments calling Trahanas a lesbian or a “softball
typical disagreements or job-related stress caused by the
                                                                 player” may have been ignorant, unfunny, and unbecoming
average work environment.” Id. Most of the conduct that
                                                                 of a successful physician at a highly-regarded university,
Trahanas points to as support for her IIED claim—that she
                                                                 but his conduct did not rise to the level of “outrageous” or
worked longer hours than her peers in other labs, 12 that Dr.
                                                                 intolerable, as evidenced by the fact that Trahanas continued
Schwulst raised his voice at her in a performance review, and
                                                                 to work for him for more than two years after the comments
that she felt unable to defend herself against criticism about
                                                                 began in October 2012. SOMF ¶ 28. No reasonable jury
her work— falls into this category of potentially distressing,
                                                                 could conclude, based on the evidence in the record, that
but ultimately commonplace, workplace interactions. See
                                                                 Dr. Schwulst's conduct was beyond endurance, so summary
Richards, 869 F.3d at 567 (“[P]ersonality conflicts and
                                                                 judgment is appropriate as to Trahanas's IIED claim against
questioning of job performance are unavoidable aspects
                                                                 him.
of employment and...frequently, they produce concern and
distress.”) (internal quotations and citation omitted). And
                                                                 *21 * * *
because Dr. Schwulst was not even aware of, let alone
involved in, Saber and Misharin's alleged sabotage of
                                                                 For the foregoing reasons, the defendants’ motion to exclude
Trahanas's research, there is no basis for including that
                                                                 is granted, and the defendants’ motion for summary judgment
incident in an evaluation of his conduct.
                                                                 is granted as to Trahanas's Title VII hostile work environment
                                                                 and ADA and FMLA retaliation claims against the University,
That leaves Dr. Schwulst's harassing behavior, which
                                                                 and as to Trahanas's defamation and intentional infliction
Trahanas alleges took place on a daily or near-daily basis
                                                                 of emotional distress claims against both the University and
while he was in the lab. “A claim for intentional infliction
                                                                 Dr. Schwulst. Trahanas's FMLA retaliation claim against Dr.
of emotional distress...requires more than what is required
                                                                 Schwulst may proceed to trial.
for sexual harassment.” Lara v. Diamond Detective Agency,
412 F. Supp. 2d 894, 902 (N.D. Ill. 2006); cf. id. at
903 (describing an Illinois case upholding an IIED claim         All Citations
against a defendant who not only repeatedly propositioned
the plaintiff and offered her money for sex, but also “fired     Not Reported in Fed. Supp., 2020 WL 7641293, 2020 Wage
her when she refused her advances, threatened to kill and        & Hour Cas.2d (BNA) 500,759
rape her, harassed her family and psychotherapist, threatened




                                                         Footnotes


1      The defendants argue that Trahanas's “comprehensive 27-page, 146-paragraph Second Amended
       Complaint is wholly devoid of any reference to co-worker harassment based on sexual orientation” and that
       she “cannot now claim that she was subject to a Title VII hostile work environment based not only on Dr.



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      Schwulst's comments but also Saber's comments.” Defs.’ Memo. Supp. Summ. J. 10 n.13. Trahanas's failure
      to mention co-worker harassment as a theory of Title VII liability in her second amended complaint does not
      preclude her from arguing on that basis at summary judgment, as “plaintiffs are not required to plead legal
      theories.” Whitaker v. Milwaukee Cty., 772 F.3d 804, 808 (7th Cir. 2014). But it is also true “[a] plaintiff cannot
      add additional claims through arguments made in opposing summary judgment,” Messner v. Caledrone, 407
      F. App'x 972, 974 (7th Cir. 2011), and Trahanas's allegations about Saber's comments arguably create a
      “new factual theory of liability,” as those allegations do not appear in the complaint. Compare SAC ¶¶ 29-39
      (outlining Dr. Schwulst's comments referring to Trahanas as a lesbian, with no mention of Saber doing the
      same), with, e.g., id. ¶¶ 45, 55 (describing “certain coworkers” harassing and mocking Trahanas because
      of her alleged disabilities). However, because there is “no material dispute” about the relevant facts, and
      because the alternative theory of liability did not result in “unfair surprise” to the defendants, Whitaker, 772
      F.3d at 808, the Court addresses the coworker harassment theory on the merits.

2     Trahanas's initial complaint made an ADA hostile work environment claim, but that claim was dismissed by
      the Court, see Order Mot. Dismiss 7-8, ECF No. 38, and was not realleged in the plaintiff's second amended
      complaint, which is the operative complaint for evaluating the defendants’ motion for summary judgment. See
      SAC ¶¶ 106-11 (Count I, claiming only a Title VII hostile work environment).

3     Trahanas is a heterosexual woman. SOMF ¶ 5. The defendants characterize Trahanas's Title VII claim as
      one predicated on her “perceived sexual orientation.” See, e.g., Defs.’ Memo. Supp. Summ. J. 9-11 & nn.11,
      15. Trahanas does not contest this characterization, but the complained-of conduct has more to do with
      Trahanas’ perceived failure to conform to sex stereotypes than with her sexual orientation, which was known
      to everyone in the lab. See SOMF ¶¶ 28, 32 (noting that the first time Dr. Schwulst allegedly referred to
      Trahanas as a “lesbian” was after a discussion of workout routines, where Dr. Schwulst commented that
      women who exercise too much will start to look “manly” and “butch,” and highlighting an instance where
      Dr. Schwulst asked Trahanas why she did not dress more like Rana Saber at work, i.e. in “stilettos, short
      shorts and low tops”); id. ¶ 25 (Trahanas “dated men when she worked for Dr. Schwulst and she shared with
      him in 2014 that she had a boyfriend”). Compare Weller v. Paramedic Servs. of Ill., Inc., 297 F. Supp. 3d
      836, 839 (N.D. Ill. 2018) (“[Plaintiff] unequivocally pleads that his declination to conform to [his employer's]
      gender norms ultimately resulted in his employment being terminated. Per the Seventh Circuit's inclusion
      of sex stereotyping under the Title VII umbrella of gender discrimination, this is enough for [the plaintiff] to
      state an actionable claim.”).

4     See Faragher v. City of Boca Raton, 524 U.S. 775 (1998); Burlington Indus. v. Ellerth, 524 U.S. 742 (1998).

5     Trahanas's objections to this paragraph in the defendants’ statement of material facts do not contest that
      Trahanas received the University handbook or that the relevant anti-discrimination policies were contained
      within it. See Pl. Resp. SOMF ¶ 8 (“objecting” by stating that Trahanas eventually met with Daina Fernandez,
      a Department of Human Resources employee, later in her employment and other non-responsive bases).

6     The defendants cite evidence that Trahanas informed HR employee Victoria Sherb that she would not be
      returning to the Schwulst lab after Sherb informed Trahanas she was required to let the University know
      whether she intended to resign or seek an extension of her leave. SOMF ¶¶ 60-61 (noting, additionally, that
      Trahanas's employment would be terminated if she failed to respond to Sherb's inquiries). The plaintiff does
      not dispute that she informed Sherb she would not be returning, but she maintains that her decision not to
      return to work at the Schwulst lab was made at the direction of Dr. Cano, her psychiatrist. Pl.’s Resp. SOMF
      ¶ 61. In either case, the University was not the cause of Trahanas's decision not to return to her job.

7     The defendants also argue that the University could not have engaged in ADA retaliation against Trahanas
      for taking leave because she is not “disabled” within the meaning of the ADA. See Defs.’ Memo. Supp. Summ.
      J. 17. The viability of an ADA retaliation claim generally does not turn on whether an individual is disabled,


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      Turner v. The Saloon, Ltd., 595 F.3d 679, 690 (7th Cir. 2010), because Section 12203 of the ADA protects
      “any individual” who has opposed an unlawful practice under the ADA or who has made a charge, testified,
      assisted, or otherwise participated in an investigation under the act, 42 U.S.C. § 12203(a). Because Trahanas
      is not disabled under the ADA, however, her leave of absence from the Schwulst lab may not constitute an
      ADA “protected activity”; in fact, the documents in the record relating to her leave refer only to the FMLA.
      See SOMF Ex. B.3, Dep. Ex. 38 (June 9, 2015 letter from Northwestern HR that states Trahanas “w[as]
      initially approved for an FMLA Leave of Absence...from 2/16/2015 – 5/24/2015”). At least some courts have
      concluded that FMLA leave is not a “protected activity” for ADA purposes. See Acker v. General Motors,
      L.L.C., 853 F.3d 784, 791 (5th Cir. 2017) (holding that “a request for FMLA leave is not a request for a
      reasonable accommodation under the ADA,” because “an employee seeking FMLA leave is by nature arguing
      that she cannot perform the functions of the job, while an employee requesting a reasonable accommodation
      communicates that she can perform the essential functions of the job”); accord Arms v. Milwaukee Cty.,
      No. 18-cv-1835, 2019 WL 1981036, at *5 (E.D. Wis. May 1, 2019) (but noting the Seventh Circuit has not
      decided the issue). The reasoning seems persuasive, but the Court need not decide the issue here—any
      ADA retaliation claim Trahanas might have fails on causation.

8     The defendants, relying on cases that distinguish between direct and indirect methods of proof in employment
      discrimination cases, argue that this standard is appropriate because Trahanas is not attempting to establish
      retaliation through the indirect method of proof. Defs.’ Memo. Supp. Summ. J. 18 n.21; see, e.g., Bowden v.
      Kirkland & Ellis, No. 07 C 975, 2010 WL 3526483, at *14 (N.D. Ill. Sept. 3, 2010). But the Seventh Circuit
      has instructed that “district courts must stop separating ‘direct’ from ‘indirect’ evidence and proceeding as if
      they were subject to different legal standards”—to succeed on her retaliation claim, Trahanas may introduce
      whatever evidence there is that “would permit a reasonable factfinder to conclude that the plaintiff's [protected
      activity]” caused the challenged adverse action. Ortiz v. Werner Enters. Inc., 834 F.3d 760, 765 (7th Cir.
      2016).

9     In University of Texas Southwest Medical Center v. Nassar, the Supreme Court held that Title VII retaliation
      claims require a showing of but-for causation. 570 U.S. 338, 360 (2013). The Seventh Circuit “has declined to
      decide whether Nassar raises the causation standard for FMLA retaliation claims,” so this district “continues
      to apply the motivating factor test” to such claims. Xula v. Chase Bank, JPMorgan Chase, No. 15 C 4752,
      2019 WL 5788074, at *10 (N.D. Ill. Nov. 6, 2019); see also Haworth v. Round Lake Area Sch., No. 17 C 7038,
      2019 WL 3080928, at *5 n.2 (N.D. Ill. July 15, 2019) (noting “the motivating factor test still represents ‘the
      controlling law of the Seventh Circuit’ ” and, additionally, seeing “little textual reason to apply Nassar to a §
      2615(a)(1) retaliation claim”). Defendants do not argue the issue here, and acknowledge that the “substantial
      factor” causation standard should apply. Defs.’ Memo. Supp. Summ. J. 19-20 n.23.

10    Even if there were a defamatory statement, Trahanas's claim against Northwestern would fail. Under Illinois
      law, a “principal may be held vicariously liable for his agent's defamatory statements.” Svanaco, Inc. v.
      Brand, 417 F. Supp. 3d 1042, 1062 (N.D. Ill. 2019). However, to hold an employer liable for its employee's
      defamatory statement, a plaintiff “must show that [the employee]’s statements were made ‘within the scope
      of [his] employment.’ ” Id. Conduct is “within the scope of employment” if it is of the kind the employee is
      employed to perform; occurred substantially within authorized time and space limits; and is performed, at
      least in part, with a purpose to serve the employer. Weller v. Paramedic Servs. of Ill., 297 F. Supp. 3d 836, 848
      (N.D. Ill. 2018). Trahanas's claim against Northwestern is premised on the University's alleged failure to take
      corrective action once it learned that Dr. Schwulst had withdrawn his initial, positive recommendation letter.
      But not only is it factually incorrect that the University did nothing in response to Dr. Schwulst's withdrawal of
      the recommendation letter, see SOMF ¶ 84 (noting that Chris Scarpelli instructed Dr. Schwulst to “cease and
      desist” on the basis that his withdrawal may be misconstrued, and encouraged Dr. Schwulst to reinstate his
      original letter), such a failure would also be legally insufficient to make Northwestern vicariously liable for a
      defamatory statement. Trahanas presents no evidence that writing letters of recommendation was the type of



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      work that Dr. Schwulst was employed by Northwestern to perform, or that writing these types of letters served
      Northwestern's interests, at least in part. With no evidence on these points, there is no basis for holding the
      University vicariously liable for Dr. Schwulst's individual, intentional conduct.

11    Compare Order Mot. Dismiss 17 (“Here, Trahanas has alleged that she was subjected to frequent
      harassment, was forced to work 24 hour shifts where coworkers only worked 8 hour shifts, had an experiment
      sabotaged for over 6 months, was yelled at by her supervisor, and was unable to defend herself when her
      work was criticized.”), with Pl.’s Resp. Opp'n 18 (“Trahanas was subjected to frequent harassment, was forced
      to work 24 hour shifts where coworkers only worked 8 hour shifts, had an experiment sabotaged for over 6
      months, was yelled at by her supervisor, and was unable to defend herself when her work was criticized.”
      And compare Order Mot. Dismiss 17 (“At the motion to dismiss stage, drawing all inferences in favor of the
      plaintiff, the Court finds this could state ‘extreme and outrageous’ conduct that was ‘intended to inflict severe
      emotional distress,’ especially after Trahanas told Schwulst that she was experiencing severe anxiety.”), with
      Pl.’s Resp. Opp'n 19 (“Drawing all inferences in favor of Diane Trahanas, defendant's conduct was ‘extreme
      and outrageous’ and ‘intended to inflict severe emotional distress,’ especially after her coworkers admitted
      the sabotage of her work and she told Schwulst that she was experiencing severe anxiety.”). Not only is this
      unhelpful, but an admission by one of Trahanas's coworkers to sabotaging her work appears nowhere in
      the record that the Court has reviewed. Contra Saber Dep. Tr. 61:20-62:9 (Q: Do you remember being in
      attendance at a staff meeting where you and Alexander [Misharin] were laughing because Diane was working
      with an outdated cocktail? A: No, I don't remember that. Q: Do you remember Dr. Perlman telling you that
      you should have advised Diane Trahanas that the cocktail that she was working on for the last six months
      on her experiments with Dr. Schwulst's project was an outdated cocktail? A: No, I don't remember that.”).
      Unsurprisingly, Trahanas does not cite to any evidence that supports her statement.

12    The notion that Trahanas was “forced” to work twenty-four-hour shifts is also unsupported by the evidence
      in the record. In his deposition, Dr. Schwulst clarified that when Trahanas referred to 24-hour and 72-hour
      experiments, she was referring to “the length of time between when the mice were injured and the time
      when they were sacrificed and their tissue harvested.” Schwulst Dep. Tr. 105:9-20, ECF No. 80. Dr. Schwulst
      testified that, during a 24-hour experiment, his expectation would be for Diane to “strike the mouse, go home,
      and come back 24 hours later to harvest the results on the mouse's brain,” not for her to remain in the lab
      for twenty- four consecutive hours. Id. 106:14-18. He estimated that Trahanas stayed at the lab late (past
      midnight) to process tissue “in the neighbor of five of six experiments. So five or six times during the course of
      her employment.” Id. 107:4-12. Dr. Schwulst also testified, repeatedly, that he gave Trahanas “great latitude
      in planning her days” and that it was their typical practice for Trahanas to take time off “on days preceding
      and after long experiments” to ensure that she was working an appropriate number of hours per week. See,
      e.g., id. 194:11-195:3; 272:3-5; 273:11-274:7. This testimony was uncontradicted; in fact, it was corroborated
      by Trahanas's emails to Dr. Schwulst. See, e.g., id. 271:13-16 (introducing email from Trahanas that reads
      “I will take the necessary time off next week to even out the time I spent extra this week”).



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                                                                               March 2017, Union Pacific installed two cameras in that
                                                                               office. One was directed at the gun safe in the office, and the
      KeyCite Yellow Flag - Negative Treatment                                 other was directed at the area where personnel from a private
Distinguished by In re Allstate Corporation Securities Litigation, N.D.Ill.,
                                                                               security firm, Gomez Security, were stationed. Id. at 15-18.
January 10, 2022


                      2020 WL 419406                                           In early April 2017, Brian Jarrett received a tip alleging that
     Only the Westlaw citation is currently available.                         Plaintiff was tampering with one of the cameras in the special
United States District Court, N.D. Illinois, Eastern Division.                 agent office in order to take naps during his shift. Mr. Jarrett
                                                                               was the Regional Deputy Chief of the Northern Region, and
              Randall BOGATHY, Plaintiff,                                      Plaintiff's supervisors reported to him. The tip came from
                         v.                                                    Special Agent David Gonzalez, one of Plaintiff's co-workers.
          UNION PACIFIC RAILROAD, Defendant.                                   On April 12, 2017, Mr. Jarrett and Dan Veschak, the lieutenant
                                                                               through whom the tip had come to Mr. Jarrett, attempted to
                          Case No. 17-cv-4290                                  view the video feed of the special agent office and noticed
                                   |                                           that one of the cameras was not working properly. They went
                           Signed 01/24/2020                                   to the office, where Plaintiff was on duty, and used a laptop
                                                                               to try to view the video feed. While in the office, Mr. Jarrett
Attorneys and Law Firms                                                        observed Plaintiff walk to a fuse box and place a fuse back in
                                                                               the box, at which point the camera began functioning again.
Christopher Cooper, Law Office of Christopher Cooper, Inc.,
Ricardo Vazquez, Law Offices of Ricardo Vazquez, Chicago,
                                                                               Mr. Jarrett asked Plaintiff about his actions at the fuse box.
IL, for Plaintiff.
                                                                               According to Defendant, Plaintiff initially claimed he was
Tracy Bradford Farley, Quarles & Brady LLP, Chicago, IL,                       checking for a blown fuse, but then apologized for tampering
for Defendant.                                                                 with the fuses and said he did not want to be monitored
                                                                               at work. Plaintiff denies that he apologized or admitted to
                                                                               tampering with the fuses and claims that he immediately told
                                                                               Mr. Jarrett that he had turned off the camera. Mr. Jarrett
        MEMORANDUM OPINION AND ORDER
                                                                               placed Plaintiff on paid administrative leave, and subsequent
Robert M. Dow, Jr., United States District Judge                               investigation showed that the times of the camera outages
                                                                               corresponded to Plaintiff's work schedule (but not to any other
 *1 Before the Court is Defendant's motion to bar Plaintiff's                  employee's schedule). Plaintiff was terminated in June 2017
proposed expert [59]. Defendant's motion is granted. This                      for tampering with company equipment and dishonesty. After
case is set for further status on February 5, 2020, at 9:00 a.m.               he was suspended, but before he was terminated, Plaintiff
                                                                               filed a complaint with the Occupational Safety and Health
                                                                               Administration (“OSHA”), which claimed that Union Pacific
I. Background
                                                                               had illegally recorded him, used unqualified employees to
Plaintiff Randall Bogathy is a police officer who was
                                                                               handle police dispatch communications, and retaliated against
employed by Defendant Union Pacific Railroad from
                                                                               him for being a whistleblower. [17-1] at 4, 6.
October 2001 through June 2017. Beginning in 2012,
Plaintiff was assigned to commuter operations at the Ogilvie
                                                                                *2 Plaintiff later filed a complaint in this Court against
Transportation Center (“OTC”). Plaintiff was a “special
                                                                               Union Pacific over his termination, which was subsequently
agent,” which is a non-union position. During the last year of
                                                                               amended. The operative second amended complaint [17-1]
his employment, Plaintiff worked the 6:00 a.m. to 6:00 p.m.
                                                                               consists of four claims: Retaliation under the Illinois
shift, and his duties included monitoring cameras, answering
                                                                               Whistleblower Act (Counts I and II); Invasion of Privacy
any emergency calls, and foot patrol around the facility.
                                                                               (Count III); and “Retaliatory discharge/Violation of Public
When not on foot patrol, Plaintiff worked in the special agent
                                                                               Policy” (Count IV).
office. In February or early March 2017, Plaintiff was asked
if he had feedback about where in the special agent office
                                                                               Plaintiff disclosed James Paoletti as an expert witness to
cameras should be installed. Plaintiff requested that a camera
                                                                               opine on “the complaint and disciplinary process” that Union
be installed to monitor the gun safe. [60-2] at 12-16. In late


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Pacific used and that resulted in Plaintiff's termination. [60-7]   been subjected to peer review and publication; (3) the theory's
at 11-12; [60-6] at 7, 68-69. Mr. Paoletti is a retired police      known or potential rate of error; and (4) the theory's level of
officer with 38 years of experience at the Chicago Police           acceptance within the relevant community. Daubert, 509 U.S.
Department and 10 years of experience at the Village of             at 593–94; see also Bielskis, 663 F.3d at 893. However, the test
Crete Police Department. On April 26, 2019, Defendant filed         for reliability is flexible, and “the law grants a district court
a motion to bar Plaintiff's proposed expert [59], which is          the same broad latitude when it decides how to determine
now before the Court. Defendant argues that Mr. Paoletti's          reliability as it enjoys in respect to its ultimate reliability
opinions should be excluded both because they do not meet           determination.” Kumho Tire Co., 526 U.S. at 142; see also
the requirements of Federal Rule of Evidence 702 and also           United States v. Pansier, 576 F.3d 726, 737 (7th Cir. 2009)
because Plaintiff failed to make all of the required disclosures    (noting that the Seventh Circuit “gives the [district] court
under Federal Rule of Civil Procedure 26.                           great latitude in determining not only how to measure the
                                                                    reliability of the proposed expert testimony but also whether
                                                                    the testimony is, in fact, reliable”).
II. Legal Standard
                                                                     *3 In addition, the touchstone of admissibility under Rule
  A. Expert Testimony
                                                                    702 is helpfulness to the jury. United States v. Benson, 941
Federal Rule of Evidence 702 1 and the Supreme Court's              F.2d 598, 604 (7th Cir. 1991) amended on unrelated grounds,
decision in Daubert v. Merrell Dow Pharmaceuticals, Inc.,           957 F.2d 301 (7th Cir. 1992). An expert's opinion is helpful
509 U.S. 579 (1993), provide the legal framework for the            only to the extent the expert draws on some special skill,
admissibility of expert testimony. C.W. ex rel. Wood v.             knowledge, or experience to formulate that opinion. Id. “An
Textron, Inc., 807 F.3d 827, 834 (7th Cir. 2015). The purpose       expert witness is not permitted to parrot what some lay person
of the Daubert inquiry is to scrutinize proposed expert witness     has told him and testify that he believes the person was being
testimony to determine whether it has “the same level of            truthful.” Goldberg v. 401 N. Wabash Venture LLC, 755 F.3d
intellectual rigor that characterizes the practice of an expert     456, 461 (7th Cir. 2014); see also Benson, 941 F.2d at 604
in the relevant field” so as to be deemed reliable enough to        (“[T]he jury does not need an expert to tell it whom to believe,
present to a jury. Lapsley v. Xtek, Inc., 689 F.3d 802, 805 (7th    and the expert's ‘stamp of approval’ on a particular witness’
Cir. 2012) (quoting Kumho Tire Co. v. Carmichael, 526 U.S.          testimony may unduly influence the jury.”).
137, 152 (1999)). Rule 702 requires the district court judge to
act as a gatekeeper to ensure that admitted expert testimony is
relevant, reliable, and has a factual basis. Id. at 809; see also      B. Required Disclosures
Daubert, 509 U.S. at 589. The Seventh Circuit has stressed          Federal Rule of Civil Procedure 26(a)(2) governs disclosure
that “the key to the gate is not the ultimate correctness of the    of expert witnesses who may present expert evidence under
expert's conclusions. Instead, it is the soundness and care with    Federal Rule of Evidence 702, 703, or 705. A party is required
which the expert arrived at her opinion[.]” Textron, 807 F.3d at    to disclose, among other things, the facts and data considered
834 (citation and internal quotation marks omitted) (alteration     by the proposed expert witness in forming his opinions, and
in original).                                                       a list of all other cases in the previous four years in which he
                                                                    has testified as an expert at trial or by deposition. Fed. R. Civ.
To determine whether expert testimony is admissible, the            P. 12(a)(2)(B)(ii) and (iv), respectively.
district court must ascertain (1) whether the expert is
qualified, (2) whether his methodology is scientifically            A party is not permitted to use any undisclosed information
reliable, and (3) whether the testimony will assist the trier       as evidence at a trial. Fed. R. Civ. P. 37(c)(1). “This sanction
of fact to understand the evidence or to determine a fact in        is ‘automatic and mandatory unless the sanctioned party can
issue. Bielskis v. Louisville Ladder, Inc., 663 F.3d 887, 893       show that its violation of Rule 26(a) was either justified or
(7th Cir. 2011). “The proponent of the expert bears the burden      harmless.’ ” Keach v. U.S. Trust Co., 419 F.3d 626, 639 (7th
of demonstrating that the expert's testimony would satisfy the      Cir. 2005) (quoting David v. Caterpillar, Inc., 324 F.3d 851,
Daubert standard.” Lewis v. CITGO Petroleum Corp., 561              857 (7th Cir. 2003)). The Seventh Circuit has established
F.3d 698, 705 (7th Cir. 2009). Daubert sets forth the following     a four-factor test for evaluating whether Rule 37 sanctions
non-exhaustive factors for the district court to consider when      are warranted: (1) prejudice or surprise to party against
assessing an expert's methodology: (1) whether the theory has       whom evidence is offered; (2) ability of the party to cure
been or is capable of being tested; (2) whether the theory has      the prejudice; (3) likelihood of disruption to the trial; (4) the


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proffering party's bad faith or willfulness in not disclosing       Mr. Paoletti has 48 years of experience working in city
evidence at an earlier date. Caterpillar, Inc., 324 F.3d at         police departments. [60-6] at 49. During that time, he
857. Not all four factors need be met; preclusion of the            has held supervisory positions in police departments and
untimely or insufficiently disclosed evidence is “automatic         had experience disciplining employees subject to collective
and mandatory” where the violation is unjustified and harms         bargaining agreements. All of the employees Mr. Paoletti
the opposing party. Finley v. Marathon Oil Co., 75 F.3d 1225,       supervised while working at the City of Chicago were subject
1230 (7th Cir. 1996).                                               to a collective bargaining agreement. [60-6] at 20-21. While
                                                                    Chief of Police for the Village of Crete, Mr. Paoletti was
                                                                    involved in the discipline of a single employee who was not
III. Analysis                                                       subject to a collective bargaining agreement. [60-6] at 19. In
                                                                    his entire career, that was the only employee he disciplined
   A. Expert Testimony
                                                                    who was not subject to a collective bargaining agreement (and
Plaintiff disclosed James Paoletti as an expert witness to
                                                                    that employee still had a right to appeal Mr. Paoletti's decision
opine on “the complaint and disciplinary process” that Union
                                                                    to a mayor).
Pacific used and that resulted in Plaintiff's termination. [60-7]
at 11-12; [60-6] at 7, 68-69. Mr. Paoletti's opinions, as
                                                                    By contrast, the subject of Mr. Paoletti's proposed expert
expressed in his report ([60-7] at 11-53), cover two primary
                                                                    opinions is the “complaint and discipline process” that Union
topics: (1) the narrative of events that led to Plaintiff’
                                                                    Pacific used and that resulted in Plaintiff's termination.
termination and (2) the application of certain Illinois laws to
                                                                    Union Pacific Railroad is a private employer that, unlike
Plaintiff. Neither meets the requirements of Daubert and Rule
                                                                    government employers, is not subject to the Due Process
702. The Court will address each topic in turn.
                                                                    Clause of the Fourteenth Amendment. See, e.g., Shelley v.
                                                                    Kraemer, 334 U.S. 1, 13, (1948) (the Fourteenth Amendment
                                                                    “erects no shield against merely private conduct, however
                   i. Plaintiff's Termination                       discriminatory or wrongful”); Vann v. Scott, 467 F.2d 1235,
                                                                    1240 (7th Cir. 1972) (noting that “the state, as an employer,
                                                                    does not have the same unfettered right to discharge
                    a. Expert Qualification
                                                                    employees as does a private employer”). Furthermore, unlike
To be admissible, an expert opinion must come from a                the police officers Mr. Paoletti has supervised, Union
witness who is qualified to give it. “An expert's opinion           Pacifico's employees are not subject to a collective bargaining
is helpful only to the extent the expert draws on some              agreement. Mr. Paoletti does not have experience supervising
special skill, knowledge, or experience to formulate that           or disciplining employees like Plaintiff at an employer like
opinion; the opinion must be an expert opinion (that is,            Union Pacific. In the face of obvious legal and practical
an opinion informed by the witness’ expertise) rather than          differences between union and non-union employees, 2
simply an opinion broached by a purported expert.” Benson,          Plaintiff has failed to present sufficient evidence that Mr.
941 F.2d at 604, (citing United States v. Lundy, 809 F.2d 392,      Paoletti's experience with union employees in government
395–96 (7th Cir. 1987)). In order to determine whether an           entities translates to, or is even relevant to, a non-union,
expert is qualified to opine on a particular subject, the court     private-employer context. Mr. Paoletti's experience is not
should “compar[e] the area in which the witness has superior        sufficiently matched to the subject of the purported expert
knowledge, skill, experience, or education with the subject         opinions in his report, and such testimony is not admissible
matter of the witness's testimony.” Jones v. Lincoln Elec. Co.,     under Rule 702 and Daubert.
188 F.3d 709, 723 (7th Cir. 1999), quoting Carroll v. Otis
Elevator Co., 896 F.2d 201, 212 (7th Cir. 1990).

                                                                            b. Methodology and Application to the Case
 *4 Plaintiff points out that a witness's experience may
qualify him to give opinions under Rule 702 and argues              The Court must ensure that a proposed expert's methodology
that Mr. Paoletti's conclusions should be admissible on this        is “scientifically valid” (Daubert, 509 U.S. at 592–93)
basis. But the evidence before the Court shows that Mr.             and that his conclusions are “based on sufficient facts or
Paoletti's experience, though extensive, does not qualify           data” (Fed. R. Evid. 702(b)). The proposed opinions fail both
him to testify to the opinions contained in his report.             requirements.


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                                                                    reliable facts and data on which to form expert opinions.
The closest that Mr. Paoletti's report or deposition comes          In fact, the Seventh Circuit has said that district courts
to a description of a methodology is as follows: “I asked           are to “reject any subjective belief or speculation” in
[Plaintiff's counsel] to provide me with any of the documents       proffered expert conclusions. Trustees of Chicago Painters &
that he had received from Union Pacific that would give me          Decorators Pension, Health & Welfare, & Deferred Sav. Plan
insight as to the allegations and the department directives         Tr. Funds v. Royal Int'l Drywall & Decorating, Inc., 493 F.3d
that supported those allegations and procedures, those kind         782, 787 (7th Cir. 2007) (quoting Ammons v. Aramark Unif.
of things. I tried to base my decision on the facts, what           Servs., Inc., 368 F.3d 809, 816 (7th Cir. 2004)). There is much
the department directives say is supposed to happen, the            of this kind of material to reject in Mr. Paoletti's conclusions.
allegations that allegedly happened, the disciplinary history       For example, Mr. Paoletti opined on Plaintiff's medical issues:
of the accused officer, his term with the agency.” [60-6] at
23. It is also clear that Mr. Paoletti relied heavily on his          “As [Plaintiff] disrobes to change his clothes or tend to
personal judgment in coming to conclusions. For example,              his medical issues, he exposes his lower extremities which
when asked to support his conclusion that Plaintiff felt the          now show visual signs of the toll that his medical problems
private security officers stationed at OTC were a threat to his       have had on his legs. It also exposes the bandages he must
own position, Mr. Paoletti responded, “I think, once again,           wear and having anyone else view this is a blow to his
having been involved in the police science for 48 years, I            masculinity and makes him feel less virile. Thus he turns
have a pretty good idea how a lot of policemen think and how          the cameras off to preserve his dignity and decides to keep
they perceive themselves; and I think that part of the issue          his medical condition and internal feelings private, by not
when they decided to put civilian security people there is they       telling his employer.”
felt that their position there was diminished and possibly his
                                                                    [60-7] at 27. It is not clear where the factual assertions
assignment there as a whole may have been in jeopardy. It's a
                                                                    in the passage come from, as Mr. Paoletti neither spoke
human reaction.” [60-6] at 48-49. As another example, when
                                                                    with Plaintiff regarding his medical issues ([60-6] at 59)
asked to explain his interpretation of Plaintiff's actions, which
                                                                    nor reviewed his sealed deposition testimony regarding his
appears on pages 16 and 17 of his report ([60-7] at 26-27),
                                                                    medical issues ([60-6] at 48), nor listed any medical files as
Plaintiff responded, “It is my interpretation—it is my opinion
                                                                    materials he relied on in the Rule 26(a) disclosures (see [60-7]
of what probably occurred at the time. It was based upon my
                                                                    at 3-4). Furthermore, Mr. Paoletti's claims about Plaintiff's
own conclusions and experience.” [60-6] at 50-51.
                                                                    feelings delve into Plaintiff's mind and are speculative. The
                                                                    Seventh Circuit has ruled that expert testimony may not
 *5 Plaintiff has not presented sufficient evidence that Mr.
                                                                    “be based on subjective belief or speculation.” Metavante
Paoletti used a reliable method or applied it to reliable
                                                                    Corp. v. Emigrant Sav. Bank, 619 F.3d 748, 761 (7th Cir.
facts and data. First, merely applying personal judgment
                                                                    2010). Plaintiff has not presented sufficient evidence that
(or substituting his own judgment for that of the Union
                                                                    the proposed expert relied on facts and data—as opposed
Pacific employees who disciplined Plaintiff) is not a proper
                                                                    to personal opinion and speculation—to form conclusions.
methodology. Mr. Paoletti's repeated reliance on his years of
                                                                    Nor did he apply a reliable method. For these reasons, the
experience and personal thoughts 3 suggest that “he either had      proposed testimony regarding the narrative of events that led
no method or could not describe one.” Zenith Elecs. Corp.           to Plaintiff's termination fails to satisfy the requirements of
v. WH-TV Broad. Corp., 395 F.3d 416, 418 (7th Cir. 2005)            Daubert and Rule 702 and is inadmissible.
(affirming exclusion of proffered expert testimony based on
the witness's “expertise” rather than reliable principles or
methods). Thus the Court cannot even begin to review the
factors listed in Daubert or other indicia of reliability; there                           c. Assist the Jury
is no theory to be tested, or published or peer reviewed, nor
                                                                    Rule 702 further requires that the evidence or testimony
is there an error rate or level of acceptance to assess. The use
                                                                    “assist the trier of fact to understand the evidence or to
of personal judgment in place of a scientifically valid method
                                                                    determine a fact in issue.” Daubert., 509 U.S. at 591. In
renders the proposed opinions inadmissible. Id.
                                                                    fact, “[t]he touchstone of admissibility under Rule 702 is
                                                                    helpfulness to the jury.” Benson, 941 F.2d at 604. But
Second, the proposed expert's speculation about the thoughts,
                                                                    ‘assisting the jury’ cannot veer into ‘doing the jury's job for
feelings, and motivations of witnesses is not sufficient or
                                                                    it,’ and evidence that invades a key function of the jury is


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not admissible. For the purposes of the instant motion, the         —rather than supplant—the trier of fact. Testimony from
relevant “critical function of the jury” is assessing witness       Plaintiff's expert would, at best, be his personal thoughts on
credibility, (see United States v. Hall, 165 F.3d 1095, 1107        the events at issue in the case, which risks turning into “a
(7th Cir. 1999)), and the Seventh Circuit has repeatedly            gratuitous interpretation of the factual record.” Cage v. City
affirmed exclusion of expert opinions that usurp that function      of Chicago, 979 F. Supp. 2d 787, 834 (N.D. Ill. 2013) (citing
of the jury. E.g., United States v. Gallardo, 497 F.3d 727,         United States v. Hall, 93 F.3d 1337, 1343 (7th Cir. 1996)).
733 (7th Cir. 2007) (affirming exclusion of proffered expert        Such testimony does not meet the requirements of Rule 702
testimony regarding effect of drug abuse on memory in               and Daubert and is not admissible.
part because such testimony “would intrude upon the jury's
role in assessing witness credibility”); Goodwin v. MTD
Prod., Inc., 232 F.3d 600, 609 (7th Cir. 2000) (affirming
                                                                              ii. Application of Illinois Law to Plaintiff
exclusion of expert testimony because “an expert cannot
testify as to credibility issues. Rather, credibility questions     Much of Mr. Paoletti's report quotes certain Illinois laws
are within the province of the trier of fact, in this case a        regarding law enforcement officers, claims that they may
jury.”). Expert witnesses are not allowed to “sort out possible     have applied to Plaintiff in his job with Union Pacific, and
conflicting testimony or to argue the implications of those         then asserts that Union Pacific violated these laws. See,
inconsistencies,” as making conclusions about what evidence         e.g., [60-7] at 32-35 and 50-51. This subject meets none
to believe is a job for the jury and the jury alone. Davis v.       of Rule 702’s requirements. Mr. Paoletti is not a lawyer,
Duran, 277 F.R.D. 362, 370 (N.D. Ill. 2011).                        judge, law professor, or other legal expert, and nothing in his
                                                                    background qualifies him to opine on issues of law. There is
 *6 Mr. Paoletti's proposed expert opinions are full of             no explanation of the methodology he used to arrive at his
credibility determinations. For example, he challenged              conclusions of law, whether it is reliable, or how he applied
Special Agent Gonzalez's statement to Lieutenant Veschak            it to the facts of this case. Finally, and most importantly,
that Plaintiff said he had been turning off the camera in           testimony on this jury will not help the jury in any way.
order to sleep. [60-7] at 30. Elaborating on his decision not       Legal conclusions are not an appropriate subject for expert
to credit Special Agent Gonzalez's statements, Mr. Paoletti         testimony. Bammerlin v. Navistar Int'l Transp. Corp., 30 F.3d
testified that Special Agent Gonzalez “is less that[sic] truthful   898, 900 (7th Cir. 1994) (meaning of applicable law “is not
when giving his deposition and as such his statements are           a question of fact, to be resolved by the jury after a battle
viewed with caution” ([60-7] at 24), and “I don't find him a        of experts”); Harbor Ins. Co. v. Cont'l Bank Corp., 922 F.2d
credible, honest individual” ([60-6] at 56) and “[I] found too      357, 366 (7th Cir. 1990) (finding that it was impermissible for
many discrepancies in [Gonzalez's] testimony to consider him        insurance company's expert witness to testify about his legal
credible and to base my decision on his comments.” ([60-6]          research because in doing so the judge tilted the balance of
at 45-46). Mr. Paoletti also weighed testimony from Mr.             power toward the insurance company); CDX Liquidating Tr.
Jarrett and Mr. Veschak against testimony from Plaintiff and        ex rel. CDX Liquidating Trusee v. Venrock Assocs., 411 B.R.
concluded, contrary to Plaintiff's sworn deposition testimony,      571, 585 (N.D. Ill. 2009) (noting that “under Rule 702, courts
that Plaintiff initially lied about disabling the camera and then   have consistently excluded experts who proffer testimony on
admitted that he had done so. [60-7] at 26; [60-6] at 47-48.        the law governing the case”). “It is not for witnesses to instruct
Opinions about witnesses’ credibility are not helpful to the        the jury as to applicable principles of law, but the judge.”
trier of fact because they usurp its critical function of making    Panter v. Marshall Field & Co., 646 F.2d 271, 294 (7th Cir.
credibility determinations. Mr. Paoletti's opinions on which        1981) (quoting Marx & Co. v. Diners’ Club, Inc., 550 F.2d
statements should be believed are not the appropriate subject       505, 509-10 (2d Cir.), cert. denied, 434 U.S. 861 (1977)). Mr.
of expert testimony and are not admissible. Benson, 941 F.2d        Paoletti in fact concedes this point. At his deposition, when
at 604 (“the jury does not need an expert to tell it whom to        asked if he was offering an expert opinion on the applicability
believe”). Such testimony from the proposed expert fails the        of Uniform Peace Officers’ Disciplinary Act and the Railroad
requirements of Daubert and Rule 702 and is not admissible.         Police Act to Plaintiff, Mr. Paoletti said “No. That's why I say
                                                                    ‘may,’ because that's up to the attorneys to argue.” [60-6] at
In sum, Plaintiff does not offer sufficient evidence that the       42. To the extent that Mr. Paoletti offers expert conclusions
proposed expert used a reliable method, based conclusions on        about the application of Illinois law, they fail to meet Daubert
sufficient facts or data, or would offer conclusions that assist    and Rule 702’s requirements and are inadmissible.



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                                                                        [61] does not address this point at all and argues that Plaintiff
                                                                        has therefore conceded the point.
   B. Required Disclosures
Defendant argues that Plaintiff failed to make some of the              *7 While it does appear that Plaintiff has waived the
required disclosures under Rule 26(a), and therefore Rule 37            argument, 4 because this Court resolves the motion on the
requires striking some or all of Mr. Paoletti's expert opinions.        merits of the Rule 702 and Daubert question, it need not
Specifically, Plaintiff's disclosure under Rule 26(a)(2)(B)             address whether Plaintiff waived the point, or whether Rule
(ii) omitted some independent research, including a tour of             37 requires exclusion of non-disclosed material, or what
OTC, and several depositions that Mr. Paoletti relied on in             specific facts and opinions would be excluded.
forming his conclusions. Defendant learned of the omissions
at Mr. Paoletti's deposition. Furthermore, Plaintiff's disclosure
under Rule 26(a)(2)(B)(v) asserted that he had testified as             IV. Conclusion
an expert in six cases over the previous four years, but at             For the reasons set forth above, Defendant's motion to bar
his deposition Mr. Paoletti said he had testified as an expert          Plaintiff's proposed expert is granted. This case is set for
in between 12 and 20 cases during that period. Defendant                further status on February 5, 2020, at 9:00 a.m.
argues that, under Rule 37, Plaintiff cannot show that its
failure to disclose was justified or harmless, and therefore the
                                                                        All Citations
exclusion is “automatic and mandatory.” Keach, 419 F.3d at
639. Defendant also points out that Plaintiff's response brief          Not Reported in Fed. Supp., 2020 WL 419406




                                                            Footnotes


1       Federal Rule of Evidence 702 states: “A witness who is qualified as an expert by knowledge, skill, experience,
        training, or education may testify in the form of an opinion or otherwise if: (a) the expert's scientific, technical,
        or other specialized knowledge will help the trier of fact to understand the evidence or a determine a fact
        in issue; (b) the testimony is based on sufficient facts or data; (c) the testimony is the product of reliable
        principles and methods; and (d) the expert has reliably applied the principles and methods to the facts of
        the case.”

2       See, e.g., Brown v. U.S. Postal Service, 459 U.S. 212, 220 (1983) (“[A] collective bargaining agreement is
        much more than traditional employment terminable at will. Rather, it is an agreement creating relationships
        and interests under the federal common law of labor policy.”).

3       E.g. “I think, once again, having been involved in the police science for 48 years, I have a pretty good idea
        how a lot of policemen think * * *.” [60-6] at 48-49 (emphasis added).

4       Bonte v. U.S. Bank, N.A., 624 F.3d 461, 466 (7th Cir. 2010) (noting that a “[f]ailure to respond to an argument
        * * * results in waiver” and a party's “silence” in response to an argument leads to the conclusion that a
        point is conceded); United States v. Farris, 532 F.3d 615, 619 (7th Cir. 2008) (“Farris failed to respond to
        the Government's argument in a Reply Brief, and accordingly, we find that Farris waived his sufficiency of
        the evidence challenge[.]”).



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                                                                    appeal, had a discussion with the Lisle Township Assessor,
                     2014 WL 3558690                                John Trowbridge (“Trowbridge”), who proposed a settlement
     Only the Westlaw citation is currently available.              offer reducing the 2010 and 2011 tax assessment for the
United States District Court, N.D. Illinois, Eastern Division.      Naperville Property. (Def. Stmt. Add'l. Facts ¶ 7.) Sullivan
                                                                    recommended to Lucent's in-house counsel, Lewis Lefkowitz
              John P. SULLIVAN, D.D.S, J.D.,                        (“Lefkowitz”), that Lucent decline the offer and file an appeal
               and Stephen D. Helm, Plaintiffs,                     of the 2010 assessed valuation of the Naperville Property
                             v.                                     with the state review board. (R. 104–1, Feb. 6, 2011 Email.)
                                                                    Sullivan wrote to Lefkowitz that “Steve Helm and I would
             ALCATEL–LUCENT USA INC., a
                                                                    negotiate a contingent fee agreement to represent ALU on this
              Delaware Corporation, Defendant.
                                                                    (similar to the Forest Preserve agreement but with the % fee
                        No. 12 C 07528                              based on the 1st year savings only).” (Id.)
                                |
                      Signed July 17, 2014                          Lefkowitz retained Sullivan and Plaintiff Stephen Helm to
                                                                    prosecute the appeal in front of the Illinois Tax Appeal Board
Attorneys and Law Firms                                             (“PTAB”). (Pl. Stmt. Facts ¶ 8.) The parties entered into a
                                                                    contingent fee agreement which provided that Plaintiffs' fee
James Michael Wagner, Steve Helm & Associates, Mary                 “will be structured as a fee contingent on savings on the
Elizabeth Damitio, Patrick John Kelly, Stephen Douglas              current year's taxes in these actions as follows: (a) 25% of
Helm, Helm & Wagner, Naperville, IL, John P. Sullivan,              such amount if the matter is settled or otherwise resolved prior
Sullivan Law Firm, Warrenville, IL, for Plaintiffs.                 to trial; or (b) 30% of such amount if the matter is settled
                                                                    or otherwise resolved after trial.” (R. 89–7, Contingent Fee
Gary L. Taylor, Abigail Jane Jung, Kaitlyn Anne Wild, Polina
                                                                    Agreement.)
Arsentyeva, Rathje & Woodward LLC, Wheaton, IL, Gregory
Wheeler Jones, Greg Jones, Attorney at Law, Chicago, IL, for
                                                                    On April 18, 2011, Plaintiffs filed before the PTAB a
Defendant.
                                                                    Commercial Appeal for Assessment Year 2010 for the
                                                                    Naperville Property on behalf of Lucent. (Pl. Stmt. Facts
                                                                    ¶ 27.) The City of Naperville and School District 203
       MEMORANDUM OPINION AND ORDER
                                                                    intervened in the PTAB Appeal because they already had
AMY J. ST. EVE, District Court Judge:                               received funds from Lucent's 2010 real estate taxes on the
                                                                    Naperville Property. (Pl. Stmt. Facts ¶ 41.) On or about
 *1 Defendant Alcatel–Lucent USA, Inc. (“Lucent” or                 October 27, 2011, the Lisle Township Assessor assessed the
“Defendant”) has moved to strike portions of the written            value of the Naperville Property for the 2011 calendar year at
report of Plaintiffs' expert, Brian P. Liston, and to bar related   $42,829,710, which represented an increase of the $160 over
testimony pursuant to Federal Rule of Evidence 702 and              the 2010 assessed value. (Id. ¶¶ 29–31.) On November 21,
Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579          2011, Lucent executed a “Letter of Authority to Act in Matters
(1993). For the reasons discussed below, the Court grants           of Property Taxation” that appointed Sullivan to represent
Lucent's motion.                                                    Lucent as its property tax agent with respect to the Naperville
                                                                    Property. (R. 89–16, Letter of Authority.) Pursuant to that
                                                                    Letter of Authority, on November 23, 2011, Plaintiffs filed
                                                                    an appeal for Tax Year 2011 with the DuPage County Board
                      BACKGROUND
                                                                    of Review (“2011 Assessment Appeal”). (Pl. Stmt. Facts ¶
Lucent owns commercial property in Naperville, Illinois             35.) The parties did not execute a new agreement to address
(“Naperville Property”) (R. 93, Pls.' Rule 56.1 Stmt. Facts         Plaintiffs' work negotiating the 2011 Assessment. (Pl. Stmt.
¶ 3) and decided, in late 2010 or early 2011, to contest the        Facts ¶ 58.)
2010 real estate tax assessment of that property. (R. 104, Def.
Rule 56.1 Stmt. Add'l Facts ¶ 3). Following an unsuccessful          *2 After filing the 2011 Assessment Appeal, Plaintiffs
appeal on the 2010 tax assessment, Plaintiff John Sullivan,         began negotiating with Trowbridge regarding the 2010
an attorney who had assisted with the processing of Lucent's        PTAB Appeal and the 2011 Assessment Appeal. (Id. ¶ 37.)



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Plaintiffs successfully negotiated a comprehensive settlement     6, 2014, the Court granted Plaintiffs' motion for summary
agreement (“Comprehensive Settlement”) that traded reduced        judgment as to Count I in the amount of $227,749.97, finding
stipulated assessments for the Naperville Property for            that the undisputed facts established that the parties intended
Assessment Years 2011, 2012, and 2013 in return for Lucent's      for the Agreement to entitle Plaintiffs to 25% of the tax
agreement to withdraw the pending 2010 PTAB Appeal. (Id.          savings they negotiated for the Lucent for the 2011 tax year.
¶ 40.) The parties intended for the Comprehensive Settlement      (R. 149.) The Court denied summary judgment on Counts II
to satisfy the City of Naperville and School District 203. (Id.   and III because issues of fact exist. Plaintiffs subsequently
¶ 41.)                                                            moved to voluntarily dismiss Count III, and the Court granted
                                                                  the motion. (R. 178.)
Lucent approved the Comprehensive Settlement and accepted
the 2011, 2012, and 2013 stipulations of agreed assessed value    Plaintiffs engaged Brian P. Liston as one of their two burden-
for the Naperville Property in return for its agreement to        of-proof experts. (R. 131–1, Liston Expert Rep.) Liston, along
withdraw the 2010 PTAB appeal. (R. 105, Def. Resp. to Pl.         with attorney Gregory J. Lafakis, submitted an expert report
Stmt. Facts ¶ 52.) Plaintiffs estimate that the Comprehensive     regarding the dispute at issue here. Liston is an attorney who
Settlement saved Lucent $910,999.90 for the 2011 tax year         has experience in the fields of eminent domain and property
and $1,100,028 for the 2012 tax year, and that it would save      tax appeals. (R. 131–1, Liston CV.) The report consists of
Lucent $1,100,028 for the 2013 tax year. (Id. ¶¶ 53, 54.)         their summary of the dispute as well as six opinions and the
Additionally, the Comprehensive Settlement also provided          underlying bases for those opinions. (Id. ¶ 7.) After submitting
Lucent with stipulated assessed values for the Naperville         the joint expert report, Plaintiffs withdrew Mr. Lafakis as an
Property that were 38% lower in 2012 and 40% lower in 2013        expert. (R. 131–2, Nov. 5, 2013 email.)
than the most recent assessed value. (Pl. Stmt. Facts ¶ 56)

Internal   discussions    between       Lucent     employees
                                                                                      LEGAL STANDARD
acknowledged Plaintiffs' entitlement to 25% of Lucent's
2011 tax savings. (See Pl. Stmt. Facts ¶¶ 63, 69; R. 89–           *3 “The admissibility of expert testimony is governed by
30, Feb. 12, 2012 Email.) Internal discussions, however,          Federal Rule of Evidence 702 and the Supreme Court's
also acknowledged uncertainty with respect to Plaintiffs'         opinion in Daubert v. Merrell Dow Pharmaceuticals, Inc.,
entitlement to the 2012 and 2013 tax savings. (See R. 89–         509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993).”
30, Feb. 12, 2012 Email; R. 89–32, May 29, 2012 Email;            Lewis v. Citgo Petroleum Corp., 561 F.3d 698, 705 (7th Cir.
R. 89–31.) In July 2012, Lucent notified Plaintiffs that          2009). Rule 702 provides, in relevant part, that “[i]f scientific,
the 2011, 2012, and 2013 tax savings were not governed            technical or other specialized knowledge will assist the trier of
by the contingent fee structure in the original Engagement        fact[,] ... a witness qualified as an expert by knowledge, skill,
Agreement, and rejected Plaintiffs' proposed fee of $500,000.     experience, training or education, may testify thereto in the
(R. 89–36, July 12, 2012 Letter)                                  form of an opinion....” Id. See also Happel v. Walmart Stores,
                                                                  Inc., 602 F.3d 820, 824 (7th Cir. 2010). “The proponent
On September 7, 2012, Plaintiffs filed their original three-      of the expert bears the burden of demonstrating that the
count complaint in this matter. (Def. Stmt. Add'l Facts ¶ 24.)    expert's testimony would satisfy the Daubert standard” by a
In Count I, Plaintiffs alleged a breach of contract claim for     preponderance of the evidence. Lewis, 561 F.3d. at 705.
the 2011 tax savings based on the contingent fee agreement
(“Agreement”) with Lucent. In Count II, Plaintiffs alleged an     Under the expert-testimony framework, courts perform the
anticipatory breach of contract claim for the 2012 and 2013       gate-keeping function of determining whether the expert
tax savings based on work they performed on Lucent's behalf       testimony is both relevant and reliable prior to its admission
pursuant to the Agreement. In the alternative, in Count III,      at trial. See id.; United States v. Pansier, 576 F.3d 726, 737
Plaintiffs alleged an unjust enrichment claim for tax savings     (7th Cir. 2009) (“To determine reliability, the court should
that Plaintiffs secured for Lucent for tax years 2011, 2012,      consider the proposed expert's full range of experience and
and 2013.                                                         training, as well as the methodology used to arrive [at]
                                                                  a particular conclusion.”). In doing so, courts “make the
Plaintiffs and Defendant filed competing motions for              following inquiries before admitting expert testimony: first,
summary judgment on each of the three counts. On May              the expert must be qualified as an expert by knowledge,



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skill, experience, training, or education; second, the proposed     *4 Defendant challenges the following statements as being
expert must assist the trier of fact in determining a relevant     unrelated to Liston's expertise:
fact at issue in the case; third, the expert's testimony must be
based on sufficient facts or data and reliable principles and        Expert Report at 2: A review of Mr. Lefkowitz's
methods; and fourth, the expert must have reliably applied           correspondence in July 2012 to Attorney Sullivan clearly
the principles and methods to the facts of the case.” Lees v.        shows that it was Lucent's and Lefkowitz's position that the
Carthage College, 714 F.3d 516, 521–22 (7th Cir. 2013); see          fee agreement did not cover any work on the 2011, 2012,
also Stollings v. Ryobi Tech., Inc., 725 F.3d 753, 765 (7th Cir.     and 2013 tax savings.
2013); Pansier, 576 F.3d at 737.
                                                                     Expert Report at 4: Furthermore, Lucent's own internal
                                                                     documents clearly show that Lucent's control group
In assessing the admissibility of an expert's testimony, the
                                                                     checked Plaintiffs' figures and agreed with them. Internally,
Court's focus “must be solely on principles and methodology,
                                                                     Mr. Cameron, Attorney Lefkowitz, and Mr. Morrison were
not on the conclusions they generate.” Winters v. Fru–Con
                                                                     all acknowledging that Sullivan's May 28, 2012 invoice in
Inc., 498 F.3d 734, 742 (7th Cir. 2007) (quoting Chapman
                                                                     the amount of $227,749.97 should be paid.
v. Maytag Corp., 297 F.3d 682, 687 (7th Cir. 2002)). “The
goal of Daubert is to assure that experts employ the same            Expert Report at 7: Even though internal emails of Lucent
‘intellectual rigor’ in their courtroom testimony as would           admitted full responsibility to pay the 2011 tax savings
be employed by an expert in the relevant field.” Jenkins v.          component in the amount of $227,749.97, [Lucent refused
Bartlett, 487 F.3d 482, 489 (7th Cir. 2007) (quoting Kumbo           to pay the invoice, arguing that the fee agreement only
Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 152 (1999)). “A          covered tax savings for 2010.]
Daubert inquiry is not designed to have the district judge take
the place of the jury to decide ultimate issues of credibility       Lefkowitz's email to co-counsel Mendoza on February 9,
and accuracy.” Lapsley v. Xtek, Inc., 689 F.3d 802, 805 (7th         2012 indicts Lucent as having predetermined to negotiate
Cir. 2012).                                                          down whatever fee claim the Plaintiffs might make related
                                                                     to the $3.0 million plus tax savings.

                                                                     Expert Report at 9: Opinion No. l. The March 7,
                         ANALYSIS                                    2011 Engagement Letter was intended to cover all the
                                                                     work that Sullivan and Helm were performing related to
Defendant challenges specific statements and opinions in Mr.
                                                                     the negotiated settlement between ‘Lucent and Assessor
Liston's report on two grounds: (1) that they are unrelated
                                                                     Trowbridge.
to his expertise, and (2) that they are legal opinions and
conclusory in nature.                                                Expert Report at 10: Lucent's own internal documents
                                                                     showed $400,000 as an accrued expense, for fees owed, and
                                                                     various internal documents reflected acknowledgement
I. Brian Liston
                                                                     that the fee agreement did cover the services performed by
   A. Qualifications                                                 Sullivan and Helm.
Brian Liston is a licensed attorney in the state of Illinois,
                                                                     Lucent had determined internally that at least this much was
and has been practicing since 1991. (Liston CV.) He is
                                                                     owed and that the statement reflected the proper amount
currently a partner in The Law Offices of Liston & Tsantilis,
                                                                     owed for 2011 tax savings component.
P.C. in Chicago Illinois, and focuses his practice on the
areas of eminent domain litigation, property tax appeals             Expert Report at 12: Lucent's own memo regarding the
and incentives for land use. (Id.) Liston represents large           establishment of a $400,000 accrual for liability to Sullivan
companies and landowners in eminent domain and property              and Helm shows recognition by Lucent that it had, in fact,
tax litigation matters in suits filed by local, municipal and        obtained a significant tax savings and that at least $400,000
state agencies throughout the United States.                         would be owed to Sullivan and Helm under the terms of the
                                                                     contingent fee agreement.

  B. Opinions                                                        Expert Report at 12–13: Sullivan's and Helm's testimony
                                                                     clearly support the fact that Lucent received the benefit of


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  a substantial tax savings for tax years 2011, 2012, and 2013
  that is expected expected to total in excess of $3 million         Expert Report at 10: The May 2012 invoice from Sullivan
  which will be fully realized by Lucent in 2014.                    for the 2011 tax savings component accurately sets for the
                                                                     amount of fees due under the Agreement.
  Expert Report at 13: Opinion No. 5. Lucent's own internal
  documents and deposition testimony of Lucent personnel             Expert Report at 12: Whether the bases for the favorable
  clearly support the conclusion that: (a) Lucent understood         tax savings of approximately $3.0 million is based upon
  that it was fully obligated under the fee agreement to pay         the March 2011 Engagement Letter or upon principals of
  Sullivan and Helm for tax savings at 25% for tax years             unjust enrichment, the fee entitlement for Sullivan and
  other than for 2010; (b) at least $400,000 in fees had been        Helm would be the same.
  “accrued” by Lucent for Sullivan's and Helm's services;
                                                                     Expert Report at 13: The ‘benefit’ to Lucent was a
  (c) Lucent had predetermined to negotiate Sullivan's and
                                                                     tax savings of approximately $3.0 million plus deferred
  Helm's fees down before Lucent had even discussed the
                                                                     through the payment date of 2014. The written agreement
  fees with either Sullivan or Helm; and (d) Lucent obtained
                                                                     between Lucent and Plaintiffs showed that Lucent and
  a very clear tax benefit on tax savings for years 2011, 2012,
                                                                     Plaintiffs were in agreement on a 25 percent factor to
  and 2013 and made a business decision to dismiss the 2010
                                                                     be applied times the savings/benefit, thus, the fees are
  appeal as a quid pro quo for what it perceived as ‘great
                                                                     identical under Counts II and III of the Complaint.
  news,’ being the projected tax savings for 2011, 2012, and
  2013.                                                              [Lucent understood that] it was fully obligated under the
                                                                     fee agreement to pay Sullivan and Helm for tax savings at
 *5 Defendant additionally challenges the following                  25% for tax years other than for 2010.
statements made by Liston as being improper legal opinions
and conclusions:
                                                                   II. Liston Does Not Draw on Any Expertise When
  Expert Report at 4: It is our opinion that there is no basis     Reading and Interpreting Lucent's Internal Documents
  for any dispute as to either liability or the amount owed        and Correspondences
  for 2011 tax savings obtained by Sullivan and Helm for           In many of Liston's opinions, he simply reads and interprets
  Lucent. Whether based upon the written fee agreement or          documents. In doing so, he does not draw on any expert
  upon principles of unjust enrichment, Lucent received a tax      qualifications or experience. As such, his readings and
  savings of $910,999.90 in May 2012 on 2011 taxes as a            interpretations are merely gratuitous, and would be unhelpful
  direct result of Sullivan's and Helm's efforts.                  to a prospective jury. “[T]he crucial question is, ‘On this
                                                                   subject can a jury from this person receive appreciable
  Expert Report at 5: It appears to the undersigned that
                                                                   help?’ ” Cage v. City of Chicago, 979 F.Supp.2d. 787, 834
  there is clear liability under Count I of the Complaint.
                                                                   (N.D.Ill.2013). “[E]xpert testimony is helpful to the jury if it
  Regardless of whether the March 7, 2011 fee agreement            concerns a matter beyond the understanding of the average
  covered the tax savings for 2011, 2012, and/or 2013, there       person.” Davis v. Duran, 276 F.R.D. 227, 231 (N.D.Ill.2011).
  is clear liability against Lucent under either Count II (the     Moreover, “[a]n expert's opinion is helpful only to the
  fee agreement) or Count III (unjust enrichment), and the         extent the expert draws on some special skill, knowledge,
  amount due and owing should be the same under either             or experience to formulate that opinion; the opinion must
  Count.                                                           be an expert opinion (that is, an opinion informed by the
                                                                   witness' expertise) rather than simply an opinion broached by
  Expert Report at 5–6: It is our opinion that there is no         a purported expert.” United States v. Benson, 941 F.2d 598,
  difference in either liability or in the amount of money that    604 (7th Cir. 1991), amended on unrelated grounds, 957 F.2d
  Lucent owes the Plaintiffs. If liability and recovery is to be   301 (7th Cir. 1992).
  based on principles of unjust enrichment, it is our opinion
  that Lucent is clearly liable to Plaintiffs under Count I and     *6 “Unless the expertise adds something, the expert is at best
  III.                                                             offering a gratuitous opinion, and at worst is exerting undue
                                                                   influence on the jury ...” United States v. Hall, 93 F.3d 1337,
                                                                   1343 (7th Cir. 1996). “[E]xpert testimony does not assist the
                                                                   trier of fact when the jury is able to evaluate the same evidence


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and is capable of drawing its own conclusions without the
introduction of a proffered expert's testimony.” Aponte v. City     Expert Report at 13: Opinion No. 5. Lucent's own internal
of Chicago, No. 09 C 8082, 2011 WL 1838773, at *2 (N.D.Ill.         documents and deposition testimony of Lucent personnel
May 12, 2011).                                                      clearly support the conclusion that: (a) Lucent understood
                                                                    that it was fully obligated under the fee agreement to pay
The following are examples of Liston merely reading and             Sullivan and Helm for tax savings at 25% for tax years
interpreting documents without drawing on any additional            other than for 2010; (b) at least $400,000 in fees had been
expertise:                                                          “accrued” by Lucent for Sullivan's and Helm's services;
                                                                    (c) Lucent had predetermined to negotiate Sullivan's and
  Expert Report at 2: A review of Mr. Lefkowitz's                   Helm's fees down before Lucent had even discussed the
  correspondence in July 2012 to Attorney Sullivan clearly          fees with either Sullivan or Helm; and (d) Lucent obtained
  shows that it was Lucent's and Lefkowitz's position that the      a very clear tax benefit on tax savings for years 2011, 2012,
  fee agreement did not cover any work on the 2011, 2012,           and 2013 and made a business decision to dismiss the 2010
  and 2013 tax savings.                                             appeal as a quid pro quo for what it perceived as ‘great
                                                                    news,’ being the projected tax savings for 2011, 2012, and
  Expert Report at 4: Furthermore, Lucent's own internal            2013.
  documents clearly show that Lucent's control group
  checked Plaintiffs' figures and agreed with them. Internally,   Liston does not rely on nor does he bring any additional
  Mr. Cameron, Attorney Lefkowitz, and Mr. Morrison were          expertise in his reading and interpretation of these documents.
  all acknowledging that Sullivan's May 28, 2012 invoice in       Average jurors are capable of reading such documents and
  the amount of $227,749.97 should be paid.                       determining for themselves their meaning and significance.
                                                                  Although Liston is a purported expert in the field property
  Expert Report at 7: Even though internal emails of Lucent
                                                                  tax appeals, these interpretations do not require such expertise
  admitted full responsibility to pay the 2011 tax savings
                                                                  and he does not bring any expert analysis to them. See In
  component in the amount of $227,749.97, [Lucent refused
                                                                  re Prempro Products Liability Litig., 586 F.3d 547, 570 (8th
  to pay the invoice, arguing that the fee agreement only
                                                                  Cir. 2009). He simply reads some of them. Liston invades
  covered tax savings for 2010.]
                                                                  the province of the jury by opining that various documents
  Lefkowitz's email to co-counsel Mendoza on February 9,          “show” (Expert Report at 12), “clearly show” (Expert Report
  2012 indicts Lucent as having predetermined to negotiate        at 2 and 4), “reflect acknowledgement of” (Expert Report
  down whatever fee claim the Plaintiffs might make related       at 10), and “clearly support” (Expert Report at 13) certain
  to the $3.0 million plus tax savings.                           conclusions. These opinions are merely gratuitous and hence
                                                                  improper.
  Expert Report at 10: Lucent's own internal documents
  showed $400,000 as an accrued expense, for fees owed, and
  various internal documents reflected acknowledgement            III. Liston Improperly Comments on and Interprets
  that the fee agreement did cover the services performed by      Testimony
  Sullivan and Helm.                                               *7 Liston also invades the province of the jury by improperly
                                                                  commenting on and interpreting testimony. It is a fundamental
  Lucent had determined internally that at least this much was    premise of the trial system that “determining the weight and
  owed and that the statement reflected the proper amount         credibility of witness testimony ... ‘belongs to the jury who
  owed for 2011 tax savings component.                            are presumed to be fitted for it by their natural intelligence
                                                                  and their practical knowledge of men and the ways of men.’
  Expert Report at 12: Lucent's own memo regarding the
                                                                  ” Davis 277 F.R.D. at 370 (quoting United States v. Scheffer,
  establishment of a $400,000 accrual for liability to Sullivan
                                                                  523 U.S. 303, 313, 118 S.Ct. 1261, 140 L.Ed.2d 413 (1998)).
  and Helm shows recognition by Lucent that it had, in fact,
                                                                  “[A]n expert witness may not usurp the jury's function
  obtained a significant tax savings and that at least $400,000
                                                                  to weigh evidence and make credibility determinations.”
  would be owed to Sullivan and Helm under the terms of the
                                                                  United States v. Farrell, 563 F.3d 364, 377 (8th Cir. 2009).
  contingent fee agreement.”
                                                                  Furthermore, “expert witnesses are not allowed to sort out
                                                                  possible conflicting testimony or to argue the implications of
                                                                  those inconsistencies. That is the role of the lawyer, and it [is]


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for the jury to draw its own conclusions from the testimony it    jury might infer that money was the real reason); but he could
hears.” Duran, 277 F.R.D. at 370.                                 not testify as an expert that GM had a particular motive.”);
                                                                  Johnson v. Wyeth LLC, No. 10–C–2690, 2012 WL 1204081, at
Examples of Liston improperly commenting on and                   *3 (D.Ariz. Apr. 11, 2012) (precluding plaintiff's experts from
interpreting witness testimony include:                           offering “opinions concerning defendants' motive, intent,
                                                                  knowledge, or other state of mind”); George v. Kraft Foods
  Expert Report at 12–13: Sullivan's and Helm's testimony         Global, Inc., 800 F.Supp.2d 928, 932–33 (N.D.Ill.2011)
  clearly support the fact that Lucent received the benefit of    (excluding expert's state of mind opinion as speculative and
  a substantial tax savings for tax years 2011, 2012, and 2013    unhelpful).
  that is expected to total in excess of $3 million which will
  be fully realized by Lucent in 2014.                            Opinion No. 1 (Expert Report at 9) purports to opine on the
                                                                  work that the March 7, 2011 Engagement Letter “intended”
  Expert Report at 13: Opinion No. 5. Lucent's own internal
                                                                  to cover. It reads as follows:
  documents and deposition testimony of Lucent personnel
  clearly support the conclusion that: (a) Lucent understood
  that it was fully obligated under the fee agreement to pay
  Sullivan and Helm for tax savings at 25% for tax years                        *8 Expert Report at 9: Opinion
  other than for 2010; (b) at least $400,000 in fees had been                  No. l. The March 7, 2011 Engagement
  “accrued” by Lucent for Sullivan's and Helm's services;                      Letter was intended to cover all
  (c) Lucent had predetermined to negotiate Sullivan's and                     the work that Sullivan and Helm
  Helm's fees down before Lucent had even discussed the                        were performing related to the
  fees with either Sullivan or Helm; and (d) Lucent obtained                   negotiated settlement between ‘Lucent
  a very clear tax benefit on tax savings for years 2011, 2012,                and Assessor Trowbridge.
  and 2013 and made a business decision to dismiss the 2010
  appeal as a quid pro quo for what it perceived as ‘great
  news,’ being the projected tax savings for 2011, 2012, and      Liston has no basis to opine on the parties' intentions or
  2013.                                                           motives when entering into the agreement. To state outrightly
                                                                  that the Engagement Letter was intended to cover all the
An expert's testimony must “assist the trier of fact in           work related to the negotiated settlement is speculative and
determining a relevant fact at issue in the case.” Lees, 714      unhelpful given the ultimate responsibility of the jury to make
F.3d at 521. By sorting out and opining on witness testimony,     that determination. The witnesses at trial will testify regarding
Liston attempts to usurp the traditional role of the jury to      their intentions, and the jury will evaluate that evidence and
determine “the weight and credibility” of witness testimony.      draw its own conclusions.
It is the jury's role to assess a witness's credibility and to
determine what weight to give that testimony. Liston may not
offer these improper opinions.                                    V. Liston Improperly Offered Legal Opinions and
                                                                  Conclusions
                                                                  Lastly, several of the Mr. Liston's opinions are inadmissible
IV. Liston Improperly Remarks on the Intentions of the            legal conclusions. As a general rule, an expert may not offer
Parties Involved                                                  legal opinions. Jiminez v. City of Chicago, 732 F.3d 710, 721
Liston also improperly opines on Lucent's intentions. An          (7th Cir. 2013). “Where the proffered expert offers nothing
expert “must refrain from giving an opinion or inference as       more than a ‘bottom line’ conclusion, he does not assist the
to whether the defendant did or did not have the mental state     trier of fact.” U.S. Gypsum Co. v. Lafarge North America
or condition constituting an element of the crime charged or      Inc., 670 F.Supp.2d. 748, 765 (N.D.Ill.2010) (quoting Clark
of a defense thereto.” Pansier, 576 F.3d at 738 (citation and     v. Tanaka Corp., 192 F.3d 750, 759 (7th Cir. 1999)). As
quotations omitted). See also DePaepe v. Gen. Motors Corp.,       such, “expert testimony that contains a legal conclusion that
141 F.3d 715, 720 (7th Cir. 1998) (“He could give an opinion      determines the outcome of a case is inadmissible.” RLJCS
as an engineer that reducing the padding saved a particular       Enterprises, Inc. v. Prof'l Ben. Trust Multiple Welfare Ben.
amount of money; he might testify as an engineer that GM's        Plan & Trust, 487 F.3d 494, 498 (7th Cir. 2007). Experts
explanation for the decision was not sound (from which the        “cannot testify about legal issues on which the judge will


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instruct the jury.” United States v. Sinclair, 74 F.3d 753, 757           *9 Expert Report at 12: Opinion No. 4. Whether the
n. 1 (7th Cir. 1996). Courts will not admit testimony on purely          bases for the favorable tax savings of approximately $3.0
legal matters and comprised solely of legal conclusions. Good            million is based upon the March 2011 Engagement Letter
Shepherd Manor Found. v. City of Momence, 323 F.3d 557,                  or upon principals of unjust enrichment, the fee entitlement
564 (7th Cir. 2003).                                                     for Sullivan and Helm would be the same.

The following statements and opinions have been identified               Expert Report at 13: The ‘benefit’ to Lucent was a
as inadmissible legal conclusions and merely present Mr.                 tax savings of approximately $3.0 million plus deferred
Liston's beliefs as to how the fact finder should rule on the            through the payment date of 2014. The written agreement
questions of liability and damages:                                      between Lucent and Plaintiffs showed that Lucent and
                                                                         Plaintiffs were in agreement on a 25 percent factor to
  Expert Report at 4: It is our opinion that there is no basis           be applied times the savings/benefit, thus, the fees are
  for any dispute as to either liability or the amount owed              identical under Counts II and III of the Complaint.
  for 2011 tax savings obtained by Sullivan and Helm for
  Lucent. Whether based upon the written fee agreement or              By making explicit conclusions about the various elements
  upon principles of unjust enrichment, Lucent received a tax          of the dispute between Lucent and Plaintiffs, Liston acts as
  savings of $910,999.90 in May 2012 on 2011 taxes as a                an auxiliary advocate for Plaintiffs and usurps the role of the
  direct result of Sullivan's and Helm's efforts.                      jury. It is inappropriate for Liston to opine, for example, that
                                                                       “there is clear liability against Lucent under either Count II
  Expert Report at 5: It appears to the undersigned that
                                                                       (the fee agreement) or Count III (unjust enrichment),” and that
  there is clear liability under Count I of the Complaint.
                                                                       “if liability and recovery is to be based on principles of unjust
  Regardless of whether the March 7, 2011 fee agreement                enrichment, it is our opinion that Lucent is clearly liable to
  covered the tax savings for 2011, 2012, and/or 2013, there           Plaintiffs under Count I and III.” (Expert Report at 5–6). In
  is clear liability against Lucent under either Count II (the         submitting these opinions, Liston has done exactly what the
  fee agreement) or Count III (unjust enrichment), and the             Seventh Circuit prohibits. Mr. Liston, therefore, cannot testify
  amount due and owing should be the same under either                 regarding these opinions.
  Count.

  Expert Report at 5–6: It is our opinion that there is no
                                                                                              CONCLUSION
  difference in either liability or in the amount of money that
  Lucent owes the Plaintiffs. If liability and recovery is to be       For the reasons discussed above, the Court grants Lucent's
  based on principles of unjust enrichment, it is our opinion          Motion to Strike Plaintiffs' Expert Testimony and Bar Expert
  that Lucent is clearly liable to Plaintiffs under Count I and        Testimony. Mr. Liston may not testify regarding the opinions
  III.                                                                 and statements that Lucent identified in its Motion.
  Expert Report at 10: The May 2012 invoice from Sullivan
  for the 2011 tax savings component accurately sets for the           All Citations
  amount of fees due under the Agreement.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 12, 2024, I served a true and correct copy of the

foregoing filing on all counsel of record through the Court’s ECF filing system.



                                                  /s/ Devlin N. Su
                                                  Devlin N. Su
